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                      23-655        In the
        United States Court of Appeals
              For the Second Circuit
                    O
  NICOLE BROECKER, MICHELLE MARTINO, GINA PORCELLO, AMOURA
    BRYAN, RENA GELLMAN, FONTINA LAMBOS, KERRY BEN-JACOB,
  EKATERINA UDINA, ANDREA TICHIO, MARIANNA CIACCA-LISS, ANITA
   QUASH, KELLY DIXON, FELICIA HAGAN, MARITZA ROMERO, MARIA
RUSCELLI, BETZIADA CRUZ, FRANCINE TRAPANI, JEANNINE LAM, JESSICA
     NARCISO, BRIANNA PEREZ, NICOLETTA MASULLO, ANASTASIA
   CHRISTOPOULOS, FAYE KOTZER, BENEDICT LOPARRINO, YADITZA
RODRIGUEZ, RAFAEL TORO, SERINA MENDEZ, DINA HUSSEIN, HERENDYRA
     PEREYRA, ROSA ABREU, LISA WILLIAMS, JOAN GIAMMARINO,
                                                                Plaintiffs-Appellants,
          (See inside cover for continuation of caption and appearances)
     ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR
         THE EASTERN DISTRICT OF NEW YORK (BROOKLYN)


                           JOINT APPENDIX
            Volume III of VII (Pages JA-543 – JA-814)

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      and Administrators and Mark         NEW YORK CITY LAW DEPARTMENT
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  BENEDUCE, ZABDIEL VALERA, NATHALIE CHARLES, JANELLE LOTITO,
        JEANEAN SANCHEZ, MARIE MOSLEY, TARA PALLADINO,
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      AURA MOODY, AUBREY JOERGENS, MEAGAN VELEZ, JENNIFER
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        MASCIARELLI, DEIDRA STATUTO, ELENI GERASIMOU and
                        HENRIETTA SHAYA,
                                                         Plaintiffs-Appellants,
                               v.
    NEW YORK CITY DEPARTMENT OF EDUCATION, MEISHA PORTER,
 UNITED FEDERATION OF TEACHERS, LOCAL 2, AMERICAN FEDERATION
OF TEACHERS, AFL-CIO, MICHAEL MULGREW, COUNCIL OF SUPERVISORS
  AND ADMINISTRATORS, MARK CANNIZZARO, DISTRICT COUNCIL 37,
      AFSCME AFL-CIO, HENRY GARRIDO, SHAUN D. FRANCOIS, I,
       FRANCINE FRANCIS, MARTIN F. SCHEINMAN, SCHEINMAN
      ARBITRATION AND MEDIATION SERVICES, LLC, SCHEINMAN
    ARBITRATION AND MEDIATION SERVICES, DISTRICT COUNCIL 37,
         AFSCME AFL-CIO, LOCAL 372, DISTRICT COUNCIL 37,
                  AFSCME AFL-CIO, LOCAL 1251,
                                                         Defendants-Appellees.
                (See inside cover for additional appearances)
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                          _________________________

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MARIANNA         CIACCA-LISS, ANITA           QUASH,
KELLY DIXON, FELICIA HAGAN, MARITZA
ROMERO, MARIA RUSCELLI, BETIZIADA CRUZ,
FRANCINE TRAPANI, JEANNINE LAM, JESSICA
NARCISCO, BRIANNA PEREZ, NICOLETTA
MASULLO, ANASTASIA CHRISTOPOULOS, FAYE                                         ORDER TO SHOW CAUSE
KOTZER, BENEDICT LOPARRINO, YADITZA
RODRIGUEZ, RAFAEL ADRIAN TORO, SERINA
MENDEZ,        DINA       HUSSIEN,      HERENDYRA
PEREYRA, ROSA ABREU, LISA WILLIAMS, JOAN
GIAMMARINO, ANDREA JACKSON, MARIA
KLAPAKIS,        STELLA         PORTO,      TONIANN
MIRAGLIA,            ROSEANNA             SILVESTRI-
INCANTALUPO, JULIA A. MAVIS, CHRISTOPHER
HANSEN, ANNETTE BACK OF, DIANE PAGEN,
LYNN PEPE, STEPHANIE EDMONDS, YVONNE
COSTELLO, DEBBY HARTZ, SORAYA SANCHEZ,
MONIQUE MOORE, ANGELA VELEZ, SALLY
MUSSAFI, JESSICA NICCHIO, DORCA GENAO,
RACHEL MANISCALCO, JAMES HOFFMAN,
SHARLAYNE         JACOBS,        CRYSTAL       SALAS,
FRANCES DIPROSSIMO, CAROLA MARTINEZ-
VAN BOKKEM, AYSE USTARES, ELIZABETH
FIGUEROA, DIANE BAKER-PACIUS, NICOLE
MOORE, ELIZABETH PLACENCIO, DEBBIE
BERTRAM,         KIMBERLI         MADDEN,       FRAN
SCHMITTER,         VICTORIA        RUSSO,       PAUL
CIFARELLI, DANIELLE HEAL, SARA COOMBS-
MORENO, LISA SIMO, TAMI BENEDUCE,
ZABDIEL       VALERA,        NATHALIE      CHARLES,
JANELLE LOTITO, JEANEAN SANCHEZ, MARIE
MOSLEY,       TARA       PALLADINO,        DANIELLE
MCGUIRE, JULIA HARDING, LEAH KUKLA,
STEPHANIE        FRANZESE,        JULIA     BALASIS-
MARING, BETH SCHIANO, on behalf of themselves
and all other similarly situated employees of the New
York City Department of Education,
                                               Plaintiffs,

                               -against-

NEW YORK CITY DEPARTMENT OF EDUCATION,
MEISHA PORTER, in her official and individual
capacities, UNITED FEDERATION OF TEACHERS,


                                                           1
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LOCAL         2,     AMERICAN         FEDERATION         OF
TEACHERS, AFL-CIO, MICHAEL MULGREW, in his
official and individual capacities, JOHN DOE #1-10, in
their official and individual capacities; and JANE DOE
# l-1 0 in their official and individual capacities,
                                                     Defendants.
----------------------------------------------------------------------- X

         Upon the Affidavit of Nicole Broecker, sworn to on the 16th day of November 2021, the
Affidavit of Jeannine Lam, sworn to on the 15th day ofNovember 2021, Affidavit of Stella Porto,
sworn to on the 16th day ofNovember 2021, Affidavit of Gina Porcello, sworn to on the 15th day
of November 2021, Affidavit of Dina Hussein, sworn to on the 15th day of November 2021
accompanying Affirmation of Austin Graff, affirmed to on the 17th day ofNovember 2021, the
accompanying Memorandum ofLaw, and upon the copy of the Complaint hereto annexed, it is


         ORDERED, that personal service on all named Defendants of a copy of this
Order, the Affidavit of Nicole Broecker, sworn to on the 16th day ofNovember 2021, the
Affidavit of Jeannine Lam, sworn to on the 15th day of November 2021, Affidavit of Stella
Porto, sworn to on the 16th day of November 2021, Affidavit of Gina Porcello, sworn to
on the 15th day of November 2021, Affidavit of Dina Hussein, sworn to on the 15th
day of November 2021 accompanying Affirmation of Austin Graff, affirmed to on the 17th
day ofNovember 2021, the accompanying Memorandum of Law, and of the Summons and
Complaint on or before 9:30 AM, Thursday, November 18, 2021, shall be deemed good and
sufficient service thereof upon the Defendants.


         ORDERED, that Defendants shall respond to the Order to Show Cause via ECF by
Friday, November 19, 2021, at 3:00 PM. All parties are required to send two bound courtesy
copies of all papers relating to Plaintiff s motion for preliminary injunction/temporary restraining
order, including but not limited to all related declaration, affidavits, exhibits, and memoranda
of law, to chambers. Courtesy copies should be sent via FedEx or messenger to Judge
Matsumoto's chambers, by 5:00 PM, close ofbusiness, Friday, November 19, 2021.




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   ORDERED that security in the amount of $0.00 be posted by the Plaintiffs; and it is further

   ORDERED, that counsel for the above named Plaintiffs and Defendants appear for a hearing
   before this Court, with their clients if they choose to present testimony, at Courtroom 6C
   South, United States Courthouse, Eastern District ofNew York, 225 Cadman Plaza East,
   Brooklyn, New York, County ofKings County, State ofNew York on Tuesday, November
   23, 2021 at 12:00 PM thereof, or as soon thereafter as counsel may be heard, why an order
   should not be issued pursuant to Rule 65 of the Federal Rules of Civil Procedure regarding the
   Plaintiffs’ requested relief. Counsel and their clients shall observe all COVID-19 protocols
   within the Courthouse and shall notify the Court via ECF by 12:00 PM on Monday,
   November 22, 2021, whether they will present witness testimony at the hearing, and if so,
   they shall provide the names of all witnesses.


   Dated: November 17, 2021                                /s/ Kiyo A, Matsumoto______
   Issued: Brooklyn, NY                                       United States District Judge




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ................................................................................................ x
 NICOLE BROECKER, et al., on behalf of themselves and
 all other similarly situated employees of the New
 York City Department of Education,,
                                                                                                           No. 21 Civ 6387 (KAM)(LB)
                                                                                  Plaintiffs,
                                         - against -
 NEW YORK CITY DEPARTMENT OF EDUCATION,
 MEISHA PORTER, in her official and individual
 capacities, UNITED FEDERATION OF TEACHERS,
 LOCAL 2, AMERICAN FEDERATION OF TEACHERS,
 AFL-CIO, MICHAEL MULGREW, in his official and
 individual capacities, JOHN DOE #1-10, in their official
 and individual capacities; and JANE DOE #1-10 in their
 official and individual capacities,
                                                                               Defendants.


    DEFENDANTS NEW YORK CITY DEPARTMENT OF EDUCATION AND MEISHA
            PORTER’S MEMORANDUM OF UAW IN OPPOSITION TO
           PUAINTIFFS’ MOTION FOR A PREUIMINARY INJUNCTION

                                                                          GEORGIA M. PESTANA
                                                                          Corporation Counsel of the City ofNew York
                                                                          Attorney for Defendants DOE and Porter
                                                                          100 Church Street
                                                                          New York, New York 10007

                                                                          O f Counsel:                Andrea O’Connor
                                                                                                      Ivan A. Mendez, Jr.
                                                                                                      Maxwell Leighton
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                                       PRELIMINARY STATEMENT

                   On August 24, 2021—the day after the U.S. Food and Drug Administration

 (“FDA”) fully approved the Pfizer COVID-19 vaccine—the Commissioner of the New York

 City Department of Health and Mental Hygiene (“DOHMH”), David A. Chokshi, issued a

 Commissioner’s Order (“COH Order”) requiring all New York City Department of Education

 (“DOE”) employees to show proof of at least one dose of vaccination against COVID-19 by

 September 27, 2021 (the “DOE Vaccination Mandate”).1 The COH Order’s preliminary

 paragraphs provide a salient and unassailable predicate for making the mandate, including that

 the U.S. Centers for Disease Control and Prevention (“CDC”) extols vaccination as the primary

 strategy to stop the spread of COVID-19 and thus recommends that teachers, school

 administrators and other employees working in school buildings be vaccinated as soon as

 possible to help schools safely resume full operations. Further, DOE is the largest school district

 in the country, with approximately one million students, hundreds of thousands of whom are not

 yet vaccinated. Thus, the DOE Vaccination Mandate is fully premised on potentially saving

 lives, protecting public health, and promoting public safety.

                   The DOE Vaccination Mandate the subject of several legal challenges brought in

 state and federal court. See, e.g.. Maniscalco v. N.Y, Citv Dent, of Educ.. No. 21 Civ.5055

 (E.D.N.Y.) (BMC)2; Kane v. de Blasio. 21 Civ. 7863 (S.D.N.Y.) (VEC); Keil v. The Citv of

 New York, et al.. 21 Civ. 8773 (SDNY)(VEC); The New York Citv Municipal Labor Committee

 (“MLC”). et al. v. The Citv of New York, et al.. IndexNo. 158368/2021 (N.Y. Sup.,N.Y. Cnty.).

 1 DOE Vaccination Mandate at httns://wwwl nvc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-
 reauirement-doe-3.pdf. LastaccessedonN ov. 18,2021.

  2 Notably, Rachel Maniscalco - the lead plaintiff in Maniscalco - is also a plaintiff herein.




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 Plaintiffs in these challenges have sought to enjoin the enforcement of the DOE Vaccination

 Mandate as applied to DOE employees. Id. In MLC. Maniscalco. Keil and Kane, the respective

 Court denied the plaintiffs’ application for a temporary restraining order and/or preliminary

 injunction seeking to enjoin the mandate, finding, among other things, that plaintiffs had not

 shown the likelihood of success on the merits. As such, there can be no debate that the DOE

 Vaccination Mandate is itself sound and enforceable.

                Plaintiffs are DOE employees who seek to represent themselves and a class of

 other DOE employees who oppose the DOE Vaccination Mandate and consequences for failure

 to comply with this mandate.      Plaintiffs claim that requiring COVID-19 vaccination as a

 qualification of employment for DOE employees interferes with their procedural due process

 rights under the Fourteenth Amendment of the United States Constitution. Plaintiffs now seek—

 seven weeks after the deadline for employees to show proof of vaccination—a preliminary, and

 mandatory, injunction that would prohibit DOE from taking any action stemming from plaintiffs’

 refusal to comply with the lawful DOE Vaccination Mandate and that would disrupt the status

 quo by requiring DOE to return Plaintiffs to DOE payroll.

                While this motion is couched as a constitutional claim, Plaintiffs are actually

 contending that a duly authorized government authority, namely, DOHMH, has no ability to

 impose requirements of employment in response to a public health emergency. This is simply

 incorrect.   The COH Order - which has been repeatedly upheld as lawful - altered the

 circumstances under which a DOE employee may maintain their fitness to perform their job

 duties by requiring that DOE employees must be vaccinated against COVID-19.               The

 consequence of this requirement is that those DOE employees who are unwilling to be

 vaccinated - and have not obtained an exemption or reasonable accommodation with respect to

 the mandate - are no longer fit to perform their job duties at DOE. As explained below, it is

                                                2
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  well-established that government authorities are entitled to establish lawful employment

  requirements, such as holding a particular license or a residency requirement, and an employee’s

  failure to adhere to these requirements permits their summary separation from service. Plaintiffs

  have not complied with the lawful COH Order and DOE Vaccination Mandate and, absent

  exemption from the mandate, they are not fit to work for the DOE.

                  Putting aside the validity of the DOE Vaccination Mandate, and the ample

  scientific and legal justifications for the same, Plaintiffs’ request for a preliminary injunction

  must be denied for the simple reason that they have not demonstrated irreparable harm.

  Plaintiffs, by their own admission, were taken off of DOE payroll on October 4, 2021, more than

  six weeks before seeking affirmative injunctive relief returning them to payroll. Thus, Plaintiffs’

  own inaction and delays in seeking injunctive relief belie the purported emergency relief sought

  here.

                  In addition, the allegedly irreparable harm articulated here—loss of salary and

  employment—is precisely the sort of harm that the Second Circuit has repeatedly held to be

  insufficient tojustify injunctive relief.

                  Finally, the claims on which the preliminary injunction request are premised

  (which rely exclusively on a novel procedural due process theory), are unlikely to succeed on the

  merits. Because of that, and the other reasons set forth below, Plaintiffs meet none of the

  requirements for a preliminary injunction.      Therefore, Defendants DOE and Porter (“DOE

  Defendants”) respectfully submit that Plaintiffs’ application for a preliminary, and mandatory,

  injunction must be denied in its entirety.




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                                     STATEMENT OF FACTS

  COVID-19 Pandemic and Impact on Schools

                 On March 12, 2020, Mayor Bill de Blasio issued Emergency Executive Order No.

  98, declaring a state of emergency in the City of New York (“the City”) to address the threat

  posed by COVID-19 to the health and welfare of City residents, and this order remains in effect

  today. See DOE Vaccination Mandate at p. 1. Thereafter, on March 25, 2020, the DOHMH

  Commissioner declared the existence of a public health emergency within the City to address the

  continuing threat posed by COVID-19 to the health and welfare of City residents, and recently

  declared that the public health emergency continues to be in effect. Id.

                 The CDC has recommended that school teachers and staff be “vaccinated as soon

  as possible” because vaccination is “the most critical strategy to help schools safely resume full

  operations” and is “the leading public health prevention strategy to end the COVID-19

  pandemic.” Id. The DOE serves approximately one million students across the City, including

  students in the communities that have been disproportionately affected by the COVID-19

  pandemic and students who were, until very recently, too young to be eligible to be vaccinated.

  See id. p. 2. Given these circumstances and the CDC’s judgment, DOHMH determined that

  requiring vaccination for individuals working in school settings or other DOE buildings will

  potentially save lives, protect public health, and promote public safety. Id.

                 On August 23, 2021, Mayor de Blasio and the DOHMH Commissioner

  announced that DOE employees would be subject to a “vaccine only” mandate, as opposed to a

  vaccination-or-testing requirement, as described thereafter in the COH Order. See id. Under this

  policy, by September 27, 2021, DOE employees were required to submit proof that they were

  fully vaccinated; or received a single dose vaccine, or the second dose of a two-dose vaccine; or




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  received the first dose of a two-dose vaccine, with the additional requirement to provide proof of

  the second dose thereafter. Id.3

  Impact Arbitration Decisions and Agreement

                    Defendant United Federation of Teachers (“UFT”) is the bargaining unit for

  Teachers, Secretaries, Paraprofessionals, Guidance Counselors, Speech Language Pathologists,

  School Psychologists, and Social Workers, among other titles, employed by DOE. See “About

  Your Union” available at https://www.uft.org/your-union/about-uft; last accessed Nov. 19, 2021.

  On September 10, 2021, the UFT filed a Declaration of Impasse with the Public Employment

  Relations Board (“PERB”) over the impact of the DOE Vaccination Mandate. See O’Connor

  Decl., Exh. A (September 10, 2021 Arbitration Award Decision in Board of Education of the

  Citv School District of the Citv of New York and the United Federation of Teachers. Local 2,

  AFT. AFL-CIO (hereafter “Impact Arbitration Decision”), at 4. PERB appointed an arbitrator

  and several days of discussions were held. Id. On September 10, 2021, the arbitrator issued a

  decision, which established          (1) a process for exemptions and accommodation requests; (2)

  options to voluntarily separate from service with certain benefits; and (3) that the DOE may

  “unilaterally separate employees” who have not complied with the Vaccination Mandate or have

  an approved exemption or accommodation and have not opted for either separation option. Id. at

  6-13.

                    The process established by the Impact Arbitration Decision applies to medical and

  religious exemptions as well as accommodations for those who, having received a full course of

  vaccination, remain unable to mount an immune response. See id. at 6-13.4 It also sets forth that



   As a result of a brief appellate stay in Maniscalco. the deadline for showing proof of at least one dose of a vaccine
  was extended to October 1, 2021, by5 p m. No other later deadlines were impacted or adjusted.

  4 As detailed below, seven plaintiffs availed themselves of the accommodation process.

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  employees who have not requested an exemption, or whose request was denied, may be placed

  on leave without pay by the DOE starting September 28, 2021. See id. at 13. While on leave

  without pay, employees continue to be eligible for health insurance. Id. at 15. Employees who

  submit proof of vaccination before November 30, 2021, will be eligible to return to their school

  within one week of submitting their documentation to the DOE. Id .a tl4 .

                 The decision also sets forth a process for separation from employment with

  enhanced payment of accrued paid time off, or extension of leave without pay and with health

  benefits. See id. at 14. DOE employees who have not complied with the DOE Vaccination

  Mandate could opt to either separate from service by October 29, 2021 and receive enhanced

  payment of accrued paid time off and health insurance through September 5, 2022, unless they

  are eligible for health insurance from another source. Id. at 16. Alternatively, as a second

  option, employees can also opt to have their leave without pay extended to September 5, 2022,

  and maintain health coverage. Id. at 17. To the extent that those employees who have chosen to

  extend their leave without pay do not comply with the DOE Vaccination Mandate by the end of

  the period, they will be deemed to have voluntarily resigned.       Id.     In addition the Impact

  Arbitration Decision provides that on or after December 1, 2021, DOE will unilaterally separate

  employees who remain out of compliance with the DOE Vaccination Mandate and have not

  applied for either the extended leave or separation. Id.

                 Following the issuance of the Impact Arbitration Decision, the City’s Office of

  Labor Relations engaged in impact bargaining with the remaining unions representing DOE

  employees; for example, the Council of Supervisors and Administrators (“CSA”), which

  represents DOE Principals and Assistant Principals, and District Council 37, City of New York

  (“DC 37”), which represents many school-based employees such as school aides, school food

  workers and Parent Coordinators.      Similar to the process that led to the Impact Arbitration

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  Decision - which covers the majority of plaintiffs herein - the negotiations with CSA reached an

  impasse and the parties proceeded to arbitration. See O’Connor Decl. at B, September 15, 2021

  Arbitration Award Decision in Board of Education of the Citv School District of the Citv of New

  York and the Council of Supervisors and Administrators. On September 15, 2021, an arbitration

  award was issued that exactly mirrors that of the Impact Arbitration Decision, h i

                   The City and DC 37 were able to successfully negotiate an agreement with

  respect to the leave procedures for those DOE employees who do not comply with the DOE

  Vaccination Mandate and, again, reached an agreement that mirrors that of the Impact

  Arbitration Decision.       See O’Connor Decl. at C, Memorandum of Agreement District Council

  37, City of New York, and the Board of Education of the City School District for the City of

  New York, dated October 3, 2021.5

                                                  ARGUMENT

          A.       PLAINTIFFS DO NOT HAVE STANDING TO CHALLENGE THE
                   IMPACT ARBITRATION AWARD

                   “[A]n individual employee represented by a union generally does not have

  standing to challenge an arbitration proceeding to which the union and the employer were the

  only parties.” Katir v Columbia Univ„ 15 F.3d 23, 24-25 (2d Cir. 1994). The remedy for an

  individual is to pursue a duty of fair representation claim against his or her union. See id. at 24-

  25. See also 14 Penn Plaza LLC v. Pvett. 556 U.S. 247, 260 (20091 (holding that unions were

  free to negotiate a departure from federal statutory scheme on behalf of their members); Velasco

  v. Beth Isr, Med. Ctr.. 279 F. Supp. 2d 333, 336 (S.D.N.Y. 2003) (dismissing challenge to

  arbitration award on standing grounds); Blake v. Potter. 2004 U.S. Dist. LEXIS 6596, at *9

  (S.D.N.Y. Apr. 12, 2004) (same). This is precisely the situation plaintiffs here find themselves

  5 Because the applicable CSA decision and the DC 37 agreement are identical in all relevant respects to the Impact
  Arbitration Decision, for ease of reference this memorandum will refer to all three as the Impact Arbitration
  Decision.

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  in: they are challenging their placement on Leave Without Pay (“LWOP”) and potentially their

  separation from DOE; however, their placement on LWOP and their projected separation was the

  result of negotiations and arbitration award between the City and the various unions representing

  plaintiffs, not plaintiffs individually. Accordingly, plaintiffs do not have standing to challenge

  their placement on LWOP and/or potential separation due to the fact that this procedure was

  collectively bargained with the respective unions, most notably, the UFT, CSA and DC 37.

         B.      PLAINTIFFS SEEK A MANDATORY INJUNCTION, AND FAIL TO
                 MEET THE ASSOCIATED BURDEN

                 A typical injunction seeks to maintain the status quo pending a trial on the merits.

  Abdul Wali v. Coughlin. 754 F.2d 1015 (2d Cir. 1985). Plaintiffs are required to meet the higher

  standard of a mandatory injunction if (1) the injunction would alter, rather than maintain the

  status quo or (2) the injunction would grant the movant with substantially all the relief sought

  and that relief cannot be undone even if defendants would prevail on the merits. Tom Dohertv

  Assocs. v. Saban Entm't. Inc.. 60 F.3d 27, *33-34 (2d Cir. 1995). Here, Plaintiffs are seeking,

  among other things, to be restored to DOE payroll after having been placed on LWOP for their

  failure to comply with the DOE Vaccination Mandate. It must be noted that, in addition to being

  restored to payroll, Plaintiffs seek to have their “benefits, including health benefits, and pension

  credits,” restored. As per the Impact Arbitration Decision, Plaintiffs on LWOP maintain their

  health benefits and therefore all the Plaintiffs herein continue to maintain their health benefits

  despite their placement on LWOP.

                 The status quo in a preliminary injunction is the “last, peaceable uncontested

  status which preceded the pending controversy.” LaRouche v. Kezer. 20 F3.d 68, 74 n.7 (2d Cir.

  1994). For the purposes of Plaintiffs’ application to be restored to payroll, the last “peaceable”

  moment was the day prior to being placed on LWOP.              Utilizing Plaintiff Broecker as an

  example, she avers in her affidavit that she has been on LWOP since October 4, 2021. Thus, in
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  order to maintain the status quo of remaining on payroll, Plaintiff Broecker would have been

  required to make the instant application on or before October 3, 2021. She - and the other

  Plaintiffs - failed to do so. Thus, if plaintiffs’ application were granted, it would alter, not

  maintain, the status quo.

                 Plaintiffs’ application is completely silent as to why Plaintiffs waited until

  November 17, 2021 to seek this “emergency” relief from the Court. This is despite the fact that

  the Complaint, and Exhibit A annexed thereto, confirm that Plaintiffs were given advance

  warning that they were going to be placed on LWOP as of October 4, 2021. Plainly, Plaintiffs’

  own delay strongly counsels against the extraordinary equitable relief they seek. See Citibank.

  N.A, v, Citvtrust. 756 F.2d 273, 276 (2d Cir. 1985) (“Preliminary injunctions are generally

  granted under the theory that there is an urgent need to protect the plaintiffs’ rights. Delay in

  seeking enforcement of those rights, however, tends to indicate at least a reduced need for such

  drastic, speedy action.”).

                 In any event, given their placement on LWOP well over one month ago, Plaintiffs

  must meet the higher standard required for mandatory injunctions. In particular, they must show

  a “clear” or “substantial” likelihood of success on the merits. Tom Dohertv Assocs. v. Saban

  Entm't. Inc.. 60 F.3d 27 (2d Cir. 1995); Doninger v, Niehoff. 527 F.3d 41, *47 (2d Cir. 2008).

  From their Complaint, it is clear that Plaintiffs will not be able to meet this high burden because

  the only harm associated with their placement on LWOP is removal from payroll. This type of

  alleged harm is - by definition - reparable. Accordingly, Plaintiffs cannot meet the mandatory

  injunction standard and their application should be denied. And, even so, for substantially the

  same reasons as discussed below, Plaintiffs cannot meet even the lower, more permissive

  standard of a prohibitory injunction.




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         C.      PLAINTIFFS DO NOT MEET THE STANDARD FOR A PRELIMINARY
                 INJUNCTION

                 In order to justify a preliminary injunction, plaintiffs must demonstrate: (1)

  irreparable harm absent injunctive relief; (2) a likelihood of success on the merits; (3) the

  balance of equities tips decidedly in their favor; and (4) that the public interest weighs in favor of

  granting an injunction. See Winter v. Natural Res. Def. Council. Inc.. 555 U.S. 7, 24-25 (2008);

  Almontaser v, N.Y, Citv Den't of Educ.. 519 F.3d 505, 508 (2d Cir. 2008).                   Of these

  requirements, a showing of likely irreparable harm is often referred to as the most important.

  See, e.g.. Citibank. N.A.. 756 F.2d at 275. An injunction is unwarranted because Plaintiffs

  cannot demonstrate any of these requirements.

         D.      PLAINTIFFS CANNOT SHOW IRREPARABLE HARM

                 “[Ijrreparable harm is the ‘single most important prerequisite for the issuance of a

  preliminary injunction.’” Impax Media Inc, v. Northeast Adver, Corn,. No. 17 Civ. 8272, 2018

  U.S. Dist. LEXIS 4940 at *10 (S.D.N.Y. Jan. 10, 2018) (quoting Faivelev Transp. Malmo AB v,

  Wabtec Corp,. 559 F.3d 110, 118 (2d Cir. 2009)). In making a showing of irreparable harm,

  Plaintiffs must demonstrate that there is a threat of actual injury for which available legal

  remedies are inadequate. See Score. Inc, v. Cap Cities/ABC. Inc.. 724 F. Supp. 194, 198

  (S.D.N.Y. 1989). “Irreparable injury is one that cannot be redressed through a monetary award.

  Where money damages are adequate compensation a preliminary injunction should not issue.”

  JSG Trading Corp, v, Trav-Wrap. Inc.. 917 F.2d 75, 79 (2d Cir. 1990). As the Supreme Court

  has held “the temporary loss of income, ultimately to be recovered, does not usually constitute

  irreparable injury . . . [m]ere injuries, however substantial, in terms of money, time and energy

  necessarily expended in the absence of a stay, are not enough. The possibility that adequate

  compensatory or other corrective relief will be available at a later date, in the ordinary course of



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  litigation, weighs heavily against a claim of irreparable harm.” Sampson v, Murray. 415U.S.61,

  90 (1974).

                 Plaintiffs identify two so-called “irreparable” harms: continued loss of pay while

  on LWOP and their potential separation from DOE. Neither of these harms is irreparable or

  otherwise sufficienttojustify apreliminary injunction.

                 As noted above, the extraordinary delay in seeking to enjoin a certain eventuality

  that will occur on December 1, 2021, but was entirely known to Plaintiffs on October 4, 2021 if

  not earlier, greatly forecloses the validity of any professed “urgent need for speedy action to

  protect the plaintiffs’ rights.” Citibank N.A.. 756 F.2d at 276. Having delayed to the point of

  manufacturing an emergency, Plaintiffs’ application claiming an impending crisis now exists

  must be viewed as a bald calculation bordering on pure gamesmanship. Indeed, the Second

  Circuit has explained that a party’s “failure to act sooner ‘undercuts the sense of urgency that

  ordinarily accompanies a motion for preliminary relief and suggests that there is, in fact, no

  irreparable injury.’” h i at 277 (quoting Le Sportsac. Inc, v. Dockside Research. Inc.. 478 F.

  Supp. 602, 609 (S.D.N.Y. 1979)).       A delay “may, standing alone, preclude the granting of

  preliminary injunctive relief, because the failure to act sooner undercuts the sense of urgency that

  ordinarily accompanies a motion for preliminary relief and suggests that there is, in fact, no

  irreparable injury.” Tough Traveler. Ltd, v. Outbound Prod.. 60 F.3d 964, 968 (2d Cir. 1995)

  (internal quotation marks and citations omitted). While Courts have not imposed rigid deadlines

  by which a request for preliminary injunctive relief must be made, even a relatively brief delay

  may be deemed too long. See, e.g.. Citibank. 756 F.2d at 276-77.

                 Here, as noted above, Plaintiffs allege they have all been on LWOP since October

  4, 2021. Plaintiffs nevertheless waited 44 days to seek this “emergency” relief from the Court.

  This delay is both lengthy and completely unexplained thereby severely undercutting any

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  “urgency” associated with this application. In Kane, the Honorable Valerie E. Caproni addressed

  a similar delay by teachers seeking to challenge the DOE Vaccination Mandate by way of an

  application for a preliminary injunction:

                         Before I turn to the likelihood of success on the
                         merits, I note that preliminary injunctions are
                         generally issued when there is an urgent need for
                         speedy action to protect a plaintiffs rights. As the
                         Second Circuit has noted, “a delay in seeking
                         enforcement of those rights...tends to indicate at
                         least a reduced need for such drastic, speedy
                         action.” Citibank. N.A, v, Citvtrust. 756 F.2d 273,
                         276 (2d Cir. 1985). I am absolutely baffled by
                         plaintiffs’ delay in seeking a preliminary injunction.
                         The vaccine mandate was announced on August 23
                         and published on August 24. Plaintiffs filed this
                         action almost a month later, on September 21.
                         Although the complaint asserted that plaintiffs were
                         seeking a preliminary injunction, see Compl. | 6,
                         there is no indication that they served the complaint
                         promptly and, even if they did, they waited to seek
                         an order to show cause why a TRO and preliminary
                         injunction should not be granted until October 4,
                         three days after the effective date of the order they
                         were challenging. Although I am not denying the
                         request for emergency relief because of plaintiffs’
                         delay, the apparent gamesmanship by plaintiffs’
                         counsel in waiting to file this case and then in
                         seeking a preliminary injunction does nothing to
                         help her cause.

  See O’Connor Deck at Ex. D, Transcript of Proceedings held on October 12, 2021 in Kane at

  58:20-59:17.   Here, it is similarly “baffling” as to why Plaintiffs waited over six weeks to

  challenge their placement on LWOP and the notification that they would be subject to summary

  termination as ofDecember 1, 2021.

                 Next, “[ijrreparable injury is one that cannot be redressed through a monetary

  award. Where money damages are adequate compensation a preliminary injunction should not

  issue.” JSG Trading Corp, v, Trav-Wrap. Inc.. 917 F.2d 75, 79 (2d Cir. 1990). As the Supreme

  Court has held “the temporary loss of income, ultimately to be recovered, does not usually
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  constitute irreparable injury . . . [m]ere injuries, however substantial, in terms of money, time

  and energy necessarily expended in the absence of a stay, are not enough. The possibility that

  adequate compensatory or other corrective relief will be available at a later date, in the ordinary

  course of litigation, weighs heavily against a claim of irreparable harm.” Sampson v, Murray.

  415 U.S. 61,90 (1974).

                 Here, the two claimed harms, i.e. the continued loss of pay and projected

  separation from employment, are quintessential reparable harms. See Moore v. Consol. Edison

  Co. of N,Y„ Inc.. 409 F.3d 506, 510 (2d Cir. 2005); Ford v. Reynolds. 316 F.3d 351, 355 (2d

  Cir. 2003). Plaintiffs’ allegation that they have been placed on LWOP and are facing a possible

  “loss of employment is insufficient to carry [their] burden of showing irreparable harm because

  [they] make no showing that the loss of [their] employment cannot be remedied with money

  damages.” Buckley v. N.Y, & Presbyterian Hosp.. No. 21 Civ. 7864 (LTS), 2021 U.S. Dist.

  LEXIS 181135 (S.D.N.Y. Sep. 21, 20211; see also Holt v. Continental Group. 708 F.2d 87, 90-

  91 (2d Cir. 1983), cert, denied. 465 U.S. 1030 (1984) (“the requisite irreparable harm is not

  established in employee discharge cases by financial distress or inability to find other

  employment, unless truly extraordinary circumstances are shown.”); Guitard v. United States

  Sec’v of Navv. 967 F.2d 737, 742 (2d Cir. 1992)(“injuries that generally attend a discharge from

  employment — loss of reputation, loss of income and difficulty in finding other employment —

  do not constitute the irreparable harm necessary to obtain a preliminary injunction”)(intemal

  citations omitted).

                 In examining the DOE Vaccination Mandate in MLC. the Court held that the

  petitioners were “unlikely to be succeed on the second prong of the preliminary injunction test as

  they cannot establish an irreparable harm as the loss of employment is compensable by money

  damages and reinstatement to said employment. Petitioners represented employees who refuse to

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  accept vaccination and are ineligible for an exemption are still entitled to contest any negative

  outcome through their union procedures and additionally are able to pursue their profession

  outside of those schools impacted by the Order.” See N.Y.C. Mun, Labor Comm, v, Citv of

  N.Y.. 2021 NY Slip Op 21260, K5 (Sup. Ct.)

                Indeed, even a loss of “benefits” attendant to employment does not constitute

  irreparable harm. See Noel v. N.Y, State Office of Mental Health Cent. N.Y, Psychiatric Ctr,.

  697 F.3d 209, 213 (2d Cir. 2012) (back pay includes lost fringe benefits such as vacation pay and

  pension benefits); E.E.O.C. v. Joint Apprenticeship Comm, of Joint Indus. Bd. of the Elec.

  Indus.. 164 F.3d 89, 101 (2d Cir. 1998)(holding same); Javarai v. Scannini. 66 F.3d 36, 39 (2d

  Cir. 1995)(a reinstatement order issued by the District Court could award “full pension benefits,

  including an award of seniority status covering the interim between termination and a final

  disposition of the parties’ rights.”). Because Plaintiffs are unable to demonstrate irreparable

  harm, their motion for a preliminary injunction must be denied.

         E.     PLAINTIFFS ARE UNLIKELY TO SUCCEED ON THE MERITS

               In order to state a procedural due process violation, a plaintiff must allege that (1)

  the challenged conduct was “committed by a person acting under color of state law;” and (2)

  such conduct “deprived [the plaintiff] of rights, privileges, or immunities secured by the

  Constitution or laws of the United States.” See Cornejo v. Bell. 592 F.3d 121, 127 (2d Cir.

  2010). “Where a plaintiff alleges violations of procedural due process, the deprivation by state

  action of a constitutionally protected interest in life, liberty, or property is not in itself

  unconstitutional; what is unconstitutional is the deprivation of such an interest without due

  process of law.” Dechberrv v, N.Y.C. Fire Den’t. 124 F. Supp. 3d 131, 158-60 (E.D.N.Y. 2015)

  (internal quotation marks omitted) (citing, among others, Zinermon v, Burch. 494 U.S. 113, 125

  (1990)).

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                “To plead a violation of procedural due process, a plaintiff must plausibly allege

  that he was deprived of property without constitutionally adequate pre- or post-deprivation

  process.” J.S. v. T’Kach. 714 F.3d 99, 105 (2d Cir. 2013). “[A plaintiff] must first identify a

  property right, second show that the [government] has deprived him of that right, and third show

  that the deprivation was effected without due process.” Id. (internal citation and quotation marks

  omitted). “Property interests protected by due process . . . are created and their dimensions are

  defined by existing rules or understandings that stem from an independent source such as state

  law-rules or understandings that secure certain benefits and that support claims of entitlement to

  those benefits.” MacFall v. Citv of Rochester. 495 F. App’x 158, 159 (2d Cir. 2012) (quoting

  Martz v, Inc. Vill. of Valiev Stream. 22 F.3d 26, 29 (2d Cir. 1994). In order to establish a

  protected property interest, a plaintiff must show that he had a “legitimate claim of entitlement”

  to the interest, and notjust a “unilateral expectation” of it. Id (quoting McPherson v. New York

  Citv Den’t ofEduc.. 457 F.3d 211, 216 (2d Cir. 2006)).

                Plaintiffs argue that they have been “suspended without pay” and face separation

  from the DOE without the due process owed to them and therefore they are likely to succeed on

  the merits. Plaintiffs are incorrect.

              1. Plaintiffs Are Not Being Subject to Discipline

                Plaintiffs premise their procedural due process claim on the faulty notion that they

  are being subjected to “discipline” in the form of an unpaid “suspension” without the process

  owed to them via Education Law § 3020-a or Civil Service Law § 75. Not so. In fact, the

  Impact Arbitration Award specifically states that placement on LWOP is non-disciplinary.

  Rather, by virtue of Plaintiffs’ unwillingness to comply with the DOE Vaccination Mandate,

  they are simply no longer fit and/or qualified to continue their public employment with the DOE.




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  As detailed below, they are, therefore, not entitled to any process in advance of their placement

  on LWOP and separation.

               The DOE, as a government employer, has a duty to maintain a safe workplace. See

  generally N.Y. Labor Law § 27-a. The obligation of how best to do so is within the discretion of

  the employer. See New York State Inspection. Sec. & Law Enforcement Emples.. Dist. Council

  82 v, Cuomo. 64 N.Y.2d 233, 237-40 (1984). Federal, state and local law also confirm, in the

  context of the COVID-19 pandemic, that employers can refuse to allow employees to work who

  are not fit for work under the applicable medical standards set forth by the public health

  authorities. See e.g. EEOC Guidance, What You Should Know About Covid-19 and the ADA,

  the Rehabilitation Act, and Other EEO Laws, at K.l. (https://www.eeoc.gov/wysk/what-you-

  should-know-about-covid-19-and-ada-rehabilitation-act-and-other-eeo-laws, last visited Nov. 18,

  2021).

               The DOE, consistent with its obligation to provide a safe workplace, and in

  compliance with the lawful COH Order, cannot permit unvaccinated employees, absent

  exemption or accommodation required by law, to perform their job functions when they lack

  fitness to do so under the COH Order. When employees are not fit to perform their duties under

  these circumstances, they are not being “suspended” but rather are unable to work due to

  ineligibility caused by their lack of fitness, even where here the ineligibility may be temporary

  and curable. C.f. Matter of Brown v, Bd. of Educ. of City Sch, Dist. of City of N.Y.. 2009 NY

  Slip Op 31687(U), | 6 (Sup. Ct., N.Y. Co. 2009), citing O’Connor v. Board of Education. 48

  A.D.3d 1254 (4th Dept. 2008) lv, denied 10 N.Y.3d 928 (2008) (teacher’s termination due to

  failure to maintain residency was not a disciplinary matter and therefore was outside the scope of

  § 3020-a.). To be sure, the Second Circuit earlier this month upheld vaccination as a “condition




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  of employment” in the healthcare field. We the Patriots USA. Inc, v. Hochul. Nos. 21-2179, 21-

  2566, 2021 U.S. App. LEXIS 32880, at *52-53 (2d Cir. Nov. 4, 2021).

                 Section 3020-a hearings are not required in the context of employment

  qualifications “unrelated to job performance, misconduct, or competency.” O’Connor v, Bd. of

  Educ.. 48 A.D.3d 1254, 1255 (4th Dep’t 2008) (3020-a hearing not required when teacher is

  terminated for failure to comply with residency requirement as this constitutes a job

  qualification, not discipline), appeal dismissed. 10 N.Y.3d 928 (2008); Adrian v, Bd. of Ed.. 92

  A.D.3d 1272, 1273 (4th Dep’t 2012) (same), leave to appeal granted. 19 N.Y.3d 804 (2012);

  Brown v, Bd. of Educ.. 2009 N.Y. Misc. LEXIS 5475, *9-10 (Sup. Ct. N.Y. Co. July 22, 2009)

  (“The termination of Petitioner did not implicate the procedural protections of Education Law

  § 3020-a because Petitioner's termination was due to her legal ineligibility to serve as a teacher,

  rather than any alleged misconduct or incompetence on her part.”) (citations omitted; Felix v,

  Dep’t of Citvwide Admin, Servs.. 3 N.Y.3d 498, 505 (2004) (failure to maintain residency

  requirement does not trigger the protections of Civil Service Law § 75 because it is a matter of

 job eligibility, not discipline for misconduct). Indeed, the Court of Appeals has explicitly held

  that termination for failure to have a teaching certification is not discipline and termination is

  required. Matter of New York State Off, of Children & Family Servs. v. Lanterman. 14 N.Y.3d

  275,282 120101: see also Citv School District v. McGraham. 17N.Y.3d917,918 n.l (2011).

                 For example, New York Education Law expressly states that a teacher who does

  not possess a teaching certificate issued by the State of New York is unqualified, as a matter of

  law. Indeed, the Court of Appeals has explicitly held that summary termination for failure to

  have a teaching certification is not discipline.      Lanterman. 14 N.Y.3d at 282; see also

  McGraham. 17N.Y.3dat 918n.l (2011).




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                   Thus, Plaintiffs’ argument that they were entitled to a § 3020-a or § 75 hearing in

  advance of being placed on LWOP or being ultimately separated is misplaced. Here, the DOE is

  enforcing the lawful COH Order by removing unvaccinated employees from the workplace

  because they are no longer fit to perform their duties. While this is a newjob requirement put in

  place to combat at novel virus, the analysis remains unchanged. The DOE is able to separate

  employees that are not in compliance with lawfuljob requirements. In essence, plaintiffs seek to

  redefine “discipline” to include a failure to meet a qualification of their DOE employment. The

  Courts have repeatedly rejected such attempts.        O’Connor. 48 A.D.3d at 1255; Adrian. 92

  A.D.3d at 1273; Brown. 2009 N.Y. Misc. LEXIS 5475, at *9-10, Appendix “A,”; see Felix. 3

  N.Y.3d at 505.

               Indeed, in O’Connor, the petitioners were tenured teachers employed by the

  Niagara Falls Board of Education who were terminated for their failure to comply with a

  residency requirement. O’Connor. 48 A.D.3d 1254, 1255. In bringing a procedural due process

  claim challenging their termination, the petitioners argued that they could not be terminated

  without the Board of Education first issuing disciplinary charges against them, followed by a

  hearing under Education Law § 3020-a. Id.

               The Court disagreed, holding that § 3020-a was inapplicable because that section

  deals solely with “issues relating to a teacher’s competency and the applicable disciplinary

  procedures and penalties attendant thereto.” Id. In contrast, the residency requirement was a

  “qualification of employment” that was “unrelated to job performance, misconduct or

  competency” and therefore the Board of Education “may impose it if [it] chooses to do so

  without running afoul of the Constitution or general laws of the State.” Id., citing Mandelkem v,

  Citv of Buffalo. 64 A.D.2d 279, 281 (4th Dept. 1978).




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                 Similarly, in Matter of Koutros v. Dep’t of Educ. of City of N.Y.. 2013 NY Slip Op

  33491 (Sup. Ct. N.Y. County October 22, 2013) affirmed at 129 A.D.3d 434 (App. Div. 1st

  Dept.), the Court held that the termination of a tenured teacher did not implicate the procedural

  protections of § 3020-a because plaintiff’s termination was due to his legal ineligibility to serve

  as a teacher, rather than any alleged misconduct or incompetence.

                 Likewise, under Education Law § 2573, a teacher must complete four years of

  service to achieve tenure. See O’Connor Deck, Ex. E, Affidavit of Vicki Bernstein at 2. New

  York State’s Education Department permits a teacher to begin teaching with what is referred to

  as an “Initial Certificate,” which is valid for five years, during which time the teacher is expected

  to obtain a master’s degree and a “Professional Certificate” and complete all necessary

  certification requirements. Id. A teacher may complete probation during this time period and,

  purusant to the collective bargaining agreement between the Department and UFT, be entitled to

  the protections afforded by Education Law § 3020-a. Id.

                 Each year, the DOE reviews certification statuses for teachers and other staff and

  identifies staff who have an expired Initial Certificate (including teachers and other pedagogical

  staff who have completed probation) and who have not completed the necessary certifications.

  Id. at 4.   Once identified, the DOE then separates these employees from service without a

  hearing pursuant to § 3020-a. h i Indeed, the union representing most of the plaintiffs in this

  case, the United Federation of Teachers, on its own website, admonishes that “although you can

  be tenured while holding an initial certificate, you can be terminated without the right to due

  process for failure to complete the requirements for the professional certificate in the same

  license     area”   See   id.,   citing   “How        do   I   achieve    Tenure”    available     at

  https://www.uft.org/teaching/new-teachers/tenure; last accessed on Nov. 18, 2021. For example,

  in the 2018-19 school year, DOE separated 136 staff (131 teachers, 3 guidance counselors, and 2

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  social workers); in the 2019-20 school year, DOE separated 30 staff (27 teachers, and 3 social

  workers); and in the 2020-2021 school year, DOE separated 217 staff (198 teachers, 3 guidance

  counselors, 15 social workers, 1 psychologist) from service based on their failure to obtain the

  required certifications. Id. at 5.

                     Similarly, under Civil Service Law § 75, it is equally well-settled that the failure to

  maintain eligibility for employment is not an act of misconduct or one related tojob performance

  so as to implicate the disciplinary procedures mandated by Civil Service Law § 75.                    See

  Lanterman. 14 N.Y.3d at 282 (2010); Felix. 3 N.Y.3d 498 at 505.

                     Thus, it is clear that a public employer may lawfully, and summarily, separate

  employees from service without process due to the employee’s legal ineligibility to maintain

  their employment. Here, the City’s Health Commissioner promulgated a lawful eligibility

  requirement: to be eligible to work for DOE, an individual must be vaccinated against COVID-

  19.   Plaintiffs have not complied with that lawful requirement and are therefore subject to

  separation.        This ineligibility in no way implicates the disciplinary procedures delineated in

  Education Law § 3020-a or Civil Service Law § 75 because it does not pertain to misconduct or

 job performance. Therefore, because plaintiffs no longer meet eligibility requirements, they can

  be separated from service without the disciplinary procedures delineated in § 3020-a and/or §75.

                2.      Alternatively, Plaintiffs Have Been Provided All Process Owed to Them

                     Even if Plaintiffs could demonstrate that their placement on LWOP and potential

  separation was somehow “disciplinary” in nature, their procedural due process claim

  nevertheless fails for several reasons.

                     First, although not specifically delineated as such, it appears as though Plaintiffs

  are arguing that their respective unions - of which only UFT is named - essentially bargained

  away the due process rights owed to them under § 3020-a and § 75. While Plaintiffs may have a

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  gripe against their unions, this type of complaint does not suffice to state a Constitutional

  violation. To be sure, courts of this Circuit have held that “§ 3020(4)(a) authorizes the DOE and

  the UFT to enter into a collective bargaining agreement modifying the procedures set forth in §

  3020-a.” Adams v. N.Y, State Educ. Don't. 08 Civ. 5996 (VM)(AJP), 2010 U.S. Dist. LEXIS

  15635, at *31 (S.D.N.Y 2008). Thus, even if the Court were to accept that Plaintiffs’ placement

  on LWOP and projected separation is disciplinary in nature, thereby implicating § 3020-a, it is

  clear that the City and UFT had the ability to bargain over modifications to § 3020-a related to

  the DOE Vaccination Mandate.         Here, the City bargained over the impact of the DOE

  Vaccination Mandate and, ultimately, this bargaining reached an impasse which proceeded to

  arbitration. The LWOP and separation procedures being challenged by Plaintiffs are the result of

  collective bargaining and impasse arbitration, negotiated and statutorily-regulated processes

  which can appropriately modify the procedures set forth in § 3020-a. To the extent Plaintiffs are

  unhappy with the Impact Arbitration Decision, their avenue for relief is not a constitutional claim

  against DOE.

                  Second, while a plaintiff in a § 1983 case is not required to exhaust their

  administrative remedies before bringing suit, (see Patsv v. Bd. of Regents of Fla.. 457 U.S. 496

  (1982)), this general rule does not apply in a procedural due process suit if plaintiffs failed to

  avail themselves of the right to be heard. See Narumanchi v, Bd. of Trustees of Conn, State

  Univ,. 850 F.2d 70, 72 (2d Cir. 1988). In Narumanchi. the Second Circuit explained that in

  procedural due process cases, the limited procedural rights guaranteed under the circumstances

  of a particular case could be satisfied by pre-deprivation notice and hearing rights contained in

  grievance procedures of a collective bargaining agreement. 850 F.2d at 72.

                 Here, Plaintiffs contend that they are entitled to hearings pursuant to their

  respective collective bargaining agreements.    See Dkt. No. 2-10, Plaintiffs’ Memorandum of

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  Law at 16-17.      The collective bargaining agreements governing the terms of Plaintiffs’

  employment establish grievance and arbitration procedures that Plaintiffs could use to challenge

  the so-called “disciplinary actions” taken against them. Thus, Plaintiffs’ procedural rights were

  adequately satisfied by the grievance procedures contained in the applicable collective

  bargaining agreements. The fact that Plaintiffs chose not to utilize such procedures does not

  change this outcome. Cf. Capul v. City of N.Y.. No. 19 Civ. 4313 (KPF), 2020 U.S. Dist. LEXIS

  92727, at *39 (S.D.N.Y. May 27, 2020) (holding that City employees’ failure to avail themselves

  of adequate post-deprivation remedies did not render their procedural due process claims viable),

  aff’d 832 Fed. App’x. 766 (2d Cir. 2021).

                    To the extent that certain Plaintiffs are claiming that UFT was “not accepting”

  grievances prior to November 12, 2021, see Dkt. No. 2-3, Affidavit of Jeannine Lam, that

  allegation does not impact the constitutional analysis vis-a-vis the DOE. Indeed, while Plaintiffs

  may be claiming that UFT breached its duty of fair representation by allegedly failing to accept

  grievances, that alleged failure on UFT’s part does not change the fact that Plaintiffs had ample

  process at their disposal via their collective bargaining agreements (or via Article 78 proceedings

  brought in New York State Supreme Court). Thus, UFT’s supposed failure to bring grievances

  does not suffice to establish a Constitutional violation against DOE.

               Third, DOE has provided the process due to plaintiffs under the Impact Arbitration

  Decisions. “[T]o determine whether a constitutional violation has occurred, it is necessary to ask

  what process the State provided, and whether it was constitutionally adequate.” Zinermon v,

  Burch. 494 U.S. 113, 126 (1990). The Second Circuit has explained that in evaluating what

  process satisfies the Due Process Clause, “the Supreme Court has distinguished between . . .(1)

  claims based on random, unauthorized acts by state employees,” and “(2) claims based on

  established state procedures.” Rivera-Powell v. New York Citv Bd. of Elections. 470 F.3d 458,

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  465 (2d Cir. 2006). When “the alleged deprivation of a protected property . . . interest without

  due process of law occurred because of a random and arbitrary act,” it is often impossible for the

  state to provide a pre-deprivation remedy, and, on those occasions, “an Article 78 proceeding is a

  perfectly adequate post-deprivation remedy.” Hellenic Am, Neighborhood Action Comm, v,

  Citv of New York. 101 F.3d 877, 881 (2d Cir. 1996)). If, however, “the alleged deprivation was

  predictable, pre-deprivation procedures were possible, and the alleged improper conduct was

  taken by those who were acting within their authority,” a pre-deprivation remedy is required.

  Ezekwo v. N.Y.C. Health & Ho s ps . Corn,. 940 F.2d 775, 784 (2d Cir. 1991).

               Here, Plaintiffs’ placement on LWOP and projected separation was not random or

  arbitrary but rather was duly promulgated via the collective bargaining process. While the due

  process clause therefore requires DOE to provide “notice and opportunity for a hearing” before

  terminating an employee with a protected property interest in his employment, Cleveland Bd. of

  Educ. v. Loudermill. 470 U.S. 532, 542 (1985) (internal quotation marks omitted), Ezekwo

  makes clear that in order to satisfy this “hearing” requirement, an employee need only be

  provided with “an opportunity to respond to [their] concerns before a final decision was made”

  and that this could be “accomplished through informal procedures; no formal hearing was

  required.” Ezekwo. 940 F.2d at 786.

               All Plaintiffs had ample advance notice that they were being placed on LWOP and

  that, as a result of their non-compliance with the DOE Vaccination Mandate, they would be

  separated from the DOE. In fact, the vast majority of Plaintiffs have had notice of these potential

  outcomes since September 10, 2021, when the highly publicized Impact Arbitration Decision

  was issued. Furthermore, nearly immediately after the September 27, 2021 implementation date

  for the DOE Vaccination Mandate, Plaintiffs were notified on October 2, 2021, that they were

  not in compliance with such mandate, that they would be placed on LWOP as of October 4,

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  2021, and that DOE would seek to separate them as of December 1, 2021 if they did not opt to

  extend their LWOP status and remained out of compliance with the mandate. See Dkt. No. 1-1.

                  After this notice was given, Plaintiffs certainly could have sought relief via an

  Article 78 proceeding which would have provided them with a sufficient pre-deprivation

  remedy.   In addition, the Impact Arbitration Decision provided for an expedited process to

  review requests for exemptions and accommodations, providing further opportunities to

  Plaintiffs to be heard before being subject to separation, as further described below.         But

  Plaintiffs waited 44 days to bring this “emergency” application claiming that their procedural

  due process rights had been violated.       Plaintiffs’ claims ring hollow, however, given their

  completely unexplained delay in seeking to enforce their Constitutional rights.       In fact, this

  “emergency” application is entirely of Plaintiffs’ own making as they could have filed an Article

  78 proceeding challenging the October 2, 2021 notification immediately after it was received.

  Again, they chose not to do so in order to manufacture an “emergency” requiring this Court’s

  intervention.

                  As noted, the Impact Arbitration Decision creates additional processes available to

  all DOE employees, including Plaintiffs. First, the Impact Arbitration Decision establishes a

  robust process by which DOE employee may apply for medical and/or religious exemptions as

  well as accommodations for those who, having received a full course of vaccination, remain

  unable to mount an immune response. See O’Connor Deck, Exh. A, Impact Arbitration Decision

  at 6-13. The Impact Arbitration Decision further provides that employees who seek to challenge

  the denial of an accommodation may do so via an additional arbitration. Id. Notably, Plaintiffs

  Porcello, Amoura, Quash, Dixno, Ruscelli, Lam and Christopoulos each availed themselves of

  the process available to them to seek an accommodation with respect to the DOE Vaccination

  Mandate. See O’Connor Decl. at Ex. F. In fact, these plaintiffs proceeded to arbitration in

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  connection with their accommodation requests. Id. Despite that, Plaintiffs - including these

  plaintiffs - are claiming they were not provided with constitutionally sufficient due process. The

  Court should not countenance such hollow arguments.

                 Next, the Impact Arbitration Decision sets forth a process for separation from

  employment or extension of LWOP. See id .a tl4 . Under this process, DOE employees who had

  not complied with the DOE Vaccination Mandate by October 29, 2021 could have opted to be

  separated from employment and continue to be eligible for health insurance through September

  5, 2022, unless they are eligible for health insurance from another source. Id. at 16. Employees

  could also in the alternative opt to have their leave without pay extended to September 5, 2022,

  and maintain health coverage. Id. at 17. To the extent that those employees who have chosen to

  extend their leave without pay do not comply with the DOE Vaccination Mandate by the end of

  the period, they will be deemed to have voluntarily resigned. Id. DOE employees have until

  November 30, 2021 to proceed with one of the above-delineated processes. Those who do not

  avail themselves of these processes are subject to summary separation as of December 1, 2021.

  Id. While Plaintiffs may not like these processes, and may have chosen not to avail themselves

  of them, this does not amount to a Constitutional due process violation.

               Therefore, even if Plaintiffs could demonstrate that their placement on LWOP and

  potential separation was somehow “disciplinary” in nature, their procedural due process claim

  nevertheless fails because they were provided with all process they were owed.

         F.      THE BALANCE OF EQUITIES DOES NOT TIP IN FAVOR OF
                 PLAINTIFFS

                 Even if Plaintiffs could prove irreparable harm and demonstrate a likelihood of

  success on the merits - which they cannot - they would, nonetheless, be unable to prove that the

  balance of hardship tips decidedly in their favor. Trump v, Deutsche Bank AG. 943 F.3d 627,

  640 (2d Cir. 2019), rev’d on other grounds. __U.S.__, 140 S.Ct. 2019 (2020). To balance the
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  equities in each case, courts must balance the competing claims of injury on each party of either

  granting or withholding the requested relief. Winter v, NRDC. Inc.. 555 U.S. 7, at 24 (2008)

  (citing Amoco Production Co.. 480 U.S. 531, 542 (1987)). In exercising their sound discretion,

  courts should pay particular regard to the public consequences in employing the extraordinary

  remedy of injunction. Weinberger v, Romero-Barcelo. 456 U.S. 305, 312 (1982).

                 Here, the balance of equities clearly tips in the favor of DOE.      As laid out

  throughout this Memorandum of Law, the City’s public health experts, who are charged with

  ensuring the safety and wellbeing of the City’s residents, determined that the most effective

  means of containing the deadly COVID-19 pandemic in schools and keep school children safe

  was to mandate that school staff be vaccinated. The COH Order’s preliminary paragraphs

  provide a salient and unassailable predicate for making the mandate, including that the U.S.

  Centers for Disease Control and Prevention extols vaccination as the primary strategy to stop the

  spread of COVID-19 and recommends that teachers, school administrators and other employees

  working in school building be vaccinated as soon as possible to help schools safely resume full

  operations. Further, and to that end, DOE is the largest school district in the country, with

  around one million students, hundreds of thousands of whom are not yet vaccinated. Simply put,

  the DOE Vaccination Mandate is fully premised on potentially saving lives, protecting public

  health, and promoting public safety as well as minimizing disruption to in-person classroom

  disruption. The harm DOE seeks to prevent here, the death or serious illness of students and

  staff, and further disruption to the education of approximately one million students, is not

  compensable.

                 By contrast, Plaintiffs here, who were taken off of DOE payroll 44 days before

  filing this “emergency application,” are not in danger of irreparable harm. Should they succeed,

  they can be made whole and compensated. In light of the foregoing, it is plain that the equities

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  tip heavily in favor of the DOE. As such, Plaintiffs’ request for a preliminary injunction should

  be denied.

           G.    AN INJUNCTION IS NOT IN THE PUBLIC INTEREST

                 Courts must also consider whether the granting of the requested relief contravenes

  the public interest. Brown & Williamson Tobacco Corn, v, Engman. 527 F.2d 1115 (2d Cir.

  1975). The Supreme Court has recognized that stemming the spread of COVID-19 is a

  compelling public interest. Roman Catholic Diocese v. Cuomo. 141 S. Ct. 63, 67 (2020). Thus,

  maintaining the status quo in this case, and refraining from ordering DOE to return the

  unvaccinated plaintiffs to payroll when the DOE cannot permit them to perform work, is a

  compelling public interest that militates against imposing an affirmative injunction.

                                           CONCLUSION

                 For the foregoing reasons, plaintiffs’ motion for a preliminary injunction should

  be denied.

  Dated:         NewYork, NewYork
                 November 19, 2021


                                                    GEORGIA M. PESTANA
                                                    Corporation Counsel of the
                                                      City ofNew York
                                                    Attorney for Defendants DOE and Porter
                                                    100 Church Street, Room 2-100
                                                    New York, New York 10007
                                                    212-356-4015


                                                    By: _________/s/______________
                                                        Andrea O’Connor
                                                        Assistant Corporation Counsel




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
................................................................................................ x
NICOLE BROECKER, et al., on behalf of themselves and
all other similarly situated employees of the New
York City Department of Education,,
                                                                                                     DECLARATION OF
                                                                                                     ANDREA O’CONNOR IN
                                                                                  Plaintiffs,
                                                                                                     OPPOSITION TO
                                        - against -                                                  PLAINTIFFS’
NEW YORK CITY DEPARTMENT OF EDUCATION,                                                               APPLICATION FOR A
MEISHA PORTER, in her official and individual capacities,                                            PRELIMINARY
                                                                                                     INJUNCTION
UNITED FEDERATION OF TEACHERS, LOCAL 2,
AMERICAN FEDERATION OF TEACHERS, AFL-CIO,
                                                                                                     No. 21 Civ 6387 (KAM)(LB)
MICHAEL MULGREW, in his official and individual
capacities, JOHN DOE #1-10, in their official and individual
capacities; and JANE DOE #1-10 in their official and
individual capacities,
                                                                                Defendants.
 ................................................................................................ x
                         ANDREA O’CONNOR declares, pursuant to 28 U.S.C. § 1746 and subject to the

 penalties of perjury, that the following is true and correct:

                        1.          I am an Assistant Corporation Counsel in the office of Georgia M. Pestana,

 Corporation Counsel of the City of New York, attorney for Defendants New York City Department

 of Education and Meisha Porter (collectively DOE Defendants) and as such I am familiar with the

 facts as set forth herein.

                        2.          I respectfully submit this declaration in opposition to plaintiffs’ application

 for a preliminary injunction.

                        3.          Attached hereto as Exhibits “A” to “F” are documents maintained in the

 ordinary course of DOE Defendants’ business, publicly available documents, a transcript of

 proceedings held before the Honorable Valerie E. Caproni on October 12, 2021 in Kane v. de




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 Blasio. 21 Civ. 7863 (S.D.N.Y.) (VEC) and the affidavit of Vicki Bernstein. Copies of these

 documents are as follows:

               A.     Arbitration Award Decision in Board of Education of the Citv School

                      District of the Citv of New York and the United Federation of Teachers.

                      Local 2, AFT. AFL-CIO. dated September 10, 2021,annexed hereto as

                      Exhibit A;

               B.     Arbitration Award Decision in Board of Education of the Citv School

                      District of the Citv of New York and the Council of Supervisors and

                      Administrators. September 15, 2021, annexed hereto as Exhibit B;

               C.     Memorandum of Agreement District Council 37, City of New York, and the

                      Board of Education of the City School District for the City of New York,

                      dated October 3, 2021, annexed hereto as Exhibit C;

               D.     Transcript of proceedings held before the Honorable Valerie E. Caproni on

                      October 12, 2021 in Kane v. de Blasio. 21 Civ. 7863 (S.D.N.Y.)(VEC),

                      annexed hereto as Exhibit D;

               E.     Affidavit of Vicki Bernstein, dated November 19, 2021, annexed hereto as

                      Exhibit E; and




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               F.   Arbitration Awards issued in connection with Plaintiffs Porcello, Amoura,

                     Quash, Dixno, Ruscelli, Lam and Christopoulos accommodation requests,

                     annexed hereto collectively as Exhibit F.

 Dated:        NewYork, NewYork
               November 19, 2021


                                           GEORGIA M. PESTANA
                                           Corporation Counsel of the
                                             City ofNew York
                                           Attorney for Defendants DOE and Porter
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                                           By:     _________ /s/________________
                                                   Andrea O’Connor
                                                   Assistant Corporation Counsel




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                                                               September 10, 2021

           Via E-Mail Only
           Renee Campion, Commissioner
           Steven H. Banks, Esq.
           New York City Office of Labor Relations
           The Office of Labor Relations
           22 Cortlandt Street, 14th Floor
           New York, NY 10007

          Alan M. Klinger, Esq.
          Stroock & Stroock & Lavan, L.L.P.
          180 Maiden Lane, 33rtI Floor
          New York, NY 10038

          Beth Norton, Esq.
          Michael Mulgrew, President
          United Federation of Teachers
          52 Broadway, 14Ul Floor
          New York, NY 10004

          Re:       Board of Education of the City School District of the City of New York
                    and
                    United Federation of Teachers, Local 2, AFT, AFL-CIO
                    (Impact Bargaining)

          Dear Counsel:

                    Enclosed please find my Award in the above referenced matter.

                    Thank you.




          MFS/sk




322 Main Street ^    Port Washington, NY 11050 ♦   516.944.1700 ^   fax: 516.944,1771 ^   www.ScheirimanNeutrals.com
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                                                             X
   In t h e M a t t e r o f t h e A r b i t r a t i o n
                                                             X
                   between
                                                             X
   BOARD OF EDUCATION OF THE CITY                                              Re:    Impact B a r g a in in g
   SCHOOL DISTRICT OF THE CITY OF                            X
   NEW YORK
                                                             X
                           "Department"
                                                             X
                   -and-
                                                             X
  UNITED FEDERATION OF TEACHERS,
  LOCAL 2 , AFT, AFL-CIO                                     X

                           "Union "                          X

                                                             X


  APPEARANCES


          For the Department
             R e ne e Campion, C o m m i s s i o n e r o f La b o r R e l a t i o n s
             S t e v e n H. B a n k s , E s q . , F i r s t D e p u t y C o m m i s s i o n e r
             and G e n e r a l C o u n s e l o f Lab or R e l a t i o n s




          For the Union
          STROOCK & STROOCK & LAVAN, L . L . P .
               A l a n M. K l i n g e r , E s q .


          B e t h N o r t o n , E s q. , UFT G e n e r a l C o u n s e l
          M i c h a e l Mu lgre w, UFT P r e s i d e n t




  BEFORE: M a r t i n F. S c h e i n m a n , E s q . , A r b i t r a t o r
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                                                BACKGROUND


            The       Union        (" Uni on"     or      "UFT")         protests            the     Department             of

   E ducation's          ("Department"            or     "DOE")         fa ilu re      to    reach       agreement          on

   the     impact        of    its        d ecision      m andating            a ll     em ployees            working       in

   Department            b u ild in gs        show       proof           they         started           the        C ovid-19

   v a c c i n a t i o n p r o t o c o l s by S e p t e m b e r 2 7 ,    2021.         The U n i o n c o n t e n d s t h e

   Department          fa iled       to     ad eq u ately         provide,       among        other       th in gs,        for

   those      in stan ces          where     em ployees           have    proof         of   a     serious         m edical

   condition          making t h e         vaccine       a danger         to    th eir       h ealth,         as   w ell    as

   f o r e m p l o y e e s who h a v e a l e g i t i m a t e r e l i g i o u s o b j e c t i o n t o v a c c i n e s .

           Most o f t h e b a s i c          facts     are not in d is p u te .

           For t h o s e      in    the     New York C i t y         ("NYC" o r          "City")         m etropolitan

  area,      we a r e now i n t h e 1 8 th month o f t h e C o v i d - 1 9 p a n d e m i c .                         During

  th a t tim e,       we h a v e s e e n s u b s t a n t i a l i l l n e s s      and l o s s o f l i f e .           There

  h a v e b e e n p e r i o d s o f s i g n i f i c a n t i m p r o v e m e n t and h o p e ,           but s a d ly ,      we

  have seen resu rg e n c e w ith th e D elta v a r ia n t .                          Throughout t h i s p e r io d ,

  NYC and i t s        m u n i c i p a l u n io n s have worked c o l l a b o r a t i v e l y t o p r o v i d e

  needed s e r v i c e s       for the        C ity 's    8.8      m illio n      resid en ts        in       as s a f e    an

  en viron m ent as p o s s i b l e .           Yet,      m u n icip a l em ployees have o f t e n borne

  great      risk .      The D e p a r t m e n t and t h e UFT a r e no e x c e p t i o n .                        The DOE

  and t h e     UFT i m m e d i a t e l y moved t o           remote        in stru ctio n         and t h e n l a t e r

  a h y b r id model          o f both       in-p erson       and r e m o t e         learn in g     for       the   2020­

  2 02 1   school       year.        Educators           at   a ll      levels        strove       to     d eliver         the

  b e s t e x p e r ie n c e p o s s i b l e under s t r a i n e d c ir c u m s t a n c e s .             For t h i s



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    coming       school          year,       both     the      DOE a nd        the     UFT h a v e       endeavored          to

   return,       as      much      as       p o ssib le,       to     in-p erson         learning.              They       have

   developed p r o t o c o ls            r e g a r d i n g m a s k i n g and d i s t a n c i n g         to    effectuate

   a safe      environment fo r th e C i t y ' s                    students         and e d u c a t o r s .

            To t h i s    end,        the    D e lta r e su r g e n c e has c o m p lic a te d m a tt e r s .                In

   recogn ition          of      increased           risk ,     there          have     been      variou s         p o licies

   im plem ented a t C it y a g e n c i e s             and o t h e r m u n i c i p a l e n t i t i e s .          Mayor de

   B lasio     in     July       2021        announced          a    "V accine-or-T est"                mandate        which

   essen tia lly          requires             the     C ity        workforce,           in clu d in g         the     UFT's

   educators,         e i t h e r t o be v a c c i n a t e d or undergo w e e k ly t e s t i n g                     for the

  Covid-19 v ir u s           effectiv e         September 13,              2021.

          Most r e l e v a n t t o t h i s m a t t e r ,            on A u g u s t 2 3 ,      2021,      t h e Mayor and

  t h e NYC C o m m i s s i o n e r o f H e a l t h and M e n t a l H y g i e n e ,              D a v i d A. C h o k s h i ,

  MD, a n n o u n c e d a new p o l i c y f o r t h o s e w o r k f o r c e s i n NYC DOE b u i l d i n g s .

  T h o s e e m p l o y e e s w o u l d b e s u b j e c t t o a " V a c c i n e O nl y " m a n d a t e .                   That

  is,    such       em ployees         would need t o               show by S e p t e m b e r          27,     2021,       they

  had a t l e a s t s t a r t e d t h e v a c c i n a t i o n p r o t o c o l o r w o u l d n o t b e a l l o w e d

  onto    DOE p r e m i s e s ,       would n o t be p a id               f o r wor k and w o u l d b e a t                risk

  o f l o s s o f j o b and b e n e f i t s .           T h i s m a n d a t e was r e f l e c t e d i n an Order

  o f C om m issioner C h ok sh i,              d a ted August 24,               2021.          That Order,          by i t s

  term s,     did     not     exp ressly          provide           for    excep tions          or     accommodations

  for     those          w ith        m edical        contraindications                    to        vaccin ation            or

  sin cerely -h eld           relig io u s           objections           to     in ocu lation .             Nor     did     it

  address       m atters         of     du e    process         w ith      regard        to      job     and       b en efits

  p ro tectio n .


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            The UFT p r o m p t l y s o u g h t t o b a r g a i n t h e i m p a c t and i m p l e m e n t a t i o n

   of   the     V accine         O n ly m a n d a t e .         A number o f            d iscu ssion s            w e r e had by

   th e p a r t i e s but im portant m a tters                        remained u n r e s o lv e d .

           On S e p t e m b e r         1,    2021,       the    UFT f i l e d        a D eclaration                of     Impasse

   w ith the       P u b l i c Employment R e l a t i o n s                Bo a r d     ("PERB")             as    to m aterial

   m atters.         The C it y/ D O E             did    not    ch allen ge          the     statem ent            of     impasse

   and PERB a p p o i n t e d me t o m e d i a t e t h e m a t t e r s .                       Given t h e e x i g e n c i e s

   of   the     imminent           start           of    the     school        year         and    the       coming        of    the

   September         27,     2021,           m andate,         together         w ith       the        im portance         of    the

   issu es      involved           to        the     w orkforce,         m ed iation s             session s         were       held

  i m m e d i a t e l y on S e p t e m b e r 2 ,          3,    4 and 5 ,       2021,        w i t h some d a y s h a v i n g

  m u ltip le        session s.               Progress           was      made,         and         certain          ten ta tiv e

  understandings                 were         reached,           but      sig n ifica n t              m atters           remained

  unresolved.               By     agreement              of    the     p a rties,           the       process        moved        to

  arb itration .            They a s k e d I s e r v e a s a r b i t r a t o r . 1

          A rbitration             sessions              were    held      on    September               6    and     7,     2021.

  During       the     course            of        the    hearin gs,        both        sid es          were       given        fu ll

  opportunity          to    introduce               evid en ce       and a r g u m e n t         in    support          of th e ir

  resp ective p o sitio n s.                   They d i d s o .          B o t h p a r t i e s made s t r e n u o u s and

  im passioned         arguments               reflectin g            th eir     view points             on       th is    en tire

  issu e.

          During       the        course           of    these    hearin gs,            I    made        variou s         interim

  r u l i n g s c o n c e r n i n g t h e i m p a c t o f t h e " V a c c i n e O nl y" m a n d a t e .                    I then


  1 My j u r i s d i c t i o n i s l i m i t e d t o t h e                  issu es raised                   d u r in g impact
  b a r g a i n i n g and n o t w i t h r e g a r d t o                     the d e c is io n                to     issu e the
  u n d e r l y i n g " V a c c i n e O nly " o r d e r .
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   d irected        the        p a rties           to     draft        language                reflectin g           those       ru lin gs.

   Even         though     I        am v e r y          fam iliar          w ith         the     language           of     the     current

   C o llectiv e          Bargaining                     Agreement,                   as        w ell     as         the         p arties'

   r e l a t i o n s h i p s i n c e I am a member o f t h e i r p e r m a n e n t a r b i t r a t i o n p a n e l

   and h a v e s e r v e d a s a f a c t - f i n d e r                    and m e d i a t o r d u r i n g s e v e r a l r o u n d s

   of    bargainin g,                I        concluded             the        p arties          are     more        fam iliar           with

   Department             p o licy             and       how        leave             and        en titlem en ts               have      been

  ad m in istered              in        accordance              w ith         prior        agreem ents.                  As     such,      my

  ru lin gs         reflect               both           the        understandings                      reached            during          the

  n egotiation s           prior              to     m ed iation ,             those           reached         in    the        m ediation

  process         and     the            p a rties'        agreed             up on      language         in        response          to    my

  ru lin gs.        A ll are in clu d ed ,                     herein.

            I    commend            the        p a rties         for      th eir           seriousness              of    purpose          and

  d ilig en ce       in     addressing                   these         com p licated              m atters.              The     UFT made

  clear i t        supports v a c c in a tio n e f f o r t s                         and h a s e n c o u r a g e d i t s members

  to    be v a c c i n a t e d .              N on etheless,              as       a Union,        it    ow e s      a duty to             its

  members          to     ensure               th eir          righ ts             are      protected.                   The     Ci ty /D OE

  dem onstrated                recogn ition                 of       the            im portance           of        these         issu es,

  p a rticu la rly             w ith          regard           to      em ployees'                legitim ate              m edical         or

  r e lig io u s claim s.                 I a p p r e c ia te both p a r t ie s '                  e f f o r t s in m eeting the

  tig h t        tim elin e              we     have           faced           and         the      p rofession alism                  they

  dem onstrated s e r v in g                   the       citizen s            of    t h e C i t y and what t h e m i l l i o n

  plus students deserved.                               They h a v e i n v e s t e d immense e f f o r t t o i n s u r e

  such a s e r i o u s          issu e         was l i t i g a t e d           in    s u c h a t h o u g h t f u l way.




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            Yet,    in th e end,               it    fa lls     t o me,           as A rb itra to r,          to arrive at a

   fa ir    r e s o l u t i o n o f t h e m a t t e r s a t h a nd .

            This        m atter        is      one     of     the       most         urgent         events         I     have        been

   i n v o l v e d w i t h i n my f o r t y           (40)     p lu s years as a n e u tr a l.                         The p a r t i e s

   recogn ized           the       com p lexity        of     the       issues          before       me,     as    w ell        as    the

  m agnitude            of    the      work       that       lies       ahead         to      bring      th is         co n flict      to

   c o m p l e t i o n i n a t i m e l y m an n e r .            For t h i s r e a s o n ,           t h e y u n d e r s t o o d and

  accepted          the        scope        and      com p lexity            of      th is      d isp u te       could        not      be

  handled          by        me     alone.            Th ey     agreed             my      co llea g u es         at      Sc h e i n m a n

  A r b i t r a t i o n and M e d i a t i o n S e r v i c e s            ("SAMS")             would a l s o be i n v o l v e d .

            I w an t t o          t h a n k my c o l l e a g u e s      a t SAMS,             e s p e c i a l l y B a r r y J.

  Peek,      for th e ir            efforts         and co mm itm en t t o               im plem enting the

  processes         to r e so lv e           t h is m atter.            T h is u n d e r t a k i n g c o u l d n o t be

  a c c o m p lish e d by any s i n g l e a r b i t r a t o r .


  Opinion

           A fter        having         carefu lly            consid ered               the     record        evid en ce,             and

  after      having           the     p a rties       respond           to        cou n tless       in q u iries.             I      have

  requested         to       perm it        me t o      make        a   fin a l         determ in ation,               I make         the

  ru lin gs      set         forth       below.             W hile       some         of      the     language            has        been

  drafted,       in itia lly ,             b y t h e p a r t i e s i n r e s p o n s e t o my r u l i n g s ,                   in the

  end t h e     language             set     forth,         h erein ,        is     m in e a l o n e .       I hereby is s u e

  t h e f o l l o w i n g Award:

  I.       Exemption and Accommodation Requests & Appeal Process

           As an a l t e r n a t i v e          t o any s t a t u t o r y r e a s o n a b l e accommodation



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   process,           t h e C i t y , t h e Board o f E d u c a tio n o f t h e C i t y S c h o o l D i s t r i c t

   for     the     C i t y o f New York           (the        "DOE"),     and t h e U n i t e d F e d e r a t i o n           of

   Teachers,             Local      2,     AFT,     AFL-CIO            (the     "UFT),          (co llectiv ely             the

   "P arties")           s h a l l be s u b j e c t t o t h e f o l l o w i n g E x p e d it e d Review P r o c e s s

   to    be i m p l e m e n t e d i m m e d i a t e l y       for    fu ll-tim e      staff,        H Bank and n o n ­

  pedagogical              em ployees       who work            a    regular       schedule         of     twenty           (20)

  h o u r s p e r we ek o r more i n c l u s i v e o f l u n c h ,                in c lu d in g but not lim it e d

  to      O ccupational             T herapists           and        P hysical        T h erapists,            and     Adult

  Education            teachers          who work         a    regular        schedule         of   tw enty          (20)     or

  more h o u r s p e r w e e k .          T h is p r o c e ss s h a l l       o n ly apply to            (a)    religiou s

  and m e d i c a l e x e m p t i o n r e q u e s t s t o t h e m a n d a t o r y v a c c i n a t i o n p o l i c y ,

  and      (b)    m edical       accommodation r e q u e s t s               w h e r e an e m p l o y e e       is    unable

  to     mount        an immune r e s p o n s e        to      COVID-19         due    to    p reexistin g            immune

  c o n d i t i o n s and t h e r e q u e s t e d a c c o m m o d a t i o n i s        t h a t t h e employee n ot

  appear         at    sch ool.     This p r o c e s s        s h a l l be    in place         fo r th e 2021-2022

  school         year     and s h a l l     only     be       extended        by m u t u a l    agreement            of     the

  P a rties.

           Any r e q u e s t s      t o b e c o n s i d e r e d a s p a r t o f t h i s p r o c e s s m us t b e

  subm itted v ia            t h e SOLAS s y s t e m no l a t e r t h a n Monday,                    September 20,

  2021,      by 5 : 0 0 p . m .

           A. F u l l M e d i c a l E x e m p t i o n s t o t h e v a c c i n e m a n d a t e s h a l l o n l y be

                 considered               where        an            em ployee         has          a          documented

                 con train d ication           s u c h t h a t an e m p l o y e e c a n n o t r e c e i v e a n y o f

                 the     three      (3)     authorized              vaccin es      (P fizer,        Moderns,           J&J)—

                 w ith        con train d ication s                   d elin eated             i n CDC           clin ica l

                                                                7
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             con sid eration s            for    COVID-19 v a c c i n a t i o n .                 Note t h a t a p r i o r

             im m ediate a l l e r g i c         reaction          t o one          (1)    type      of vaccine w ill

            be     a precaution                for    the       other        types        of    vaccin es,          and may

            r e q u i r e c o n s u l t a t i o n w i t h an a l l e r g i s t .

         B. Te m po r ar y     M edical          Exem ptions t o              the         vaccine        mandate s h a l l

            only      be    based      on       the     follow in g           v a lid      reasons         to     defer     or

            d e l a y COVID-19 v a c c i n a t i o n             f o r some p e r i o d :

            o W i t h i n t h e i s o l a t i o n p e r i o d a f t e r a COVID-19 i n f e c t i o n ;

            o W ithin n i n e t y           (90) d a y s o f m o n o c l o n a l a n t i b o d y t r e a t m e n t

                 o f COVID-19;

            o Treatments             for        conditions              as    d elin eated          in    CDC c l i n i c a l

                 con sid eration s,             w ith       understanding                 CDC      guidance         can     be

                 updated       to    includ e         new c o n s i d e r a t i o n s           over      tim e,     and/or

                 d eterm in ed       by     a treatin g            physician              w ith    a v a lid        m edical

                 licen se        resp on sib le          for      the        im m unosuppressive                   therapy,

                 in clu d in g      fu ll       and     appropriate                 docum entation                that     may

                 warrant       tem porary            m edical       exem ption              for     some         p eriod    of

                 tim e     because        of    active          therapy         or    treatm ent            (e.g.,        stem

                 c ell      tran sp lan t,              CAR       T -cell            therapy)              that          would

                 tem porarily          in terfere               w ith        the     p a tien t's           a b ility       to

                 respond a d e q u a te ly to v a c c in a tio n ;

           o     P erica rd itis       or m y o ca r d itis             not        associated            w ith    COVID-19

                 v a c c i n a t i o n or p e r i c a r d i t i s or m y o c a r d it is a s s o c i a t e d w ith

                 COVID-19 v a c c i n a t i o n .




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           L e n g t h o f d e l a y f o r t h e s e c o n d i t i o n s may v a r y ,                        and t h e e m p l o y e e

   must g e t v a c c i n a t e d a f t e r t h a t p e r i o d u n l e s s s a t i s f y i n g t h e c r i t e r i a

   f o r a F u l l M ed ica l Exem ption d e s c r i b e d ,                          above.



           C. R e l i g i o u s    exem ptions              for        an    employee             to        not     adhere         to    the

               mandatory v a c c i n a t i o n                p o licy           must      be     documented              in     w riting

               by    a   religiou s            o fficia l           (e.g.,            clerg y ).            Requests           sh all     be

               denied       where        the        leader         of       the       religiou s             organization                has

               spoken         p u b licly           in        favor              of     the        vaccin e,              w h er e       the

               docum entation             is        rea d ily          a vailab le              (e.g.,            fro m    an      onlin e

               source),           or where          the       ob jection              is    p erson al,             p o litica l,         or

               p h ilosop h ical              in      nature.               Exemption               requests               sh all         be

               considered               for         recogn ized                   and           estab lish ed              relig io u s

               organizations              (e.g.,           C hristian S c ie n t is t s ) .

           D. T h e r e a r e c a s e s i n w h i c h ,            d e s p i t e an i n d i v i d u a l h a v i n g s o u g h t

               and r e c e i v e d      the        fu ll      course         of       the       v a ccin ation ,           he o r        she

               is   unable         to    mount           an    immune             response             to    COVID-19             du e    to

              p reexistin g          immune c o n d i t i o n s .                 In t h e s e         circu m stan ces,                each

               in d ivid u al           case          sh all                be        review ed               for          potential

              accomm odation.                      M edical            accommodation                    requests               must       be

              documented i n w r i t i n g by a m e d ic a l d o c t o r .

          E. The i n i t i a l d e t e r m i n a t i o n o f e l i g i b i l i t y                     f o r an e x e m p t i o n o r

              a c c o m m o d a t i o n s h a l l be made b y s t a f f i n t h e D i v i s i o n o f Human

              C apital       in    the     O ffice            of   M edical,               Leaves        and B e n e f i t s ;           the

              O ffice        of      Equal           O pportunity;                    and         O ffice            of        E m pl o y e e

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            R elations.          These d e t e r m in a tio n s           s h a l l b e made i n w r i t i n g no

            later        than     Thursday,            September            23,   2021,         and,          if     denied,

            sh all       in clu d e a reason for the d e n ia l.

         F. I f    the    em ployee         w ishes     to      appeal       a determ in ation                  under th e

            id en tified         criteria ,          such      appeal        sh all      b e made i n               SOLAS t o

            the     DOE w i t h i n      one     (1)    school        day o f       the       DOE's i s s u a n c e          of

            the      in itia l      e lig ib ility           determ in ation.                  The        request           for

            appeal        sh all        in clu d e     the      reason        for     the          appeal           and     an y

            a d d it io n a l docum entation.                F ollow ing the f i l i n g o f th e appeal,

            any      supp lem ental             docum entation              may     be     subm itted                by     the

            e m p l o y e e t o t h e S c h e i n m a n A r b i t r a t i o n and M e d i a t i o n S e r v i c e s

            ("SAMS")        w ith in       forty       eigh t      (48)     hours        after       the        filin g      of

            the     appeal.        If     the     stated        reason        for     denial             of    a m ed ical

            exemption            or         accommodation                 request             is         in su fficien t

            docum entation,             the     e m p l o y e e may r e q u e s t        fro m t h e a r b i t r a t o r

            and,     upon       good       cause       sho wn ,      the      arb itrator            may           grant     an

            extension        beyond         forty       eigh t       (48)     hours       and p e r m i t           the    use

           of     CAR d a y s      after        September          27,      2021,     for       the       em ployee          to

           gather         the      appropriate            m edical          docum entation                    before       the

           appeal i s        de em ed s u b m i t t e d f o r d e t e r m i n a t i o n .

        G. A p a n e l     of    arb itrators           id en tified          b y SAMS s h a l l               hear       these

           appeals,         and       may      request         the    em ployee          or        the        DOE     subm it

           a d d ition al       docum entation.              The     assign ed        arb itrator                  may a l s o

           request        inform ation           f ro m C i t y a n d / o r       DOE D o c t o r s a s p a r t o f

           the      review         of     the     appeal          docum entation.                   The         assigned

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              arb itrator,              at       h is    or her         d iscretio n ,          sh all       eith er     issue        a

              d ecision        on t h e           appeal           based     on t h e        documents            subm itted      or

              hold       an        expedited                  (v irtu a l)           factual         h earin g.          If      the

              a r b itr a t o r req u ests a f a c t u a l hearin g,                           t h e e m p l o y e e may e l e c t

              to     have     a     union             rep resen tative               present         but      n eith er       party

              sh all     be    required                 to    be    represented               by   an     attorney         at   the

             hearin g.            The        expedited               h earin g         sh all      be       held     via        Zoom

             telecom m unication                        and        sh all        con sist          of       b rief      opening

             statem ents,           q u e s t i o n s f ro m t h e a r b i t r a t o r ,                and b r i e f c l o s i n g

             statem ents.               Cross           exam ination             sh all      not     be     perm itted.         Any

             docum entation su b m itted a t th e a r b i t r a t o r ' s                                 r e q u e s t s h a l l be

             p r o v i d e d t o t h e DOE a t l e a s t o n e                       (1)    b u s i n e s s day b e f o r e th e

             h earin g        or     the          issu an ce          of     the      w ritten          d ecision       w ithout

             hearin g.

         H. A p p e a l d e c i s i o n s         s h a l l b e i s s u e d t o t h e e m p l o y e e and t h e DOE

             no l a t e r     than Saturday September 25,                                    2021.      Appeal d e c is i o n s

             sh all      be        expedited                 w ithout       fu ll          O pinion,        and     fin a l     and

             binding.

         I . W hile     an a p p e a l           is     pending,           the       exem ption         sh all     be assumed

             g r a n t e d and t h e i n d i v i d u a l s h a l l r e m a i n on p a y r o l l c o n s i s t e n t

             w ith     S ection              K     below.           H o w e v e r,     if      a    larger         number        of

             em ployees            than          an ticip ated             have        a     pending         appeal        as    of

             September            27,        2021,       as     determ ined            by      SAMS,       SAMS may award

            d if f e r e n t in terim r e l i e f c o n s is t e n t w ith the p a r t ie s '                           intent.

            Those      em ployees                who a r e         vaccin ated             and h a v e     applied        for    an

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             accomm odation              sh all      have      the    a b ility        to     use    CAR d a y s w h i l e

             t h e i r a p p l i c a t i o n and a p p e a l a r e p e n d i n g .              Should th e a p p e a l

             be g r a n t e d ,    t h e s e e m p l o y e e s s h a l l b e r e i m b u r s e d a n y CAR d a y s

             used r e t r o a c t iv e        to    the date o f t h e ir              in itia l      application.

         J . The    DOE s h a l l           cover     a ll     arb itration           costs         from       SAMS u n d e r

            th is         process.           To      the       extent          the      arbitrator                      requests

            a d d i t i o n a l m e d i c a l d o c u m e n t a t i o n o r i n f o r m a t i o n f rom t h e DOE,

            or c o n s u l t a t i o n       w ith C ity and/or               DOE D o c t o r s ,        a r r a n g i n g and

            paying         for    such       docum entation             and/or         con su ltation                sh all     be

            t h e r e s p o n s i b i l i t y o f t h e DOE.

         K. An e m p l o y e e who i s             granted a m edical or r e l i g i o u s                          exemption

            o r a m e d i c a l a c c o m m o d a t i o n u n d e r t h i s p r o c e s s and w i t h i n t h e

            sp ecific           criteria          id en tified        above       sh all       be    perm itted                the

            opportunity                to     remain           on     p ayroll,             but      in            no     event

            req uired/perm itted                    to        enter       a      school           b u ild in g            w h ile

            unvaccinated,               as    long       as    the    vaccine         mandate        is        in       effect.

            Such e m p l o y e e s may b e a s s i g n e d               to    work o u t s i d e             of    a school

            b u ild in g        (e.g.,       at     DOE a d m i n i s t r a t i v e     offices)               to       perform

            academic         or    ad m in istrative                functions          as     determ ined                by    the

            DOE w h i l e        the     exem ption           and/or      accommodation                  is        in    p lace.

            For      those         w ith          u n d erlyin g       m edical             issues         granted              an

            accommodation               under        S ection        1(D),       the        DOE w i l l            make       best

            efforts        to     ensure the             a l t e r n a t e work s e t t i n g       is        appropriate

            for     the    em p loyee's            m edical        needs.        The DOE s h a l l                 make b e s t

            e f f o r t s t o make t h e s e a s s i g n m e n t s w i t h i n t h e same b o r o u g h a s

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              the     em ployee's           current          sch ool,            to     the    extent       a     su fficien t

              number       of     assignm ents              ex ist         in    the     borough.           Employees            so

              assigned          s h a l l be r e q u i r e d t o            s u b m i t t o COVID t e s t i n g             tw ice

              p e r we ek f o r t h e d u r a t i o n o f t h e a s s i g n m e n t .

          L. The p r o c e s s s e t f o r t h , h e r e i n ,              s h a ll c o n s titu te the e x c lu siv e

              and      com plete           a d m in istrative               process           for     the        review         and

              d eterm in ation              of         requests             for         religiou s          and           m edical

              exem ptions             to         the        mandatory                 v a ccin ation         p o licy           and

              accommodation r e q u e s t s where t h e                           r e q u e s t e d accommodation i s

              the    em ployee         not        appear        at        sch ool.            The   process           sh all     be

              deemed       com p lete        and        fin a l      upon         the    issuan ce          of       an    appeal

              d ecision .        Should          eith er      party             have     reason       to     b eliev e          the

              process       set       forth,          herein,        is     n o t b e in g im plem ented in                  good

              fa ith ,    it     may b r i n g         a claim            d irectly       to    SAMS f o r           expedited

              reso lu tio n .

   II.   Leave


     A. Any u n v a c c i n a t e d        em ployee         who h a s           not     requested          an       exemption

         pursuant to S e c tio n                 1,    o r who h a s r e q u e s t e d an e x e m p t i o n w h i c h

         has been d e n ie d ,          may be p l a c e d b y t h e DOE on l e a v e w i t h o u t pa y

         effective          September                 28,    2021,          or        up on     denial          of        appeal,

         w hichever        is    la ter,         t h r o u g h November 3 0 ,                 2021.    Such l e a v e may

         be u n i l a t e r a l l y    im posed by t h e                  DOE and may b e e x t e n d e d a t                   the

         r e q u e s t o f t h e em ployee c o n s i s t e n t w ith S e c t i o n                     I I I ( B ) , below.

         Placem ent       on l e a v e       w ith o u t pay f o r               these        reasons       sh all        not    be

         considered a d is c ip lin a r y a c tio n                         f o r any p u r p o se .

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      B.    Except as o th e r w is e n o te d ,               h erein ,      th is      leave        s h a l l be t r e a t e d

            c o n s i s t e n t w i t h o t h e r u n p a i d l e a v e s a t t h e DOE f o r a l l p u r p o s e s .

      C.    During such             leave    w ithout         pay,     em ployees            sh all        continu e       to    be

            elig ib le       f o r h e a l t h i n s u r a n c e . As w i t h o t h e r DOE l e a v e s w i t h o u t

            pay,       em ployees           are       prohibited             f ro m       engaging             in      gainfu l

            e m p lo y m e n t d u r i n g t h e l e a v e p e r i o d .

      D.    E m p l o y e e s who b ec om e v a c c i n a t e d w h i l e on s u c h l e a v e w i t h o u t p a y

            and     provide         appropriate             docum entation                to        the     DOE     prior        to

            November         30,     2021,        sh all    have       a righ t         of     return        to      the    same

            school      as    soon as        is     p racticab le           but     i n no c a s e more t h a n o n e

            (1)    we ek     follow in g      n otice         a nd    subm ission              of    docum entation              to

           t h e DOE.

      E.    P r e g n a n c y / P a r e n t a l Leave

            i.      Any s o o n - t o - b e b i r t h m o t h e r who s t a r t s t h e t h i r d t r i m e s t e r

                    o f p r e g n a n c y on o r b e f o r e          September 27,                 2021,      (e.g.       has a

                    due      date    no     later       than       Dece mb er       27,        2021),       may commence

                    UFT P a r e n t a l      Leave       prior        to    the     ch ild 's         b irth      date,         but

                    not b e fo re       September 27,                2021.

           ii.      No d o c u m e n t a t i o n     sh all      be n e c e s s a r y     for        the    early      use      of

                    Parental         Leave,         other      than        a doctor's               w ritten        assertion

                    th e em ployee i s             in her t h i r d t r i m e s t e r a s o f September 27,

                    2021.

       iii.         E lig ib le       em ployees           who     choose          to     start           Parental         Leave

                    p rio r to the c h ild 's b ir th date,                       s h a l l be r e q u i r e d t o f i r s t

                    u s e CAR d a y s u n t i l         eith er:       1)    t h e y e x h a u s t CAR/sick d a y s,

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                a t which p o i n t t h e P a r e n t a l Leave s h a l l b e g i n ,                    o r 2)     they

                give     birth ,      at    which     point        they       sh all        be    treated          as    an

                approved           Parental         Leave      applican t             for        a ll     purposes,

                inclu d in g       th eir    p rerogative          to        use     ad d ition al          CAR d a y s

               p r i o r t o t h e commencement o f P a r e n t a l L e a v e .

         IV.   E lig ib le      em ployees          who     have    a        pregnancy            d isa b ility          or

               m aternity          d isa b ility      ou tsid e         of     the        regular        m aternity

               p eriod      may,      in     accordance           w ith       ex istin g          ru les,      borrow

               C A R / s i c k d a y s and u s e a G r a c e P e r i o d .            This e l i g i b i l i t y t o

               borrow       CA R/sick        days    does mot           apply        to     em ployees         during

               the     regular m aternity recovery period                              if    t h e y have o p t e d

               to use P a ren ta l Leave.

         v.    In th e      event     an e l i g i b l e     em ployee        exhausts            CAR/sick days

               a nd    parental          leave    prior      to    givin g         b irth ,        the      em ployee

               sh all    b e p l a c e d on a l e a v e        w ith ou t pay,              but w ith m ed ical

               b en efits      at     least       u n til    the     b irth          of     the     ch ild .             As

               a p p licab le,      unvaccinated            em ployees            may b e        placed       in        the

               l e a v e as d e l i n e a t e d   in S ectio n       II(A).

        v i.   I f not otherw ise            covered by e x i s t i n g            Fam ily M edical Leave

               Act     ("FMLA")      or     leave     e lig ib ility ,         an e m p l o y e e who t a k e s

               Parental        Leave        before     the     birth         of     the      ch ild       sh all        be

               elig ib le     to    be     on an u n p a i d       leave       w ith m edical             b en efits

               for    the    duration        of   the m aternity              recovery period                  (i.e.,

               s i x weeks a f t e r b i r t h       or e i g h t weeks a f t e r                a b irth via           C-

               Section)


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           v ii.      A l l o t h e r e l i g i b i l i t y and u s e r u l e s r e g a r d i n g UFT P a r e n t a l

                      L e a v e a s w e l l a s FMLA r e m a i n i n p l a c e .

   Ill. Separation

      A.     During t h e p e r i o d         of     September,           28,        2021,    throu gh O ctober 29,

             2021,       any        em ployee        who      is     on        leave         w ithout        pay      du e    to

            vaccin ation            status     may o p t t o         separate           from t h e         DOE.     In ord e r

            to      separate        under      th is       Section        and        receive        the     commensurate

            b en efits,        an e m p l o y e e m u s t f i l e     a fo rm c r e a t e d b y t h e DOE w h i c h

            inclu d es       a w aiver         of    the     em p loyee's             righ ts       to     ch allen ge       the

            em p loyee's in v o lu n ta r y r e s ig n a t io n ,                 in clu d in g,         but not lim ite d

            to,     through a c o n t r a c t u a l or s t a t u t o r y d i s c i p l i n a r y p r o c e s s .              If

            an e m p l o y e e o p t s t o        se p a r a te c o n s i s t e n t w ith t h i s           Section,         the

            em ployee s h a l l be e l i g i b l e           t o b e r e i m b u r s e d f o r u n u s e d CAR d a y s

            on a o n e        (1)     for    one     (1)    b asis       at     the    rate      of      l/200th      of     the

            em p loyee's        salary       at     d ep a rtu re p er day,              up t o       100 d a y s ,     t o be

            paid      follow in g       the        em p loyee's          separation            w ith       docum entation

            in clu d in g     the     general        w a i v e r and r e l e a s e .          E m p l o y e e s who e l e c t

            th is     option        sh all     be      deemed       to        have     resigned            in v olu n tarily

            effective          on     the     date         con tain ed          in     the     general         waiver        as

            determ ined          by    the        DOE,      for      n on -d iscip lin ary                reasons.           An

            e m p l o y e e who s e p a r a t e s u n d e r t h i s           S e c t i o n s h a l l c o n t i n u e t o be

            elig ib le      f o r h e a l t h i n s u r a n c e t h r o u g h S e p t e m b e r 5,          2022,     unless

            they      are    elig ib le        for       h ealth     insurance               from        another      source

            (e.g.,      a sp ou se's         co v era g e or a n o th e r j o b ) .




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       B. D u r i n g    the        period     of     November           1,        2021- t h r o u g h        November           30 ,

           2021,        any         employee        who     is      on         leave            w ithout       pay         due    to

           vaccin ation             status      may       altern ately               opt        to    extend       the       leave

           through         September           5,     2022.       In      order            to        extend      th is       leave

          pursuant             to      th is     Section ,          and            continue            to      receive           the

          commensurate b e n e f i t s ,              an e m p l o y e e m u s t f i l e              a f o r m c r e a t e d by

          the     DOE w h i c h        in clu d es     a w aiver              of     the        em p loyee's       righ ts        to

          ch allen ge         the em p loyee's v o lu n ta ry r e s ig n a t io n ,                         in clu d in g,       but

          not lim ite d to ,            through a c o n t r a c t u a l or s t a t u t o r y d i s c i p l i n a r y

          process.         E m p l o y e e s who s e l e c t      th is        o p t i o n s h a l l c o n t i n u e t o be

          elig ib le          for      h ealth       insurance            through               September            5,     2022.

          Employees            who     comply       w ith     the        health         order          and     who        seek    to

          return        fro m t h i s     leave,       and s o i n f o r m t h e DOE b e f o r e                     September

          5,    2022,         sh all    have     a righ t         to     return            to    the     same     school         as

          soon as        is     p racticab le         but   in      no c a s e more t h a n tw o                     (2)    weeks

          follow in g         n otice     to    the    DOE.         E xisting           rules          regard ing n o t ic e

          of    leave      in ten tion         and r i g h t s      to    apply for                  other    leaves        still

          apply.        Employees         who h a v e       not     r e tu r n e d by             September          5,     2022,

          s h a l l b e deemed t o h a v e v o l u n t a r i l y                   resigned.

      C. B e g i n n i n g Dece mb er 1,            2021,     t h e DOE s h a l l               seek to u n ila te r a lly

          separate         em ployees          who    have       not      opted            in to      separation            under

         Sections         III (A) and I I I (B) . E x c e p t f o r t h e e x p r e s s p r o v i s i o n s




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                contained, herein, all parties retain all legal rights at all

                times relevant, herein.




   September }0                   ' 2021 .




   STATE OF NEW YORK
                                                    ss .:
   COUNTY OF NASSAU


               I, MARTIN F. SCHEINMAN, ESQ., do hereby affirm upon my oath

   as Arbitrator that I am the individual described herein and who




   September /j) , 2021.




  DQi.urr.Impact Bargaining.awd




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                                                                September 15, 2021

          Via E-Mail Only
          Renee Campion, Commissioner
          Steven H. Banks, Esq.
          New York City Office of Labor Relations
          The Office of Labor Relations
          22 Cortlandt Street, 14th Floor
          New York, NY 10007          -

          Alan M. Klinger, F.sq.
          Stroock & Strooek & Lavan, L.L.P,
          180 Maiden Lane, 33rd Floor
          New York, NY 10038

          David N. Grandwctter, Esq., General Counsel
          Mark Cannizzaro, President
          Council of Supervisors and Administrators
          40 Rector Street, 12th Floor
          New York, NY 10006

          Re:       Board of Education of the City School District of the City of New York
                    and
                    Council of Supervisors and Administrators
                    (Impact Bargaining)

          Dear Counsel:

                    Enclosed please find my Award in the above referenced matter.

                    Thank you.

                                                               Sincerely.




          MFS/sk




322 Main Street ♦    Fort Washington, NY 11050 ♦   516.944.1700 ♦   fax: 516.944.1771 ♦   www.ScheinmanNeutrals.com
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                                                                    X
   In the Matter of the Arbitration
                                                                    X
              between
                                                                    X
   BOARD OF EDUCATION OF THE CITY                                             Re: Impact Bargaining
   SCHOOL DISTRICT OF THE CITY OF                                   X
   NEW YORK
                                                                    X
                      "Department"
                                                                    X
              -and-
                                                                    X
  COUNCIL OF SUPERVISORS
  AND ADMINISTRATORS                                                X

                      "Union"                                       X

                      ----------------------------------------- x



  APPEARANCES


        For the Department
          Renee Campion, Commissioner of Labor Relations
          Steven H. Banks, Esq., First Deputy Commissioner
          and General Counsel of Labor Relations




        For the Union
        STROOCK & STROOCK & LAVAN, L.L.P.
             Alan M. Klinger, Esq.


        David N. Grandwetter, Esq., General Counsel
        Mark Cannizzaro, President




  BEFORE: Martin F. Scheinman, Esq., Arbitrator
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                                     BACKGROUND


         In   the     aftermath      of   the    Arbitration       Award    issued      by   the

   undersigned to resolve the Impasse regarding the implementation of

   the City's Vaccine Only mandate between the United Federation of

   Teachers   ("UFT"), on the one hand, and the City of New York and NYC

   Department of Education           {"DOE"), dated September 10, 2021,                 on the

   other, the Council of Supervisors & Administrators                       ("CSA") and the

   City of New York       ("City")        reached out to me to similarly address

  their concerns.       Given the exigencies of the opening of school and

  the imminent effective date of the City's mandate, it was agreed the

  parties     would    promptly      move       to    arbitration.         Accordingly,      an

  arbitration       session    was    held      on     September    14,    2021,   in    which

  representatives of all parties participated.

        At the September 14, 2021, session, it became apparent much of

  the   UFT/DOE Award would           govern,        here.   The proceeding        thereupon

  focused on the few,         but important matters,              at issue.   Therefore,        I

  find that the terms of the UFT/DOE Award shall apply with the three

   (3) modifications set forth below and in my Opinion and Award:

        1.    Due to the imminent deadlines for submission of exemption

              requests, I issued an interim direction that SOLAS portal

              be opened to any CSA member at the start of business on

              September 15, 2021.           Any CSA member may now apply in SOLAS

              for a COVID-19 Vaccination Mandate Related Exemption or

              Accommodation.         The deadline for requests to be considered


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                 as part of this process must be submitted via SOLAS system

                 by Tuesday, September 21 at 5:00 p.m.

         2.      The assigned arbitrator identified by SAMS who shall hear

                 appeals for exemptions or accommodations may request the

                 employee      or   the   DOE   to   submit    additional       documentation

                 from the Doctors as part of this appeal review process.

         3.      Section II (E) references to "CSA Parental Leave" shall be

                 changed to "CSA Paid Parental Leave".



  Opinion

        After        having    carefully     considered       the    record    evidence,     and

  after having         the parties        respond    to   countless      inquiries,     I have

  requested to permit me to make a final determination,                            I make the

  rulings      set    forth,    below.      While    some   of the       language    has   been

  drafted, initially, by the parties in response to my rulings, in the

  end the language set forth, herein,                 is mine alone.          I hereby issue

  the following Award:

  I.    Exemption and Accommodation Requests & Appeal Process

        As an alternative to any statutory reasonable accommodation

  process, the City, the Board of Education of the City School District

  for the City of New York                (the "DOE"),      and CSA       (collectively the

  "Parties) shall be subject to the following Expedited Review Process

  to be implemented immediately for Principals, Assistant Principals,

  Education Administrators            and Clinical        Supervisors.          This process

  shall only apply to (a) religious and medical exemption requests to

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   the   mandatory    vaccination        policy,     and    (b)    medical          accommodation

   requests where an employee is unable to mount an immune response to

   COVID-19   due    to   preexisting       immune     conditions         and       the    requested

   accommodation is that the employee not appear at school. This process

   shall be in place for the 2021-2022 school year and shall only be

   extended by mutual agreement of the Parties.

         Any requests to be considered as part of this process must be

   submitted via the SOLAS system no later than Tuesday, September

  21, 2021, by 5:00 p.m.

         A. Full Medical Exemptions to the vaccine mandate shall only be

           considered           where      an       employee        has         a         documented

           contraindication such that an employee cannot receive any of

           the three      (3)    authorized vaccines             (Pfizer,       Moderna,       J&J) —

           with      contraindications              delineated            in CDC           clinical

           considerations for COVID-19 vaccination.                       Note that a prior

           immediate allergic reaction to one                  (1) type of vaccine will

           be a precaution for the other types                     of vaccines,             and may

           require consultation with an allergist.

         B. Temporary     Medical       Exemptions to      the    vaccine           mandate shall

           only be based on the            following valid reasons                   to defer or

           delay COVID-19 vaccination for some period:

           o Within the isolation period after a COVID-19 infection;

           o Within ninety (90) days of monoclonal antibody treatment

              of COVID-19;




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            o   Treatments for         conditions as delineated in CDC clinical

                considerations,       with     understanding        CDC     guidance      can be

                updated to include new considerations over time,                           and/or

                determined by a treating physician with a valid medical

                license     responsible      for     the   immunosuppressive             therapy,

                including     full    and    appropriate         documentation       that     may

                warrant   temporary medical           exemption       for    some period       of

                time because of active therapy or treatment                        {e.g.,    stem

                cell    transplant,         CAR      T-cell       therapy)      that        would

                temporarily     interfere          with    the    patient's        ability     to

                respond adequately to vaccination;

           o    Pericarditis or myocarditis not associated with COVID-19

                vaccination or pericarditis or myocarditis associated with

                COVID-19 vaccination.

        Length of delay for these conditions may vary, and the employee

  must get vaccinated after that period unless satisfying the criteria

  for a Full Medical Exemption described, above.



        C. Religious exemptions           for an employee to not adhere to the

           mandatory vaccination policy must be documented in writing

           by a religious         official     (e.g.,      clergy).    Requests      shall be

           denied where the leader of the religious                        organization has

           spoken      publicly      in     favor     of    the     vaccine,       where     the

           documentation      is     readily       available      (e.g.,    from    an    online

           source),    or where the objection is personal,                    political,      or

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            philosophical       in     nature.       Exemption            requests       shall     be

            considered       for     recognized          and      established            religious

            organizations      (e.g., Christian Scientists).

         D. There are cases in which, despite an individual having sought

            and received the full course of the vaccination,                             he or she

            is unable to mount an immune response to COVID-19                              due to

           preexisting immune conditions.                In these circumstances,                 each

           individual        case      shall        be      reviewed          for        potential

           accommodation.            Medical       accommodation           requests       must    be

           documented in writing by a medical doctor.

        E. The initial determination of eligibility for an exemption or

           accommodation shall be made by staff in the Division of Human

           Capital in the Office of Medical,                   Leaves and Benefits;              the

           Office    of      Equal    Opportunity;          and       Office        of   Employee

           Relations. These determinations shall be made in writing no

           later    than Thursday,       September        23,     2021,      and,    if denied,

           shall include a reason for the denial.

        F. If the employee wishes to appeal a determination under the

           identified criteria,         such appeal shall be made in SOLAS to

           the DOE within one         (1) school day of the DOE's issuance of

           the   initial     eligibility       determination.               The     request      for

           appeal    shall    include    the       reason      for    the    appeal       and    any

           additional documentation. Following the filing of the appeal,

           any   supplemental        documentation        may        be    submitted      by     the

           employee to the Scheinman Arbitration and Mediation Services

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            ("SAMS")      within forty eight              (48) hours after the filing of

            the appeal.         If the       stated reason for denial of a medical

            exemption           or      accommodation         request            is     insufficient

            documentation, the employee may request from the arbitrator

            and,    upon       good    cause     shown,     the    arbitrator         may    grant     an

            extension beyond forty eight                    (48) hours and permit the use

            of CAR days after September 27,                       2021,    for the employee to

            gather       the    appropriate        medical        documentation          before       the

           appeal is deemed submitted for determination.

        G. A panel of arbitrators identified by SAMS shall hear these

           appeals,       and may        request      the    employee       or    the    DOE      submit

           additional documentation.                  The assigned arbitrator may also

           request information from City and/or DOE Doctors as part of

           the     review       of     the   appeal       documentation.              The    assigned

           arbitrator,         at his or her discretion,                  shall either issue a

           decision on the appeal based on the documents submitted or

           hold     an     expedited           (virtual)      factual       hearing.           If     the

           arbitrator requests a factual hearing, the employee may elect

           to have       a union        representative        present       but       neither       party

           shall be required to be represented by an attorney at the

           hearing.       The        expedited    hearing         shall    be     held      via      Zoom

           telecommunication             and     shall       consist       of     brief        opening

           statements, questions from the arbitrator, and brief closing

           statements.         Cross     examination shall not be permitted.                         Any

           documentation submitted at the arbitrator's request shall be

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            provided to the DOE at least one (1) business day before the

            hearing       or   the     issuance       of    the   written       decision     without

            hearing.                              '

         H. Appeal decisions shall be issued to the employee and the DOE

            no later than Saturday September 25, 2021. Appeal decisions

            shall    be    expedited       without         full    Opinion,        and   final     and

            binding.

         I. While an appeal is pending,                    the exemption shall be assumed

            granted and the individual shall remain on payroll consistent

            with    Section       K    below.     However,         if      a   larger    number    of

            employees      than       anticipated          have    a     pending    appeal    as   of

            September 27,        2021,     as determined by SAMS,                  SAMS may award

            different interim relief consistent with the parties' intent.

            Those employees who are vaccinated and have applied for an

            accommodation shall have the ability to use CAR days while

            their application and appeal are pending.                          Should the appeal

            be granted, these employees shall be reimbursed any CAR days

            used retroactive to the date of their initial application.

         J. The DOE shall cover all arbitration costs                            from SAMS under

           this     process.          To   the    extent          the      arbitrator      requests

           additional medical documentation or information from the DOE,

           or consultation with City and/or DOE Doctors, arranging and

           paying for such documentation and/or consultation shall be

           the responsibility of the DOE.




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         K. An employee who is granted a medical or religious exemption

            or a medical accommodation under this process and within the

            specific criteria          identified above             shall be permitted the

            opportunity       to      remain        on     payroll,      but    in     no     event

            required/permitted            to    enter        a      school     building        while

            unvaccinated,        as long as the vaccine mandate is in effect.

            Such employees may be assigned to work outside of a school

            building    (e.g.,      at DOE administrative                 offices)     to perform

            academic or administrative                   functions    as determined by the

            DOE while     the exemption and/or accommodation is in place.

            For   those      with     underlying           medical        issues      granted     an

            accommodation        under    Section         1(D),    the    DOE will make         best

            efforts to ensure the alternate work setting is appropriate

            for the employee's medical needs.                      The DOE shall make best

            efforts to make these assignments within the same borough as

            the employee's         current     school,       to the extent a sufficient

            number of assignments exist in the borough.                              Employees    so

            assigned shall be required to submit to COVID testing twice

           per week for the duration of the assignment.                                                .

        L. The process set forth, herein, shall constitute the exclusive

           and    complete       administrative           process        for   the    review     and

           determination         of      requests         for      religious         and    medical

           exemptions       to      the      mandatory            vaccination        policy      and

           accommodation requests where the requested accommodation is

           the employee not appear              at school.            The process          shall be

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                 deemed complete             and   final upon the       issuance      of an appeal

                 decision.          Should    either party have         reason     to believe the

                 process set forth, herein, is not being implemented in good

                 faith,          it may bring a claim directly to SAMS for expedited

                 resolution.

   II.   Leave


      A. Any unvaccinated employee                    who has not requested an exemption

         pursuant to Section 1, or who has requested an exemption which

         has been denied, may be placed by the DOE on leave without pay

         effective                September    28,    2021,   or. upon       denial    of    appeal,

         whichever is later, through November 30, 2021. Such leave may

         be unilaterally imposed by the DOE and may be extended at the

         request of the employee consistent with Section III(B), below.

         Placement on leave without pay for these reasons shall not be

         considered a disciplinary action for any purpose.

      B. Except as otherwise noted, herein, this leave shall be treated

         consistent with other unpaid leaves at the DOE for all purposes.

      C. During such leave without pay, employees shall continue to be

         G l i C j 1 j3 j _ £   for health in suiaiice. As with other DOE leaves without

         pay,            employees      are    prohibited      from     engaging      in    gainful

         employment during the leave period.

     D. Employees who become vaccinated while on such leave without pay

         and        provide         appropriate      documentation      to   the   DOE     prior   to

         November 30,               2021,    shall have a right of return to the same

         school as soon as is practicable but in no case more than one
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          (1) week following notice and submission of documentation to

         the DOE.

      E. CSA Paid Parental Leave

          i.   Any soon-to-be birth mother who starts the third trimester

               of pregnancy on or before September 27, 2021,                       (e.g. has a

               due date no later than December 27,                     2021) , may commence

               CSA Paid Parental Leave prior to the child's birth date,

               but not before September 27, 2021.

        ii.    No documentation shall be necessary for the early use of

               Parental Leave,      other than a doctor's written assertion

               the employee is in her third trimester as of September 27,

               2021.

       i n .   Eligible     employees    who     choose     to     start     Parental    Leave

               prior to the child's birth date, shall be required to first

               use CAR days until either: 1) they exhaust CAR/sick days,

               at which point the Parental Leave shall begin, or 2) they

               give birth,     at which point they shall be treated as an

               approved     Parental    Leave      applicant           for   all    purposes,

               including     their prerogative          to use      additional      CAR days

               prior to the commencement of Parental Leave.

        iv.    Eligible     employees   who      have   a   pregnancy        disability     or

               maternity     disability     outside       of     the    regular    maternity

               period   may,   in   accordance      with       existing      rules,     borrow

               CAR/sick days and use a Grace Period.                   This eligibility to

               borrow CAR/sick days does not apply to employees during

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                   the regular maternity recovery period if they have opted

                   to use Parental Leave.

            v .,   In the event an eligible employee exhausts CAR/sick days

                   and parental       leave prior to giving birth,                   the employee

                   shall be placed on a leave without pay, but with medical

                   benefits    at    least    until        the   birth   of    the    child.        As

                   applicable,       unvaccinated employees may be placed in the

                   leave as delineated in Section II(A).

           vi.     If not otherwise covered by existing Family Medical Leave

                   Act    ("FMLA")   or leave eligibility,            an employee who takes

                   Parental    Leave    before       the    birth    of the    child       shall    be

                   eligible to be on an unpaid leave with medical benefits

                   for the duration of the maternity recovery period                         (i.e.,

                   six weeks after birth or eight weeks after a birth via C-

                   Section).

          vii.     All other eligibility and use rules regarding CSA Parental

                   Leave as well as FMLA remain in place.

   III. Separation

     A.    During the period of September,                 28, 2021, through October 29,

           2021,    any     employee    who     is    on     leave     without       pay    due     to

           vaccination status may opt to separate from the DOE.                            In order

           to    separate   under this       Section       and receive        the commensurate

           benefits, an employee must file a form created by the DOE which

           includes a waiver         of the employee's            rights to challenge              the

           employee's involuntary resignation, including, but not limited

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          to, through a contractual or statutory disciplinary process. If

         an employee opts to separate consistent with this Section, the

         employee shall be eligible to be reimbursed for unused CAR days

         on a one        (1) for one             (1) basis at the rate of l/200th of the

         employee's salary at departure per day, up to 100 days, to be

         paid    following           the    employee's            separation          with    documentation

         including the general waiver and release. Employees who elect

         this    option        shall       be     deemed      to       have    resigned       involuntarily

         effective        on       the     date       contained         in     the    general     waiver      as

         determined           by    the     DOE,       for    non-disciplinary                reasons.        An

         employee who separates under this Section shall continue to be

         eligible for health insurance through September 5, 2022, unless

         they    are     eligible          for    health          insurance          from    another    source

         (e.g., a spouse's coverage or another job).

      B. During the period                 of November            1,    2021' through November               30,

         2021,     any    employee              who    is    on        leave     without       pay     due    to

         vaccination          status       may     alternately           opt     to    extend     the    leave

         through       September           5,    2022.       In    order       to     extend    this     leave

         pursuant        to        this     Section,         and        continue        to     receive       the

         commensurate benefits, an employee must file a form created by

         the DOE which includes a waiver of the employee's                                        rights to

        challenge the employee's voluntary resignation, including, but

        not limited to, through a contractual or statutory disciplinary

        process. Employees who select this option shall continue to be

        eligible       for         health       insurance          through          September     5,     2022.

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                Employees            who    comply with the health             order    and who seek to

                return from this leave, and so inform the DOE before September

                5, 2022,            shall have a right to return to the same school as

                soon as is practicable but in no case more than two                              (2) weeks

                following notice to the DOE.                       Existing rules regarding notice

               of leave intention and rights to apply for other leaves still

               apply.             Employees who have not returned by September 5, 2022,

               shall be deemed to have voluntarily resigned.

         C. Beginning December 1, 2021, the DOE shall seek to unilaterally

               separate             employees    who have not             opted into   separation under

               Sections III(A) and III(B). Except for the express provisions

               contained, herein, all parties retain all legal rights at all

               times relevant, herein.



   September                        2021.

                                                       A I D l L I d   LOI'




   STATE OF NEW YORK
                                                       ss.:
   COUNTY OF NASSAU


              I,                  MARTIN F. SCHEINMAN, ESQ., do hereby affirm upon my oath

   as Arbitrator that I am the indiyidual described herein and who

   executed this instrument, which i                             mv award




  DOS.CSA.Impact Bargaining.awd


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                                 Memorandum of Agreement
                            District Council 37. City of New York.
         and the Board of Education of the City School District for the City of New York

        WHEREAS; The Commissioner of the Department ofHealth and Mental Hygiene has
 issued an order mandating that all Department of Education staff and other City employees
 working in school settings be vaccinated against COVID-19 by October 1, 2021; and
       WHEREAS; the parties desire to reach agreement regarding a process for requests for
 exemptions to this mandate and the leave status of those who do not comply with the mandate;
          NOW THEREFORE, the parties agree as follows:
    I.       Exemption and Accommodation Requests & Appeal Process

 As an alternative to any statutory reasonable accommodation process, the City ofNew York (the
 “City”), the Board of Education of the City School District for the City ofNew York (the
 “DOE”), and the District Council 37, (collectively the “Parties”) shall be subject to the following
 Review Process to be implemented immediately for full-time staff and staff who work a regular
 schedule of 20 or more hours per week employed by the DOE and by the Department of Health
 and Mental Hygiene (DOHMH) and working in DOE schools. This process shall only apply to
 (a) religious and medical exemption requests to the mandatory vaccination policy, and (b)
 medical accommodation requests where an employee is unable to mount an immune response to
 COVID-19 due to preexisting immune conditions and the requested accommodation is that the
 employee not appear at school. This process shall be in place for the 2021-2022 school year and
 shall only be extended by mutual agreement of the Parties.
 Any requests to be considered as part of this process must be submitted via the SOLAS system
 for DOE employees or to DOHMH’s EEO office, on a form created by EEO, for DOHMH
 employees, no later than 5pm on Tuesday, October 5th.
    A. Full Medical Exemptions to the vaccine mandate shall only be considered where an
          individual has a documented contraindication such that an individual cannot receive any
          of the 3 authorized vaccines (Pfizer, Modema, J&J)—with contraindications delineated
          in CPC clinical considerations for COVID-19 vaccination. Note that a prior immediate
          allergic reaction to one type of vaccine will be a precaution for the other type of vaccine,
          and may require consultation with an allergist.

    B. Temporary Medical Exemptions to the vaccine mandate shall only be based on the
          following valid reasons to defer or delay COVID-19 vaccination for some period:
              o  Within the isolation period after a COVID-19 infection;
              o  Within 90 days of monoclonal antibody treatment of COVID-19;
              o  Treatments for conditions as delineated in CDC clinical considerations, with
                 understanding that CDC guidance can be updated to include new considerations
                 over time, and/or determined by a treating physician with a valid medical license
                 responsible for the immunosuppressive therapy, including full and appropriate

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                 documentation that may warrant temporary medical exemption for some period of
                 time because of active therapy or treatment (e.g., stem cell transplant, CAR T-cell
                 therapy) that would temporarily interfere with the patient’s ability to respond
                 adequately to vaccination;
             o   Pericarditis or myocarditis not associated with COVID-19 vaccination or
                 pericarditis or myocarditis associated with COVID-19 vaccination.

         Length of delay for these conditions may vary, and staff member must get vaccinated
         after that period unless satisfying the criteria for a Full Medical Exemption described
         above.
    C. Religious exemptions for an employee to not adhere to the mandatory vaccination policy
         must be documented in writing by a religious official (e.g., clergy). Requests shall be
         denied where the leader of the religious organization has spoken publicly in favor of the
         vaccine, where the documentation is readily available (e.g., from an online source), or
         where the objection is personal, political, or philosophical in nature. Exemption requests
         shall be considered for recognized and established religious organizations (e.g., Christian
         Scientists).

    D. There are cases in which, despite an individual having sought and received the full course
         of the vaccination, they are unable to amount an immune response to COVID-19 due to
         preexisting immune conditions. In these circumstances, each individual case should be
         reviewed for potential accommodation. Medical accommodation requests must be
         documented in writing by a medical doctor.

    E.   The initial determination of eligibility for an exemption or accommodation shall be made
         for DOE employees by staff in the Division of Human Capital in the Office of Medical,
         Leaves and Benefits; the Office ofEqual Opportunity; and Office of Employee Relations,
         and for DOHMH employees by DOHMH’s EEO office. These determinations shall be
         made in writing no later than Friday, October 8th and, if denied, shall include a reason for
         the denial.

    F.   If the employee wishes to appeal a determination under the identified criteria, such appeal
         shall be made in SOLAS to the DOE for DOE employees and to DOHMH’s EEO office
         for DOHMH employees within 48 hours of the agency’s issuance of the initial eligibility
         determination. Those employees who have already applied for an exemption or
         accommodation and received a determination from DOE shall be notified by DOE of
         their right to appeal and such appeal shall be made in SOLAS within 48 hours of receipt
         of such notification. The request for appeal should include the reason for the appeal and
         any additional documentation. Following the filing of the appeal, any supplemental
         documentation may be submitted by the employee to the Scheinman Arbitration and
         Mediation Services (“SAMS”) within 48 hours after the filing of the appeal. If the stated
         reason for denial of a medical exemption or accommodation request is insufficient


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         documentation, the employee may request from the arbitrator and, upon good cause
         shown, the arbitrator may grant an extension beyond 48 hours for the employee to gather
         the appropriate medical documentation before the appeal is deemed submitted for
         determination.

    G. A panel of arbitrators identified by SAMS shall hear these appeals and may request that
         the employee or the agency submit additional documentation. The assigned arbitrator
         may also request information from City and/or DOE doctors as part of the review of the
         appeal documentation. The assigned arbitrator, at his/her discretion, will either issue a
         decision on the appeal based on the documents submitted or hold an expedited (virtual)
         factual hearing. If the panel requests a factual hearing, the employee may elect to have a
         union representative present but neither party shall be required to be represented by an
         attorney at the hearing. The expedited hearing shall consist of brief opening statements,
         questions from the arbitrator, and brief closing statements. Cross examination shall not be
         permitted. Any documentation submitted at the Arbitrator’s request must be provided to
         the agency at least one business day before the hearing or the issuance of the written
         decision without hearing.

    H. Appeal decisions shall be expedited without full Opinion, and the decision is final and
         binding.

    I.   While the exemption/accommodation review process and/or any appeal is pending the
         individual shall remain on Leave without pay with Health Benefits. Those employees
         who are vaccinated and have applied for an accommodation will have the ability to use
         sick and/or annual leave while their application and appeal are pending, should the appeal
         be granted, these employees will be reimbursed any sick and/or annual leave used
         retroactive to the date of their initial application.

    J.   The employing agency shall cover all arbitration costs from SAMS under this process. To
         the extent that the arbitrator requests additional medical documentation or information
         from the agency, or consultation with City and/or DOE doctors, arranging and paying for
         such documentation and/or consultation shall be the responsibility of the agency.

    K. An employee who is granted a medical or religious exemption or a medical
         accommodation under this process and within the specific criteria identified above shall
         be permitted the opportunity to remain on payroll while the exemption and/or
         accommodation is in place, but in no event required/permitted to enter a school building
         while unvaccinated, as long as the vaccine mandate is in effect. In order to keep the
         employee on payroll, the agency may, in its discretion:
           I.   Assign the employee to work outside of a school building (e.g., at DOE
                administrative offices for DOE employees, or at other DOHMH locations for
                DOHMH employees) to perform functions as determined by the agency.


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           II.      Assign the employee to work on alternative shifts, with no payment of any shift
                   differentials.
          III.     Temporarily detail the employee to perform work for another City agency which
                   is not subject to a vaccination mandate.
          IV.      Assign the employee to continue in their current non-school-based assignment
                   and work location subject to the terms set forth herein or to an alternative non-
                   school-based location to perform functions as determined by the DOE.


    L.    For those with underlying medical issues granted an accommodation under Section 1(D),
          the agency will make best efforts to ensure that the alternate work setting is appropriate
          for the employee’s medical needs. The agency shall make best efforts to make these
          assignments within the same borough as the employee’s current work location, to the
          extent such assignment exists. DOE employees assigned to alternative assignments shall
          be required to submit to COVID testing twice per week for the duration of the
          assignment. DOHMH employees so assigned shall be required to comply with
          DOHMH’s testing policy for unvaccinated employees.

    M. The process set forth herein shall constitute the exclusive and complete administrative
          process for the review and determination of requests for religious and medical
          exemptions to the mandatory vaccination policy and accommodation requests where the
          requested accommodation is that the employee not appear at school. The process shall be
          deemed complete and final upon the issuance of an appeal decision. Should either party
          have reason to believe the process set forth herein is not being implemented in good faith,
          it may bring a claim directly to SAMS for expedited resolution.

    N. A 12-month employee who is granted a full (i.e., not temporary) medical or religious
          exemption under this process whose exemption or accommodation is not extended past
          the end of the school year shall have the right to elect to be placed on leave without pay
          with health benefits through September 5, 2022 pursuant to all the terms and conditions
          set forth in Section III(B) of this agreement. Such election must be made within two
          weeks of the date the exemption of accommodation ceased.

    II.          Leave

    A. Any unvaccinated employee who has not requested an exemption pursuant to Section 1,
          or who has a pending exemption request or has requested an exemption which has been
          denied, may be placed by the agency on leave without pay effective October 4, 2021
          through November 30, 2021. Such leave may be unilaterally imposed by the agency and
          may be extended at the request of the employee consistent with Section III(B), below.
          Placement on leave without pay for these reasons shall not be considered a disciplinary
          action for any purpose.


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    B. Except as otherwise noted herein, this leave shall be treated consistent with other unpaid
           leaves at the agency for all purposes.

    C. During such leave without pay, employees shall continue to be eligible for health
           benefits. As with other agency leaves without pay, employees are prohibited from
           engaging in gainful employment during the leave period.

    D. Employees who become vaccinated while on such leave without pay and provide
           appropriate documentation to the agency prior to November 30, 2021 shall have a right of
           return to active duty as soon as is practicable but in no case more than one week
           following notice and submission of documentation to the agency.

    E. Pregnancy/Parental Leave
              i.      Any soon-to-be birth mother who starts the third trimester of pregnancy on or
                      before October 1, 2021 (e.g. has a due date no later than January 1, 2022), may
                      utilize sick leave, annual leave, and/or compensatory time prior to the child’s birth
                      date, but not before October 1, 2021. Upon giving birth, they shall be eligible for
                      paid family leave (“PFL”) or FMLA in accordance with existing law and rules.
             ii.      No documentation shall be necessary for this use of accrued leave, other than a
                      doctor’s written assertion that the employee is in her third trimester as of October
                      1, 2021.
            iii.      In the event that an eligible employee exhausts accrued leave prior to giving birth,
                      that employee shall be placed on a leave without pay, but with medical benefits at
                      least until the birth of the child. As applicable, unvaccinated employees may be
                      placed in the leave as delineated in Section 11(A).
            iv.       If not otherwise covered by existing FMLA or leave eligibility, an employee who
                      exhausts their leave before the birth of the child will be eligible to be in an unpaid
                      leave with medical benefits for the duration of the maternity recovery period (i.e.,
                      six weeks after birth or eight weeks after a birth via C-Section).
             v.       All other eligibility and use rules regarding use of sick leave, annual leave,
                      compensatory time, paid family leave, and FMLA remain in effect.
            vi.       Except as provided in this subsection E, no employee placed on leave without pay
                      pursuant to this agreement may return to another leave status (e.g., annual leave,
                      sick leave, FMLA) after going on leave without pay.

    III.           Separation

    A. During the period of October 4, 2021 through October 29, 2021 any employee who is on
           leave without pay due to vaccination status may opt to separate from the agency. In order
           to separate under this Section and receive the commensurate benefits, an employee must
           file a form created by the agency which includes a waiver of the employee’s rights to


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         challenge the employee’s involuntary resignation, including, but not limited to, through a
         contractual or statutory disciplinary process. If an employee opts to separate consistent
         with this Section, the employee shall be eligible to be reimbursed for unused sick leave
         on a one-for-one basis, up to 100 days to be paid following the employee’s separation
         with documentation including the general waiver and release. Employees who elect this
         option shall be deemed to have resigned involuntarily effective on the date contained in
         the general waiver as determined by the agency, for non-disciplinary reasons. An
         employee who separates under this Section shall continue to be eligible for health
         benefits through September 5, 2022, unless they have health insurance available from
         another source (e.g., a spouse’s coverage or anotherjob).

    B. During the period of November 1st through November 30, 2021, any employee who is on
         leave without pay due to vaccination status may alternately opt to extend the leave
         through September 5, 2022. In order to extend this leave pursuant to this Section and
         continue to receive the commensurate benefits, an employee must file a form created by
         the agency which includes a waiver of the employee’s rights to challenge the employee’s
         voluntary resignation, including, but not limited to, through a contractual or statutory
         disciplinary process. Employees who select this option shall continue to be eligible for
         health benefits through September 5, 2022. Employees who comply with the health order
         and who seek to return from this leave, and so inform the agency before September 5,
         2022, shall have a right to return to active duty as soon as is practicable but in no case
         more than two weeks following notice to the agency. Existing rules regarding notice of
         leave intention and rights to apply for other leaves still apply. Employees who have not
         returned by September 5, 2022 will be deemed to have voluntarily resigned.

    C. Beginning December 1, 2021, the agency will seek to unilaterally separate employees
         who have not opted into separation under Sections 111(A) and III(B). Except for the
         express provisions contained herein, all parties retain all legal rights at all times relevant
         herein.

     FOR THE CITY OF NEW YORK                           FOR THE BOARD OF EDUCATION


     Q     -%    —                                      BY:         R
                                                                    an        Asher
  BY:_____ Y ______ _____________                          RANDY ASHE
     RENEE CAMPION                                         Deputy CEO, Labor Policy
     Commissioner of Labor Relations




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      FOR DISTRICT COUNCIL 37               FOR LOCAL 373



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 1    UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
 2    ------------------------------ x

 3    MICHAEL KANE, et al.,

 4                      Plaintiffs,

 5                 v.                                    21 Civ. 7863 (VEC)

 6    BILL DE BLASIO, et al .,

 7                      Defendants.
                                                         Decision
 8                                          x
                                                         New York, N.Y.
 9                                                       October 12, 2021
                                                         11:00 a.m.
10
      Before:
11
                             HON. VALERIE E. CAPRONI ,
12
                                                         District Judge
13

14                                    APPEARANCES

15    SUJATA S. GIBSON
      MARY HOLLAND
16         Attorneys for Plaintiffs

17    GEORGIA M. PESTANA
           Corporation Counsel of the City of New York
18         New York City Law Department
           Attorney for Defendant City of New York
19    BY: LORA MINICUCCI
           AMANDA C. CROUSHORE
20         JESSICA GIAMBRONE
           Assistants Corporation Counsel
21

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23

24

25


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 1                (Case called; appearances noted)

 2                THE COURT:    Everyone please be seated.

 3                OK.   Let me start, for everyone, and this is both for

 4    the people who are present in this courtroom, people who are on

 5    the telephone and people who are in the overflow courtrooms, I

 6    want to lay out the rules of the road.

 7                First, if you're on the telephone, you may not record

 8    or rebroadcast this proceeding.          We've allowed a telephone

 9    hookup to accommodate constraints on the number of people who

10    can be in the courtroom, but I am not permitting it to be

11    recorded or rebroadcast.        If you record it or rebroadcast it,

12    you're in contempt of court, and it will be dealt with

13    accordingly.

14                Second, let me remind everybody who is present in this

15    courtroom or in any of the overflow courtrooms, the standing

16    order of the Southern District is that you must wear a face

17    covering.     It must cover both your mouth and your nose.               This

18    is your warning on that front.          If you let your mask fall below

19    your nose, whether in my courtroom or any of the overflow

20    courtrooms, the court security officers have been directed to

21    immediately remove you.       They're not going to warn you.             You've

22    been warned now.      You must keep your face covering over your

23    nose and your mouth.

24                Lastly, let me just say that for all the people in my

25    courtroom as well as in all of the overflow courtrooms, you


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 1    must behave in accordance with the rules of decorum that are

 2    appropriate for a courtroom.          That means there can be no

 3    outbursts and no talking.        If you're in an overflow courtroom

 4    or in my courtroom and you do not think you can abide by that

 5    rule, let me encourage you to leave now and to call in on the

 6    phone number so that you can participate by listening.

 7               I'm going to give you the call-in number again.                  So if

 8    you're somebody who does not think that you can maintain

 9    decorum if something happens during this hearing that you don't

10    like, I'm encouraging you to leave now.                The call-in number is

11    844-291-5489.     The access code is 9438556.             And as with the

12    issue of wearing face coverings, the court security officers

13    have been directed that there is zero tolerance for misconduct

14    in the courtroom, whether you are physically in my courtroom or

15    you're in an overflow courtroom.

16               That's it for the preliminary matters.               Let me turn

17    first to the issue of witnesses.

18               Ms. Gibson, you have indicated a desire to call a

19    whole bunch of witnesses.        I'm not quite sure what the purpose

20    of that would be, so can you tell me; can you give me a proffer

21    for what, understanding you were going to update what has

22    happened with some of the plaintiffs via the appeal process,

23    what else did you want people to testify to?

24               MS. GIBSON:     Your Honor, primarily with the witnesses,

25    if it would be acceptable to counsel and the Court, I could


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 1    just put in additional declarations rather than waste time on

 2    having a full hearing, but I just wanted to update.                 Almost all

 3    of them have been denied at this point, which wasn't the case

 4    when we first filed.

 5                As to Amanda Ruiz, she was going to testify about the

 6    conditions in one of the schools where the plaintiff teaches

 7    now that the plaintiffs and others have been removed from the

 8    school, which goes to the public interest element of this

 9    analysis.

10                THE COURT:    OK.

11                MS. GIBSON:    I did submit a declaration from her in

12    lieu of testimony.

13                THE COURT:    I saw it.     I'm going to ask you if you can

14    stand up when you talk, because otherwise I can't see you.

15                MS. GIBSON:    Oh, my goodness.        I'm sorry, Judge.

16                THE COURT:    It's OK.

17                MS. GIBSON:    And as to the expert witness, that would

18    just be going to really the substance of their declarations,

19    but going to the issue of whether the plaintiffs constitute a

20    threat based on their vaccine status and the significance of

21    that threat.

22                THE COURT:    OK.    So they weren't going to add to their

23    declarations; they were just going to reiterate what they'd

24    already said in it.

25                MS. GIBSON:    I would say so, your Honor, yes.             It


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 1    would give the other side a chance to cross-examine them and so

 2    forth.

 3               THE COURT:     I really don't think that's necessary.

 4    I've read all the affidavits, and I understand your point that

 5    some of the plaintiffs who had not previously been denied have

 6    now been denied, so I don't think their testimony is required.

 7               MS. GIBSON:     Thank you, your Honor.

 8               THE COURT:     All right.     This is your motion.           Would

 9    you like to be heard?

10               MS. GIBSON:     Thank you.

11               Your Honor, we're here today challenging two

12    overarching policies of the defendants.                The first is a policy

13    promulgated by Mayor de Blasio, Commissioner Chokshi and

14    implemented by the Department of Education, which is the

15    overall vaccine mandate for teachers, which requires, among

16    other things, that nobody who is unvaccinated is allowed to go

17    into any school building as of October 4, 2021, and that

18    includes people who have religious or medical accommodations

19    pursuant to the other policy we're challenging.

20               On its face defendants have pointed out that there is

21    a clause that says legally required accommodations are not

22    necessarily excluded from consideration, but in practice, the

23    city has made very clear that they do not consider religious

24    accommodations to be a valid reason to have to legally excuse

25    someone from the requirement.


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 1               THE COURT:     That means if the religious exemption has

 2    been granted.

 3               MS. GIBSON:     I'm still just dealing with the

 4    overarching view of the Commissioner Chokshi policy.                  That

 5    doesn't even really provide for religious or medical

 6    exemptions.     That was challenged then by the union and an

 7    arbitration award did provide for limited religious and medical

 8    exemptions, but the DOE has implemented it in a manner, and

 9    facially that policy which the DOE has implemented is facially

10    discriminatory against anyone who holds beliefs that are

11    outside of certain dogmas of certain religions.                And both that

12    policy and the overarching policy were promulgated amidst a

13    flurry of hostile statements by the mayor and by

14    representatives of the DOE.

15               THE COURT:     I looked at your papers, and I didn't

16    see —   the mandate was issued in late August.               The only thing

17    that you cited prior to that, so when you say it was announced

18    amidst a flurry of antireligious statements, the only statement

19    you quote in your papers is from August the 3rd that preceded

20    the announcement of the policy.

21               Is that what you're relying on?

22               MS. GIBSON:     Well, that was the first, one of the

23    first statements, but the mayor and the governor both went on

24    record many times saying that they do not believe, and

25    afterwards saying that they do not believe that religious


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 1    exemptions are legitimate to —

 2               THE COURT:     Well —

 3               MS. GIBSON:     —        that there's no legitimate religious

 4    reason to opt out of the vaccine and they, many times,

 5    mentioned the Pope, which later the DOE, and that's where the

 6    declarations come in, each of the plaintiffs, when they were in

 7    their Zoom appeals, the DOE attorneys repeatedly, over and

 8    over, the representatives of the DOE would mention the Pope as

 9    the reason they should be denied.

10               THE COURT:     That appears to be an as-applied argument.

11               Do you want to just start on the facial validity or

12    invalidity?     You mentioned that it was promulgated amidst a

13    flurry of antireligious statements, so I'm trying to nail you

14    down on that.     What exactly are you referring to?                 Because the

15    only thing in your papers that was around the time or preceding

16    the announcement is this transcript from Mayor de Blasio when

17    he announced generally that you need a vaccine, if you're in

18    New York City, to do just about anything.                  But there's nowhere

19    in it that references religion.

20               MS. GIBSON:     Your Honor, I do apologize.               I can go

21    back and look at the record and pull out a few other examples,

22    but I do believe that there were some news articles from that

23    time, right after it was promulgated, where the mayor came

24    forward and said that there are no valid religious issues for

25    exemption and that the Pope is very much in support of


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 1    vaccination, and so he takes the position that, therefore,

 2    nobody's religious beliefs that are contrary to the Pope's

 3    would be valid.

 4                THE COURT:    OK.    But again, do you have anything other

 5    than the August 3 transcript of Mayor de Blasio's interview,

 6    which is silent on religion, that suggests hostility to

 7    religion at or before the time the mandate was announced?

 8                MS. GIBSON:    I believe I do, your Honor.             I'm just

 9    looking for it.       The complaint discusses it, I believe, and

10    then also, my motion papers.

11                THE COURT:    What paragraph of the complaint

12    particularly?

13                MS. GIBSON:    Your Honor, that's a fair question, and I

14    just wasn't prepared for it.          I'm sorry.       But I do have several

15    articles, one from Spectrum

16                THE COURT:    Dated what?

17                MS. GIBSON:    So, in exhibit 17, 17-1 —            sorry, I mean

18    17-3, -4, -5 and -6.

19                THE COURT:    17-3 is October 3.           17-5 is September 15.

20    17-4 is September 26

21                MS. GIBSON:    Well, your Honor, my understanding of

22    this law is that it doesn't -- I mean of animus, the indicia of

23    animus is it doesn't have to be preceding the promulgation of

24    the rule.     It can also come afterwards, like it did in the

25    Masterpiece Cakeshop, where the court held that


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 1     post-deprivation statements or during the time —

 2                THE COURT:    That's not true.      Those statements were

 3     made at around the time they were considering.              It was an

 4     as-applied challenge.

 5                MS. GIBSON:     I'd be happy to have a hearing on the

 6     factual issue of whether there was others.

 7                THE COURT:    None of the witnesses that you proposed

 8     can speak to this.

 9                MS. GIBSON:     I do believe, your Honor, that my

10     witnesses can speak to the animus that they received from the

11     DOE.

12                THE COURT:    That was after this mandate was announced.

13     Right?     I mean you're making a facial challenge, and you said,

14     the first thing out of your mouth almost, was it was

15     promulgated among a flurry of antireligious comments; that's

16     almost a quote.      So I'm trying to see if you actually have

17     anything to back that up, and it sounds to me like the answer

18     is you do not.

19                MS. GIBSON:     Well, your Honor, I believe there's an

20     article with the mayor and the governor discussing passing this

21     together, and then another article sharing the governor's very

22     clear stance on this issue.

23                THE COURT:    Well, there's no question that the

24     governor has suggested that she believes that people should get

25     vaccinated.    That's clearly her statement.          But that's not what


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 1     you're challenging.      You're challenging the city's mandate.

 2     The governor didn't have anything to do with the city's

 3     mandate.

 4                MS. GIBSON:     I would counter that, your Honor.           I mean

 5     the governor and the mayor, and there is an article in here, in

 6     No. 17, as well, the governor and the mayor sat down right

 7     before August 24, when this was promulgated, and they announced

 8     that they were together passing initiatives on the state and

 9     city level to ensure that there would be no exemptions for

10     vaccinations.

11                THE COURT:    Whoa, whoa, whoa.      Please tell me where

12     that is in the record, because I don't remember that.

13                MS. GIBSON:     So, exhibit 3 of —

14                THE COURT:     17-3?

15                MS. GIBSON:     17-3 is a Spectrum article, and I'm going

16     to get to the next part.          Exhibit 3 is the Spectrum article

17     from August 24, which is the date this mandate was passed, and

18     in that article the mayor and the governor announced that

19     they'd been meeting regularly and were both going to be working

20     in concert to enact regulations that would protect the public

21     health with vaccination.

22                The second -­

23                THE COURT:    Where?     Where?   Whoa, whoa, whoa.        Can you

24     direct me to a paragraph?

25                This is a kumbaya article.        This is saying that the


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 1     mayor and the new governor have sat down, they've worked

 2     together, they're happy.

 3                 MS. GIBSON:    And it says they're going to work in

 4     coordination to protect the public health.

 5                 THE COURT:    OK, but that —

 6                 MS. GIBSON:    So then -­

 7                 THE COURT:    First off, it says -- what you quoted -­

 8     the mayor says vaccine mandates are on his to-do list.

 9                 MS. GIBSON:    Right.   The timing —

10                 THE COURT:    Nothing in there suggests hostility to

11     religion.

12                 MS. GIBSON:    So, correct, your Honor.

13                 THE COURT:    OK.

14                 MS. GIBSON:    But then the next article, The New York

15     Times article, the NPR article and, I believe, the Post

16     article, discuss -- oh, the Post and the Gotham article then

17     discuss the mayor's open hostility towards people who have

18     religious beliefs that aren't in line with the Pope's.

19                 THE COURT:    The Post article, what's the number on

20     that one?

21                 MS. GIBSON:    No. 7, your Honor.

22                 THE COURT:    All right.      17-7.   Here's the issue with

23     17-7.   One, it's hearsay.       Right?

24                 Two, it doesn't actually quote the mayor.            It says de

25     Blasio has said the religious exemptions would also be limited


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 1     to "two well-established religions: Christian Science and

 2     Jehovah's Witnesses, that have a history on this of religious

 3     opposition."

 4                They're not quoted.      The newspaper article says the

 5     mayor warned those exemptions would be rare.             So I don't know

 6     exactly what the mayor said, but in any event, this was after

 7     the arbitration award.       This was after the arbitrator had

 8     determined that there would be exemptions.

 9                MS. GIBSON:     I believe it shows that the mayor does

10     not believe that they -- he has made other comments as well,

11     and I'm happy to gather them.         But the mayor has gone on

12     record.

13                THE COURT:    Tell me.     This is your opportunity.

14                MS. GIBSON:     The mayor has gone on many times stating

15     that, just as Governor Hochul has, that there aren't valid

16     religious objections to vaccination; that it's illegitimate.

17                THE COURT:    That's an as-applied challenge, right?

18                MS. GIBSON:     I don't know.     I believe that that shows

19     animus and legitimacy.

20                THE COURT:    Why does it show animus?         Why does it show

21     animus that the mayor says, in his view, there are going to be

22     few religious exemptions because major religious leaders, which

23     would deal with a vast majority of people, have all said it's

24     OK?   That's not to say that there's not any religious leader

25     anywhere or any religious person anywhere that believes, as a


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 1     religious matter, they can't take the vaccine.              But saying they

 2     don't think this is going to be common because there is

 3     widespread, from established religions, acceptance and support

 4     of the vaccines does not -- I'm having difficulties getting

 5     from that to hostility to religion.

 6                MS. GIBSON:     Your Honor, I think Masterpiece Cakeshop,

 7     Lukumi and a number of other cases talk about any comments that

 8     would call into question the city's neutrality on the

 9     legitimacy of religious viewpoints.          So it's not just

10     religions.     But the mayor has gone on the record.           The governor

11     who is -- I think the circumstances do lead to indicia of

12     animus and working together because not only did they announce

13     they're working together, two days after this mandate from the

14     New York City Department of Health was issued, a parallel

15     mandate was issued by the governor through the state department

16     of health.

17                THE COURT:    Do you have any evidence that those were

18     coordinated?

19                MS. GIBSON:     I believe that the Spectrum article

20     leads —

21                THE COURT:    No.

22                MS. GIBSON:     —   to the inference that they were.

23                THE COURT:    OK, but remember, you're the plaintiff.

24     You're asking for extraordinary relief, so you've got to show a

25     substantial likelihood that you're going to prevail on this


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 1     argument, and you're relying on a Spectrum —             I'm not quite

 2     sure what Spectrum is, a Spectrum article that's hearsay.

 3                MS. GIBSON:     Your Honor, in terms of animus, I believe

 4     that in a preliminary injunction hearing, hearsay is

 5     appropriate as published by the papers.

 6                THE COURT:     It may be if you can tell what the context

 7     is.   There are certainly times that I would say that's good

 8     enough, but here, they tell nothing about the context in which

 9     the statement was made, and you're relying on statements that

10     are not quotes.      So even assuming that the reporters are

11     reliable and responsible journalists, you don't have a full

12     quote.

13                MS. GIBSON:     We do have a quote, your Honor, from the

14     mayor saying that only Christian Scientists and Jehovah's

15     Witnesses will be considered.

16                THE COURT:    That's not really what he says.           Again, I

17     just read that quote into the record.          You're quoting the Post

18     article, which isn't a quote at all.

19                The other article, which I just quoted, has the piece

20     that says religious exemptions would be limited to Christian

21     Science and Jehovah's Witnesses.         That piece of the sentence is

22     not in quotes.

23                MS. GIBSON:     OK, your Honor.     It was reported on by

24     multiple papers, the Gothamist paper -­

25                THE COURT:     I did not myself go out and hunt for


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 1     statements.      I relied on what the plaintiffs presented me.

 2                 MS. GIBSON:    Understood, your Honor.

 3                 I             would then say that additional indicia of hostility

 4     and animus was those with religious beliefs against

 5     vaccinations can be found in the conduct that the Department of

 6     Education, both within the hearings and also in response -- so

 7     one of the things that happened that the plaintiffs, many of

 8     them, did report on -- and I can bring them up to testify some

 9     more if you'd like -- is that in nearly every appeal, the

10     Department of Education was advocating for them to be denied on

11     the basis that the Pope does not believe in vaccination -- or

12     does -- has been vaccinated, and this was even said to

13     Buddhists.      This was even said to, you know, people who are not

14     Catholic.

15                 THE COURT:    But then what do you make of the DOE's

16     affidavit that says they've granted more than 20 for a wide

17     variety of expressed religious beliefs?

18                 MS. GIBSON:    Well, I'm not sure really on what basis.

19     Facially, the arbitration award itself, which they've adopted

20     as their policy, so they can't say that it's not.

21                 THE COURT:    Well, let me ask you about that.          Did

22     they?   The city's position was no exemptions.            You must be

23     vaccinated, period, end.        The union objected.       They hit an

24     impasse, and per requirements of the collective bargaining

25     agreement, they then ended up in arbitration.             The arbitrator


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 1     said this is how it's going to be implemented.

 2                 So what was the city supposed to do?            Or what was the

 3     union supposed to do?

 4                MS. GIBSON:     The city couldn't even avoid liability

 5     for discrimination when they implemented a state standard,

 6     state-required test on teachers in the famous case of, I

 7     believe —     I'm sorry.     I'll get the citation for your Honor,

 8     but it's just been settled after 20 years, where teachers -­

 9     there was a discriminatory impact from the state-required

10     tests, and the Second Circuit held that it wasn't enough for

11     the city to say, Well, this is required by the state.

12                 I don't see how in this instance, when they have

13     implemented a facially discriminatory policy, which really on

14     its face -­

15                THE COURT:      How is it facially discriminatory?            How is

16     the mandate facially discriminatory?

17                MS. GIBSON:     The UFT award is facially discriminatory.

18                THE COURT:      OK.         On that, why are you the right person

19     to sue?    Why isn't that the obligation of the union, and at

20     best what your claim might be -- and it might be; I haven't

21     really agonized over it -- a claim against the union for not

22     providing appropriate representation of its represented

23     members?

24                MS. GIBSON:      No, your Honor.         The plaintiffs against

25     the DOE, as the employer, who has the responsibility as the


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 1     state, not to enforce discriminatory laws against my clients

 2     who have personally held religious beliefs and are excluded

 3     from the protection of, you know, reasonable religious

 4     accommodations on the basis of the type of religion that they

 5     practice.     So if they're not a Christian Scientist or a

 6     Jehovah's Witness —      and, you know, frankly, the DOE's response

 7     that they've granted these exemptions to 20 people is also

 8     hearsay, and we haven't talked to those people or determined on

 9     what basis they said yes to them versus our clients, who really

10     were told point-blank that they cannot get relief if they have

11     personally held beliefs or if they do not submit a letter from

12     clergy.

13                 That's facially discriminatory, and so the reason that

14     the union is not the appropriate party is that this is the

15     state's responsibility, and they can't sidestep this by

16     saying —     the union didn't agree to this award either.             This

17     was an arbitrator, with whom I would push back on the assertion

18     that it's a neutral arbitrator.         I did include two articles

19     about Arbitrator Scheinman's relationship as a fund-raiser for

20     the mayor.     But in any event, once the state implements a

21     facially discriminatory award, that facially discriminates

22     against my clients, they have a right to sue the state.

23                 THE COURT:   OK.    You don't think they have an

24     obligation to start by filing an Article 75 to challenge the

25     award?


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 1                MS. GIBSON:     No, your Honor.     In fact, I think the

 2     case law is pretty clear on that with the —             they haven't

 3     waived their right to proceed.

 4                THE COURT:    They haven't waived their rights.            There's

 5     no question they have not waived their rights.

 6                MS. GIBSON:    And the appropriate place to challenge

 7     constitutional issues is not within an Article 75 proceeding.

 8     An Article 75 proceeding can't really even deal effectively

 9     with constitutional issues.        It has very narrow grounds for

10     relief.

11                What we're challenging is the constitutionality of the

12     state imposing on these teachers a facially discriminatory

13     requirement that they have to belong to only certain religions,

14     which violates both the establishment clause and the free

15     exercise clause.

16                THE COURT:    That sounds like you are not challenging

17     the mandate, that you've abandoned your challenge to the

18     mandate.

19                MS. GIBSON:    Your Honor, we are challenging the

20     mandate.

21                THE COURT:    The mandate is neutral.         Do you agree that

22     the mandate, as promulgated by Mr. Chokshi, is neutral?                It

23     says you must be vaccinated.

24                MS. GIBSON:     No, your Honor, I wouldn't agree, but I

25     do think that the indicia of animus is there.             I'm happy to


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 1     supplement it and bring another motion with more materials on

 2     that issue, but at the —           I am, we are challenging both.       I

 3     mean it also has a disparate impact on people who have

 4     religious beliefs.       It's burdening their rights in a way that

 5     is not —

 6                 THE COURT:   But again, if you go back to the

 7     jurisprudence of how you evaluate something that has a First

 8     Amendment impact, if you look at Chokshi's mandate, it is

 9     neutral as to religion.           It applies to everybody.     It applies

10     to people regardless of why they're not vaccinated.               You've got

11     to be vaccinated if you're a DOE employee, period, end.                That

12     is a sort of prototypical neutral position, isn't it?

13                MS. GIBSON:     I would say not in light of the comments,

14     but also, I would say not in light of the fact that people who

15     only have one dose of the vaccine are allowed to go in, even

16     though they're not fully vaccinated.

17                 THE COURT:   But what does that have to do with the

18     religion?     How does that make the mandate not neutral from a

19     religious perspective?

20                MS. GIBSON:     For example, in Roman Catholic Diocese,

21     the court held that it wasn't neutral because, v. Cuomo, that

22     they weren't neutral because there were secular activities that

23     were excused.

24                 THE COURT:   But that was on the statute itself or on

25     the executive order itself.           It distinguished between houses of


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 1     worship and secular activities, so on its face it was not

 2     neutral.

 3                 Again, what about Chokshi's mandate, on its face, is

 4     not neutral, other than your claim that there were hostile

 5     statements made, which you have no evidence of in the record?

 6                 MS. GIBSON:    I believe that the neutrality goes to if

 7     you have a religious need to not be vaccinated, it is just

 8     arbitrary to discriminate between -­

 9                 THE COURT:    But that's an incidental effect on the

10     religion.     It's a neutral statute that has an incidental effect

11     on some people.      Right?   That's the definition of it.

12                 Look, there are two different ways of making a First

13     Amendment analysis.       One is is it a neutral statute that has

14     incidental effect on religion?         If so, it has to be rational.

15     It has to pass the rational relationship test.             We'll get to

16     that in a second.

17                 The second is if, on its face, it discriminates or it

18     makes distinctions between religious and nonreligious.                That's

19     subject to strict scrutiny.        Right?

20                 OK.   So we agree on the basic structure of First

21     Amendment law.

22                 MS. GIBSON:    Well, general applicability is the second

23     thing, so this vaccine mandate is not generally applicable to

24     those who are only vaccinated with one dose of a vaccine.

25     They're not fully vaccinated, but they're allowed to be in the


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 1     building.

 2                 THE COURT:    What does that have to do with religion?

 3                 MS. GIBSON:    Well, religious people are not allowed to

 4     be in the building although they also aren't fully vaccinated.

 5                 THE COURT:    Again, saying someone who has a political

 6     objection isn't allowed in the building either if they're not

 7     vaccinated.

 8                 MS. GIBSON:    I don't believe the standard is that

 9     everybody, only religion has to be excluded.             I believe if

10     there's anybody excluded for a secular purpose, that that could

11     go towards general applicability.         But again, going back to the

12     indicia of animus, I think that the fact that unvaccinated

13     people who have only had one dose are allowed in the building

14     but people with religious exemptions are not -­

15                 THE COURT:    On the one dose, aren't they required to

16     get the second dose; there's like a time frame and by X point

17     you have to get the second dose too?

18                 MS. GIBSON:    Yes, your Honor, but October 4 that

19     wasn't in effect.        It doesn't make any sense why starting

20     October 4 they wouldn't be allowed in.

21                 Also, just so I can clarify my argument for the Court

22     and I don't waste your time, is the Court's taking the position

23     that Governor Hochul's quite blatant statements about the

24     illegitimacy of people who hold opinions different from hers

25     about what God wants according to vaccines not relevant here?


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 1                THE COURT:    What she had to say had nothing to do with

 2     Chokshi's mandate.       Chokshi's mandate preceded that by a month

 3     and a half, and it's a city mandate, not a state mandate.

 4                MS. GIBSON:     Well, it was on the eve of —         both

 5     mandates were passed through the DOE after Governor Hochul and

 6     de Blasio announced that they were working in partnership,

 7     within two days of each other.         Both mandates were supposed to

 8     take effect on September 27.          Both mandates were highly

 9     controversial in that they negated any religious exemption, and

10     Governor Hochul actually went forward and said she did that on

11     purpose, which is recorded in the NPR article, Dkt. 17.

12                THE COURT:    That's the healthcare mandate.           You're

13     representing the teachers.

14                MS. GIBSON:    And my position, or plaintiffs' position,

15     is that these were promulgated in concert.

16                THE COURT:    You might be able to prove that at some

17     point, but you certainly haven't proved it for purposes of

18     preliminary relief.

19                MS. GIBSON:     Understood, your Honor.

20                And then we would take the position that later

21     statements and just open hostility towards those who get

22     religious exemptions or who are denied because the Pope, you

23     know, does not agree with them, they do indicate hostility

24     towards those with religious beliefs.          The mayor, whether or

25     not he said it openly on August 24, he certainly said it later,


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 1     that he doesn't believe that there are legitimate reasons for

 2     vaccination.

 3                THE COURT:    He doesn't believe there are legitimate

 4     reasons for vaccination?

 5                MS. GIBSON:     Sorry.   Religious exemptions for

 6     vaccination, religious objections to vaccination.

 7                THE COURT:    Or he says he doesn't believe there are

 8     going to be many.

 9                MS. GIBSON:     I believe the Gothamist and the Post

10     article both also reference the Pope.          Am I mistaken, your

11     Honor?

12                THE COURT:     I don't know whether it does or not, but

13     saying that he doesn't anticipate a lot of objections because

14     there is widespread acceptance within many religious

15     communities is not saying he's hostile to other religions.

16     It's just a statement in the context of what impact is this

17     going to have?       I don't think it's going to have a big impact

18     because most religions say there's nothing wrong with the

19     vaccine.    That doesn't suggest hostility to religion.

20                I'm struggling, again, to get from what you've quoted,

21     the limited quotes that you have, that are quotes to hostility.

22     What I read the Pope —       not the Pope.     What the governor and

23     the mayor, but the governor's statements that are not all that

24     significant.     What the mayor is saying I don't anticipate a lot

25     of it, because there was a lot of discussion at the time about


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 1     what kind of impact is this going to have on DOE.

 2                MS. GIBSON:     Your Honor, I think read in connection

 3     with the UFT award and how it was implemented by the DOE, you

 4     know, reading statements like only Jehovah's Witnesses and

 5     Christian Scientists have a prayer for relief, and sure, it's

 6     not in quotation marks, but it was reported on by both the

 7     Gothamist article and the Post article does clarify that the

 8     intention is to deny -- when you look at the UFT arbitration

 9     award, which also says the same thing, that people will be

10     denied if any religious leader within their proposed religious

11     belief system, as applied by the DOE, if they think any

12     religious leader has ever come out in favor of vaccination,

13     they're going to be denied, if they have personally held

14     beliefs that conflict with the Pope's, they're going to be

15     denied.

16                THE COURT:    You do agree that DOE has a right to

17     separate out people who have genuinely, sincerely held beliefs

18     from people who are just politically objecting?

19                MS. GIBSON:     Yes, your Honor.

20                (Indiscernible overlap)

21                MS. GIBSON:     And I would point to Mr. Kane's

22     declaration in which he describes how when the arbitrator asked

23     whether the DOE objects to his, the sincerity of his beliefs,

24     they didn't even know that that was part of the inquiry.                They

25     said again, No, we just think that -- you know, we would like


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 1     him to be denied because the Pope is in favor of vaccination,

 2     and he doesn't have a clergy letter.            So this isn't about

 3     sincerity.    I'll also point out -­

 4                THE COURT:    Again, that's your as-applied argument.

 5                MS. GIBSON:     Yes.

 6                THE COURT:     It would help the record if you could keep

 7     these two separate, because they are truly separate arguments.

 8                MS. GIBSON:     Sure.       I understand, your Honor.      I'll

 9     try to do that.

10                So, I would, as applied, as a general policy, not even

11     just to these individual plaintiffs, I would say that the

12     department -- it's quite clear that the department adopted a

13     policy of denying, in conjunction with the facially

14     discriminatory UFT award, of attempting to deny anyone

15     protection who has religious beliefs that would be, would meet

16     the dictionary definition of a heretic, or heretical, somebody

17     whose beliefs conflict with established religious dogma, which

18     violates the establishment clause.

19                THE COURT:    OK.

20                MS. GIBSON:     So I do think that that's been

21     established in this motion, but also, they denied everybody at

22     the outset.    That's another part of this motion.

23                The DOE issued blanket denials to every person that

24     applied, stating that it would be an undue burden to accept any

25     religious exemption given that the commissioner's mandate


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 1     doesn't allow them to be in the building.            And so on that

 2     basis, they categorically said religious exemptions shouldn't

 3     be granted to anybody.       Then the appeals process unfolded.

 4                None of my plaintiffs were given the impression that

 5     the process could really challenge the constitutionality of it,

 6     and indeed, it can't, because the arbitrators are bound really

 7     to that agreement.       But the DOE then aggressively advocated to

 8     have them denied based on discriminatory reasons.

 9                Then after that, they implemented a policy where

10     anybody that they had denied as having personally held

11     religious beliefs -- and nobody was told that they were being

12     denied because they were insincere, by the way.              But everybody

13     whose religious beliefs were deemed invalid by the DOE or the

14     arbitrator, for whatever reason, because they weren't actually

15     given a reason, was then subjected to very harsh treatment,

16     some of them —       all of them policies adopted by the DOE.

17     They're not allowed to be paid.         They're not allowed to get

18     unemployment insurance.       They're not allowed to even use their

19     accrued vacation and sick time.         They really —       it's really

20     openly hostile in terms of the effect on these plaintiffs'

21     rights.

22                THE COURT:    Isn't it the same effect that applies to

23     someone who had a political objection and therefore is out of

24     compliance with the policy?        There's not a separate set of

25     penalties for people who assert a religious exemption and are


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 1     denied, is there?

 2                MS. GIBSON:     No, your Honor, there's not.

 3                 THE COURT:   OK.

 4                MS. GIBSON:     So, I would just submit that implementing

 5     the openly discriminatory policy is state action, is openly

 6     discriminatory.      It does violate Sherr v. Northport schools,

 7     which I know isn't binding but is an important case in this

 8     arena.     That's the Eastern District case.         The entire state of

 9     New York changed their religious exemption policy because of

10     that case, and this case is really just the same, the same

11     thing that was challenged there.         Can you say you have to

12     belong to a bona fide religion?         Can you require a

13     certification of a clergy member?         And the court held that you

14     cannot and that that is discrimination against personally held

15     religious beliefs and the state of New York changed their

16     statute as a result.       So they knew or should have known that

17     they couldn't implement this policy in that way and that it is

18     facially unconstitutional, and yet they proceeded to do it.

19     And I would say that the mayor's statements to the media

20     indicated that they intended to do that.

21                 I would ask the Court, if the Court's position is that

22     we have not put in enough information about animus, whether the

23     Court would give us leave for that portion of the motion, to

24     hold that in abeyance and supplement the record with additional

25     indicia of animus and evidence that would meet the Court's


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 1     standard, that has direct quotes and so forth, instead of just

 2     being newspaper articles that report on what was said.

 3                THE COURT:     I'll take that request under advisement.

 4                MS. GIBSON:     Thank you, your Honor.

 5                THE COURT:    Anything further?

 6                MS. GIBSON:     Implementation of the discriminatory

 7     policy is something that we need to -- we feel that, the

 8     plaintiffs feel that needs to be addressed now, because they

 9     haven't raised their right to challenge being subjected to that

10     unlawful discriminatory policy, and they have been impacted

11     quite egregiously by it.

12                And that is all for the motion.          Thank you, your

13     Honor.

14                THE COURT:    So you're abandoning your medical

15     exemption issue.

16                MS. GIBSON:     We're focusing on the religious exemption

17     now.     If anyone is denied their medical exemption, we will

18     bring that as a separate motion.

19                THE COURT:    OK.

20                Ms. Minicucci.

21                MS. MINICUCCI:      Your Honor, do you have any specific

22     questions about our papers?

23                THE COURT:     I have a question about the DOE's

24     blanketly denying requests for religious exemptions.               And

25     what's the current status of the appeal?            If you can also help


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 1     me, walk me through it procedurally.          Anyone who wants a

 2     religious exemption makes the request to the Department of

 3     Education.     If the Department of Education denies it, they get

 4     an appeal pursuant to the collective bargaining agreement to an

 5     arbitrator.    Right?

 6                MS. MINICUCCI:      They get an appeal pursuant to the UFT

 7     award.

 8                THE COURT:    Which is?

 9                MS. MINICUCCI:      Pursuant to the collective bargaining

10     agreement.

11                THE COURT:    Collective bargaining agreement.

12                MS. MINICUCCI:      Correct.

13                So that's essentially the process.

14                THE COURT:    And if they don't like the answer of the

15     arbitrator, then they can file an Article 75.

16                MS. MINICUCCI:      Correct, or bring a plenary challenge,

17     as plaintiffs have in this case.

18                THE COURT:    Right.

19                MS. MINICUCCI:      So that is essentially the whole

20     process.

21                THE COURT:    Have any Article 75s been filed?

22                MS. MINICUCCI:      Not to my knowledge.       Not to my

23     knowledge.

24                THE COURT:    OK.

25                What about the plaintiffs' argument that the UFT award


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 1     facially is drawing distinctions between types of religious

 2     practices that are unconstitutional?

 3                MS. MINICUCCI:     Your Honor, the UFT award obviously

 4     was not, is not a policy of the Department of Education,

 5     although the Department of Education is a party to this

 6     arbitration.

 7                On page 5, it sets forth some requirements, some of

 8     the procedural requirements for the religious exemptions, and

 9     it names as an example Christian Scientists, and I think the -­

10     I mean I can't speak for what the arbitrator was thinking when

11     he put it in the decision, but I think that's just an example

12     of a well-known religion that generally opposes medical

13     treatment.

14                Obviously, as our supplemented declaration shows, that

15     over 20 religions, both established and personal religious

16     beliefs have been granted and this is over -- you know, more

17     than 20 people have had religious exemptions granted.               This is

18     just a listing of the different religions within the DOE

19     (inaudible).     So —   right.    So, the DOE —

20                THE COURT:    So in the first sentence, the

21     documentation in writing, e.g. clergy, it doesn't have to be a

22     clergy member; it could be the person himself or herself.

23                MS. MINICUCCI:     Well, it has to be a religious

24     official, so unless plaintiffs are religious officials

25     themselves, that would not necessarily work.             But I think


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 1     ultimately it's not just one document that's going to make the

 2     difference, and in any event, each of these applications are

 3     individual.    Each of them are evaluated by the arbitrator based

 4     on the individual's belief, which are personal, so it makes it

 5     very difficult to find a blanket challenge to this policy,

 6     because each person's personal religious belief would require

 7     different kinds of evidence and different kinds of statements.

 8     And it's up to the arbitrator, in the first instance, to

 9     determine whether that belief is sincerely held and it relates

10     to the vaccination generally and is not a political -­

11                THE COURT:    And it's religious.

12                MS. MINICUCCI:     Correct.

13                THE COURT:    All right.

14                MS. MINICUCCI:     Any other questions, your Honor?

15                THE COURT:     I've discussed with your adversary the

16     issue of the mayor's statements, but what was the mayor trying

17     to say?

18                MS. MINICUCCI:     I could not speak for what the mayor

19     was trying to say, because I don't know.            I will say that the

20     mayor is not responsible for making these determinations, nor

21     was he a party to the arbitration agreement.             DOE and the

22     arbitrators, who are not DOE employees, not part of the city of

23     New York's employees, came to this determination ultimately for

24     a framework and then make the individual decisions.               So I

25     submit that the mayor's comments are irrelevant to this


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 1     specific process.

 2                THE COURT:    The plaintiffs' argument is that the city

 3     can't escape liability by saying, Hey, we're complying with the

 4     UFT award if the UFT award itself is being applied in a

 5     discriminatory way.      Do you agree with that?

 6                MS. MINICUCCI:      Certainly in -- if we're evaluating

 7     questions of liability, those are questions that are ultimately

 8     questions of fact for a case to be litigated at the end.

 9     Certainly if the DOE is liable, then they're liable.               I don't

10     think that's the position that our papers take, that we would

11     escape all liability because an arbitrator made the decision.

12                THE COURT:    Well, what is your position?

13                MS. MINICUCCI:      About liability?

14                THE COURT:    No.    About whether they've sued the right

15     people.    I understood your argument to be, until you said they

16     can bring a plenary claim, I understood your position to say if

17     they're complaining about what happens in the arbitration, they

18     need to either fight that out by bringing a claim that the

19     union is violating its duty of fair representation to them or

20     they take an Article 75.        But just five minutes ago, you said,

21     Or they can file a plenary lawsuit like this.

22                MS. MINICUCCI:      Correct.    I meant that they can bring

23     a lawsuit as individuals if they believe their individual

24     rights were violated.

25                THE COURT:    So why would you argue in your papers


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 1     about duty of fair representation?

 2                MS. MINICUCCI:     Because in that case, your Honor, they

 3     were talking about the arbitration awards.

 4                THE COURT:    They're still talking about the

 5     arbitration awards.

 6                MS. MINICUCCI:     Correct.     I'm sorry.     I'm getting

 7     mixed up between plaintiffs' claims as applied, and that's what

 8     I mean.    They can bring a plenary challenge to the arbitration

 9     award, or not even the arbitration award, to the way that DOE

10     is applying the challenge to them, the award to them.

11                THE COURT:     Like an as-applied challenge.

12                MS. MINICUCCI:     Correct.

13                THE COURT:     Like what this lawsuit is.

14                MS. MINICUCCI:     Correct.    However, this injunction is

15     saying that this award and the law is facially

16     unconstitutional, which it is not.

17                THE COURT:    Well, they're also saying that as applied

18     it's unconstitutional.

19                MS. MINICUCCI:     It may be ultimately found to be

20     unconstitutional.       At this juncture, there's no evidence to

21     support that.

22                THE COURT:    Why don't you articulate your argument on

23     why there's no evidence, on an as-applied basis, that the

24     mandate, as applied via the UFT decision -- as applied -- is

25     unconstitutional.


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 1                MS. MINICUCCI:         The mandate is not unconstitutional

 2     because it doesn't favor one religion over another.

 3                 THE COURT:   Not the mandate.

 4                MS. MINICUCCI:         I'm sorry.

 5                 THE COURT:   As applied by the UFT decision.

 6                MS. MINICUCCI:         Correct.     The mandate, as applied by

 7     the UFT decision, is not unconstitutional because it doesn't

 8     favor one religion over another and it doesn't give any

 9     religion an advantage.            It just sets forth a framework by which

10     to apply for an exemption.

11                 THE COURT:   So all of the plaintiffs' argument that

12     the DOE lawyers are quoting the Pope and the exemptions are

13     being granted almost not at all and they've been summarily

14     denied their requested exemption even though there's no

15     question that they have -- they didn't question the good faith

16     belief on the plaintiffs' part, according to your affidavits,

17     what do I make of that?

18                MS. MINICUCCI:         Those are individual as-applied

19     challenges.     They're not challenging the law itself or the

20     award.     They're just saying what happened between, you know —

21                 THE COURT:   Are you saying that the Court should grant

22     these ten plaintiffs' as-applied challenges?

23                MS. MINICUCCI:         No, your Honor.     I submit that they

24     haven't met that requirement either.

25                 THE COURT:   So talk about that.


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 1                MS. MINICUCCI:     OK.    So, in order to bring a case for

 2     a violation of constitutional right or to qualify for —                excuse

 3     me.

 4                To qualify for religious exemption, plaintiffs would

 5     have to show that their religious beliefs prevent them from

 6     getting a vaccine, and it's the DOE's position that they have

 7     not shown that.      And that's what the DOE argued in the

 8     arbitration, and that's why they don't qualify for a

 9     constitutional —      for an injunction in this case either.

10                THE COURT:    OK, but the plaintiffs have put in

11     affidavits that say they have an honestly held religious belief

12     and they, at least some of them, were denied the exemption.

13     They appealed it to the arbitrator.          The denial of the

14     exemption was upheld.       What does the city put in to controvert

15     that?

16                MS. MINICUCCI:     It depends on the specific case.            I'm

17     not sure what the DOE put in specifically to controvert -­

18                THE COURT:    What do you put in to me?

19                MS. MINICUCCI:     The updated and supplemented

20     declaration.

21                THE COURT:    Which says that over 20 people have been

22     granted exemptions.

23                MS. MINICUCCI:     It says that people from over 20

24     religions have been granted.

25                THE COURT:    Sorry.     OK.   Because you didn't give me a


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 1     number, I can only assume it's one per religion.

 2                MS. MINICUCCI:      Your Honor, it's more than that.          Last

 3     time I checked, it was over a hundred people.

 4                THE COURT:    OK.    And therefore, the Court should infer

 5     that the problem is not how the rule is being enforced; it is

 6     that there was something about the plaintiff's particular

 7     claims that the arbitrator didn't buy.

 8                MS. MINICUCCI:      That's correct, your Honor.

 9                THE COURT:    OK.

10                MS. MINICUCCI:      Just in conclusion, we submit that the

11     plaintiffs have not met their burden for a preliminary

12     injunction, let alone a mandatory injunction, and that they

13     don't have success of likelihood of the merits and that the

14     balance of equities is really in the favor of upholding the

15     mandate and keeping unvaccinated teachers outside of schools.

16                THE COURT:    What's DOE going to do with people who are

17     granted a religious exemption?         They're not letting them on the

18     school grounds, correct?

19                MS. MINICUCCI:      That's correct.

20                THE COURT:    What are they going to do with them?

21                MS. MINICUCCI:      I believe the arbitration awards set

22     forth that they are to stay on payroll and that to the extent

23     there are -­

24                THE COURT:     If they can find jobs for them that won't

25     require them being on premises, they'll get them, if possible.


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 1     Otherwise, they're out.         Otherwise they're going to be

 2     discharged as well, correct?

 3                MS. MINICUCCI:       I don't believe that that's been set

 4     forth in the awards.

 5                THE COURT:     Oh.

 6                MS. MINICUCCI:       That there would be a termination for

 7     anybody who meets the burden of religious exemption.

 8                THE COURT:     Well, but if you can't accommodate them,

 9     then what?

10                OK.   Never mind.

11                Does any of the rest of you know what the DOE is going

12     to do for people who cannot be accommodated?              Normally, if you

13     can't accommodate a religious exemption, the employee's not

14     kept on.

15                Not you.     You do not represent DOE.

16                MS. GIAMBRONE:       I think that the DOE's attempting to

17     accommodate everybody as best they can, and I don't think that

18     that has presented itself yet.

19                THE COURT:      It's not a live issue.        OK.   Fine.

20                Anything further?

21                MS. MINICUCCI:       No, your Honor.

22                THE COURT:     All right.

23                Ms. Gibson, I'll give you the last word.

24                MS. GIBSON:      Your Honor, just to reiterate, this UFT

25     arbitration award, which has been implemented by the DOE is


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 1     facially discriminatory.        It says right in the award that

 2     people with personally held religious beliefs or who have

 3     religious beliefs that are not the same as the Pope or —

 4                THE COURT:    Where does it say that?         Where does it say

 5     that if you don't agree with the Pope you're out?

 6                MS. GIBSON:     Pardon me.    Let me rephrase.

 7                People who have religious beliefs that have been

 8     contradicted by any religious leader.

 9                THE COURT:    Where does it say that?

10                MS. GIBSON:     It says it in the UFT arbitration award.

11                THE COURT:    What page?

12                MS. GIBSON:     If there's any religious leader of

13     your —

14                THE COURT:    What page?

15                MS. GIBSON:    Your Honor, just give me a moment,

16     please.    Your Honor, I just have to pull the award.             I believe

17     I quoted it in the motion papers, but I —            one moment.

18                I'm happy to supplement that record with a written

19     page citation, but it does say in the UFT award and the CSA

20     award if any religious leader of your religion has come forward

21     and made statements in favor of vaccination, you will not be

22     granted an exemption.

23                THE COURT:    Right, but it's clear that they're

24     granting exemptions notwithstanding that.            So whatever the

25     gloss is on that, which presumably would be some employee who


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 1     is saying, I'm X, therefore I can't be vaccinated, except that

 2     the leader of X says that's not right, that's not what our

 3     religion believes, and the employee doesn't say, Well, OK, so

 4     it's not because of the specific doctrine of my church, but I

 5     have a specific religious belief of something else.               It's clear

 6     that whatever he meant by that, it hasn't precluded DOE of

 7     granting exemptions to people even though the head of their

 8     faith organization has made statements supporting vaccines.

 9                MS. GIBSON:     Well, your Honor, this is news to us,

10     these 20 people who have gotten -­

11                THE COURT:    You got it.

12                MS. GIBSON:     —   exemptions that don't —

13                THE COURT:    You got it last week.

14                MS. GIBSON:     —   comply with the UFT awards.

15                THE COURT:    You got it last week.

16                MS. GIBSON:     Yes, but we don't know the names.           We

17     haven't had --

18                THE COURT:    You didn't ask to adjourn this hearing so

19     that you could take expedited discovery.            You didn't do any of

20     that.   If you had asked for that, to take discovery of DOE on

21     this issue, I may have granted it, but you didn't.

22                MS. GIBSON:     So, your Honor, just to point out that to

23     the extent that they've deviated from the facially

24     discriminatory policy in 20 cases or even a hundred cases out

25     of thousands doesn't mean that these plaintiffs got any such


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 1     deviation.     In fact, these plaintiffs were told very precisely

 2     that they would not get a deviation from the award, that this

 3     award is binding, it's discriminatory and that they just have

 4     to live with that if they don't meet the criteria, which is not

 5     about sincerity but, rather, about whether you belong to one of

 6     these established religions and whether your religious leaders

 7     have ever said anything contrary to what you believe.

 8                So let's take the case of Margaret Chu, for example.

 9     She details in her declaration how she repeatedly told the

10     arbitrator and the DOE attorney that she, as a practicing

11     Catholic, believes that her moral conscience is more important

12     than anything that the Pope has taken a position on and that

13     that is a part of her religion.         She was told that that doesn't

14     matter and that they're going to take the word of the Pope over

15     a layperson like her.

16                THE COURT:    Did you submit an arbitration award where

17     the arbitrator said, We reject your view because the Pope said

18     X?

19                MS. GIBSON:    The arbitrators didn't put any reason for

20     any of the plaintiffs' denials.         They simply wrote, checked the

21     box that said denied.

22                THE COURT:    OK.

23                MS. GIBSON:     (inaudible) arbitration they said that.

24                THE COURT:    But you don't know exactly what, then, was

25     the deciding factor for the arbitrator.


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 1                 MS. GIBSON:    Well, what they told her was that —

 2                 THE COURT:    They who?

 3                 MS. GIBSON:    The arbitrator told Margaret Chu that he

 4     was going to take the word of the Pope over a layperson and he

 5     could not consider her personally held Catholic beliefs over

 6     the word of the Pope.       And that was brought up in multiple

 7     plaintiffs' arbitration hearings not only by the arbitrators

 8     but by the DOE who advocated that the policy on its face

 9     requires discrimination.        To the extent individual

10     arbitrators -- 20, maybe a hundred times, and I don't know if

11     that was after the suit was filed or not.            But to the extent

12     that any of them deviated from the facially discriminatory

13     standard, the standard itself is discriminatory.              And so at

14     that point, strict scrutiny has to apply.

15                 So in this instance, I would submit, and we have

16     submitted, evidence from two very highly regarded public health

17     officials, certainly not antivaccine.          They're Stanford and

18     Johns Hopkins public health authorities who have -­

19                 THE COURT:    The guy from Stanford is a public policy

20     guy, health policy.

21                 MS. GIBSON:    Well, I believe he's published over -­

22     he's been cited in over 11,000 public health scientific

23     articles.     He is an authority on this subject.

24                 THE COURT:    On vaccines in particular?         That's not

25     what his affidavit says, but go ahead.          Make your argument.


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 1                MS. GIBSON:     Dr. Makary, from Johns Hopkins, who has

 2     sat on the World Health Organization advisory committee, who is

 3     also an authority in this subject, they both have extensive

 4     things to say about whether people pose a direct threat based

 5     on their vaccination status in this instance, which it would

 6     then become the obligation of the Department of Education and

 7     the other defendants to prove that they cannot grant sincerely

 8     held religious exemptions because of that.                And in this

 9     instance -- or that these people cannot be in the building at

10     all.   And in this instance, you know, there's really not,

11     there's really not good science on that.

12                The CDC has admitted, and that's in exhibit 5 of my

13     most recent affidavit that went with my supplemental materials,

14     the CDC director went on national TV and stated that the

15     vaccines can't stop transmission.

16                THE COURT:    OK.         Let me stop you.     Do you agree, do

17     the plaintiffs agree, that the vaccines make it less likely

18     that someone who has been vaccinated will contract Covid?

19                MS. GIBSON:    Your Honor, that's why the expert

20     testimony is interesting.             The experts both —

21                THE COURT:    They don't address this.             They do not

22     address the issue of whether the vaccine is effective to reduce

23     the risk of contracting the virus.

24                MS. GIBSON:     They do discuss the waning vaccine

25     immunity, and they discuss the extensive science showing that


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 1     you're just as infectious, if you're infected, and that even if

 2     vaccinated, even if there's some slight protection against

 3     infection --

 4                THE COURT:     Some slight protection?

 5                MS. GIBSON:     —     that it wanes rapidly.

 6                THE COURT:     Slight protection?

 7                MS. GIBSON:     Yes, and there's a number of --

 8                THE COURT:     Slight?

 9                MS. GIBSON:     Yes.     Slight.

10                THE COURT:    Come on.

11                MS. GIBSON:     Your Honor, there's a number of studies

12     that are showing --

13                THE COURT:    Come on.      You're losing credibility.

14                MS. GIBSON:     -- that it goes from pretty fairly good

15     protection for a few weeks to, and then within a couple of

16     months drops down to almost no protection against infection,

17     and we don't have --

18                THE COURT:     It does not.        There are not peer-reviewed

19     studies that show that.

20                MS. GIBSON:     I think —

21                THE COURT:    That they drop to almost no protection,

22     six weeks after vaccination.

23                MS. GIBSON:     No.     Six months, your Honor.       There are.

24     I mean, there's just a study out of Israel that says that.                 But

25     we haven't even been tracking right through --


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 1                THE COURT:    That drop to nothing?        No.

 2                MS. GIBSON:     They said nothing yesterday, but I would

 3     be happy to bring Dr. Bhattacharyta and even Dr. Makary up to

 4     talk about these studies.        But even if there was some

 5     protection against infection, that goes away if you've had

 6     natural immunity, so anyone who was vaccinated -­

 7                THE COURT:    What do you mean it goes away if you've

 8     got natural immunity?

 9                MS. GIBSON:     Well, there's no -- you don't have a

10     greater -- there's no greater -- like, the natural immunity has

11     a greater protective effect against subsequent infection than

12     the vaccine immunity does, and there's a lot of studies that

13     show that, and they both speak about that extensively.

14                Your Honor, you're shaking your head, and I appreciate

15     that.   But that's why it's so important to bring experts on.

16     They can discuss the studies that have been done, which have

17     been extensive and thorough.

18                THE COURT:    Do you know how many studies -­

19                MS. GIBSON:    And there are other mitigating -­

20                THE COURT:    Excuse me.

21                Do you know how many of the studies that your experts

22     cite that are not peer reviewed?

23                MS. GIBSON:     I'm happy to bring them up here.           I don't

24     think there's any -­

25                THE COURT:    Do you know?     You are the attorney arguing


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 1     this.   You are propounding these people as experts.               That's my

 2     question.     Do you have any idea how many of the studies that

 3     they cite are not peer reviewed?

 4                 MS. GIBSON:    No, your Honor, I don't.         But I do know

 5     that there are no peer-reviewed studies -- the only study -­

 6     there are no peer-reviewed studies that say that naive,

 7     unvaccinated versus people with natural immunity have a greater

 8     protection.     The Kentucky study that the defendants cite, I

 9     don't know if it's even peer reviewed.              It's odd.   It's a CDC

10     study that takes Kentucky out of the 50 states that they have

11     data on, so it's not clear why they chose that state.                And it

12     doesn't test unvaccinated -- I mean vaccinated people who have

13     not had infection against people who have had infection.                 It

14     tests vaccinated people who have already been infected against

15     people with infection to see if vaccination can further protect

16     against immunity.        But if you just take all of the studies that

17     have shown vaccinated people who have not had infection against

18     unvaccinated people who have had infection, show that natural

19     immunity is substantially more robust.          And I do believe some

20     of them are peer reviewed.        But I'm happy to bring them up

21     here.

22                 I think the other mitigation strategies, though,

23     suggested are the -- there's no reason why these plaintiffs

24     can't do the weekly testing or the biweekly testing.

25                 THE COURT:    All you're saying is that there are other


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 1     things that might also be a rational response, but that doesn't

 2     mean that the plan that the city came up with is irrational.

 3                MS. GIBSON:     Well, if you have to —        we're looking at

 4     strict scrutiny for the UFT arbitration awards.              So if we're

 5     looking at, you know, whether that's the least restrictive

 6     means, it's certainly not; that there are -- every other

 7     teacher in the state, people two miles away from the schools in

 8     Queens, for example, do not have to get vaccinated.               They're

 9     getting tested, so there's no real reason why these particular

10     teachers have to be subjected to violating their religious

11     beliefs or getting fired when they have that other testing

12     option.

13                In terms of whether it's a rational reason, if we were

14     in that realm, I'm not sure that it is completely rational.

15     The unrefuted record right now -­

16                THE COURT:    Why isn't it rational?

17                MS. GIBSON:     We don't really have facts in the record

18     to establish what you're saying about infection, your Honor,

19     and so if we want to have a hearing -­

20                THE COURT:    Just to be clear, you brought this on by

21     order to show cause.       You sought a preliminary injunction.

22     Your obligation is to show that there's a probability of

23     success for you; that is, that you're going to win the lawsuit.

24     So that's your burden.       And I asked you at the very beginning

25     what you proposed to put on in terms of testimony, and you said


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 1     they would repeat what's in their affidavits.             I've read their

 2     affidavits.

 3                MS. GIBSON:     If you'd like to cross-examine them on

 4     infection -­

 5                THE COURT:     I don't want to cross-examine them.              I

 6     want to decide based on the evidence you've presented me.

 7                MS. GIBSON:     OK, your Honor.     Well, I believe that our

 8     burden is to show likelihood of success on the merits.                In

 9     terms of whether the people are a direct threat, then the

10     burden shifts.       Once we've shown likelihood of success on the

11     merits because there's a facially discriminatory policy adopted

12     by the New York City Department of Education, the burden then

13     does shift to defendants to prove that they've used the least

14     likely, least burdensome -- I mean, sorry, least intrusive and

15     least burdensome methods to meet their compelling interests.

16     That is Roman Catholic Diocese, for example, and a number of

17     other cases.

18                THE COURT:    Again, those were very different.            Those

19     were facial claims where you had overtly discriminatory

20     provisions.    That's not this.

21                MS. GIBSON:     And I would submit that the UFT

22     arbitration award, as implemented by the DOE, is overtly

23     discriminatory -­

24                THE COURT:     That's an as-applied challenge.

25                MS. GIBSON:     —   people.   It's overtly discriminatory


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 1     to all people who don't belong to certain religions or have

 2     religious beliefs that are echoed by their religious leaders,

 3     so anyone with personally held religious beliefs is overtly

 4     discriminated against by this policy.

 5                THE COURT:    OK.

 6                MS. GIBSON:     Your Honor, the last thing I'd like to

 7     say is the mandatory versus prohibitory injunction standard,

 8     there's a lot of different -- discussion about different dates

 9     of things being announced, but I don't believe there's any real

10     debate about when it was to go into effect, and that was

11     October 4.     I'll direct the Court to exhibit 45-2.

12                THE COURT:    You mean October 1.

13                MS. GIBSON:     October 4 is when they were excluded from

14     school.

15                THE COURT:    OK.

16                MS. GIBSON:     October 1 is when they had to get

17     vaccinated, but they could still go to school and were still

18     being paid.     October 4 is when they could no longer come into

19     the building.

20                THE COURT:    But October 1 was the deadline.

21                MS. GIBSON:     No -- but October 4 is when they stopped

22     getting paid, and the mayor said that anyone who wants to get

23     vaccinated over the weekend -- a lot of people did get

24     vaccinated after October 1 and were allowed in October 4.

25                THE COURT:    OK.


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 1                 MS. GIBSON:    So the only meaningful —        the meaningful

 2     deadline, in any event, is October 4.          And the case law, as

 3     defendants acknowledge, discuss that the status quo is the last

 4     applicable time line before the controversy arose.               So we're

 5     talking about a couple of days here, but not even, because as

 6     exhibit 45-2 shows, the school -- the DOE clearly told people

 7     that they had to be vaccinated before October 4 or they'd be

 8     excluded.     And we filed the morning of the 4th, so at the time

 9     of filing, all of these plaintiffs, the status quo was that

10     they could teach.      In fact, most of them have been teaching in

11     the schools for the last year and a half unvaccinated.                There's

12     really no difference between then and allowing them to keep

13     doing so while we determine the merits of this case.

14                 And then on top of that, if the Court was to

15     ultimately find that they did not deserve relief, either as

16     applied or facially, they could always then be told to leave at

17     that point.

18                 In closing, I would like to state that we are looking

19     for a stay of this entire policy because it is facially

20     discriminatory.      But if the Court doesn't grant that, in the

21     alternative, we would like at least the as-applied relief for

22     these plaintiffs who have not been -- who have put declarations

23     in stating that they have sincerely held religious beliefs and

24     were denied protection on the basis of a discriminatory policy

25     adopted by the DOE.


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 1                 THE COURT:   Thanks.

 2                 Why shouldn't I view the UFT decision as facially

 3     discriminatory?

 4                 MS. MINICUCCI:    Your Honor, because it's not.           Like I

 5     said before, it simply provides a framework.

 6                 THE COURT:    It does say that if the leader of the

 7     faith organization has said something to the contrary, then the

 8     exemption will not be granted.         Right?

 9                 MS. MINICUCCI:    Correct.     I mean it does say that on

10     page 5, but obviously, there have been Roman Catholic people

11     who have had exemptions granted, and the Pope has come out for

12     vaccines.

13                 THE COURT:   So you're saying that because there was an

14     exception, the language of this doesn't mean what it says it

15     says?

16                 MS. MINICUCCI:    I think that the way that the UFT

17     award is written, it's setting forth examples of reasons that

18     would lead to a denial, because the next sentence after that

19     says where the documentation is readily available, so that goes

20     to, Well, if you can just find this letter online, it's going

21     to be denied.

22                 THE COURT:    I understood that point.        The notion that

23     because you've read about it in the papers, that there are all

24     kinds of charlatans who are just posting Religions R Us letters

25     that say we're opposed, but that was what that was addressed


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 1     to.   I understood that.

 2                I was more focusing on the first sentence, which is —

 3     the second sentence, "requests shall be denied where the leader

 4     of the religious organization has spoken publicly in favor of

 5     the vaccine," that clause.

 6                MS. MINICUCCI:     Yes, your Honor.       And I guess I'm

 7     using the second clause to provide context.             I think it's

 8     creating a shorthand, but in any event, this is sort of the

 9     last step of the award.       The award itself is one that's

10     facially discriminatory against any religion, even privately

11     held religious beliefs, and the mandate is the DOE's mandate.

12     The award is going beyond what plaintiffs are challenging.                  The

13     mandate from the department of —

14                THE COURT:    No, that's not true.        They are quite

15     clearly challenging the UFT awards, the UFT structure, whatever

16     you want to call this.       They're saying that, as the arbitrator

17     came down with this decision, this decision discriminates on a

18     religious basis.

19                That's your claim, right, Ms. Gibson?

20                MS. GIBSON:     Yes, your Honor.

21                MS. MINICUCCI:     So, to sort of —       I don't know.      I

22     can't speak to what the arbitrator was thinking when he wrote

23     this, but I think that it was created as a sort of shorthand.

24     And again, it's obviously not proof that people who had

25     requests for religious exemption that fall under these


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 1     categories where the religious leader did speak out for

 2     vaccines but they weren't granted.            Obviously there's a lot of

 3     personal decisions and personal documentation and personal

 4     testimony with each application, and that's where the

 5     arbitrator specifically needs to consider.

 6                 THE COURT:     OK.

 7                MS. MINICUCCI:        Thank you.

 8                 THE COURT:     All right.     I'm going to take about a

 9     ten-minute break.        It's 12:15 now.      I'll be back at 12:30 on

10     the dot.

11                 (Recess)

12                 THE COURT:     Please be seated.

13                 Thank you, all.       I'm now ready to rule.

14                 I want to start by thanking the ten plaintiffs and the

15     many other DOE employees in my courtroom, in the overflow

16     courtrooms and listening on the phone for their tireless work

17     on behalf of the students of this city in what can only be

18     described as next-to-impossible conditions this past year and a

19     half.     You've all worked hard to do the best you can under very

20     difficult circumstances.

21                 I also want to thank the city defendants, who have

22     been tireless in pursuing a strategy for the city to get back

23     to normal while minimizing the risk to public health and

24     safety.     The city officials have plotted a course between

25     Scylla and Charybdis and have done so in the face of rapidly


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 1     evolving scientific and medical knowledge.            They have done so

 2     in the face of massive disinformation about Covid and vaccines

 3     that has been relentlessly pushed out through social media and

 4     has been swallowed by some people hook, line, and sinker.                 It

 5     is clear to me that if social media had been around at the

 6     beginning of the last century, we would not have eliminated

 7     smallpox, and polio would still be endemic in this country.

 8                Plaintiffs have applied for a preliminary injunction

 9     to enjoin the implementation of the city's Covid vaccine

10     mandate for DOE employees.        For the reasons I will lay out in

11     detail, plaintiffs have not shown that they are entitled to

12     this extraordinary remedy, and their application for

13     preliminary injunction is denied.

14                Ten Department of Education employees have sued the

15     mayor, the city health commissioner, and the DOE, claiming that

16     a city order requiring DOE employees to be vaccinated against

17     COVID-19 violates their constitutional rights.              The challenged

18     order, which was initially published on August 24, required all

19     DOE employees to provide proof of vaccination by September 27.

20     See Aug. 24 order, which is at Dkt. 1-1.            After discussions

21     with DOE regarding the impact of the order on the employees it

22     represents were unsuccessful, on September 1, the United

23     Federation of Teachers, or UFT, filed a declaration of impasse

24     and the parties proceeded to arbitration.            Compl., Dkt. 1 at I

25     29.


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 1                On September 10, the arbitrator published an award

 2     which required that DOE provide eligible UFT employees with

 3     medical and religious exemptions according to criteria laid out

 4     in the award.    Id. I 30; Arb. Award, Dkt. 1-2.             The award also

 5     established that employees who do not submit proof of

 6     vaccination and who do not have a pending or granted exemption

 7     would be placed on leave without pay, Resp., Dkt. 31 at 4.                  A

 8     similar award was entered a few days later to cover DOE

 9     employees represented by the Council of School supervisors &

10     Administrators, or CSA, Compl. I 31.           The two awards will be

11     collectively referred to as "arbitration awards."

12                On September 15, Commissioner Chokshi updated the

13     vaccine mandate order, adding a provision that "nothing in this

14     order shall be construed to prohibit any reasonable

15     accommodations otherwise required by law."              Sept. 15 order,

16     Dkt. 31-2 I 6.       And on September 28, 2021, Commissioner Chokshi

17     extended the date by which DOE employees must submit proof of

18     vaccination to October 1.         Sept. 28 order, Dkt. 31-3.

19                I will refer to the various commissioner of health

20     orders I just described as the vaccine mandate.

21                Plaintiffs filed this lawsuit on September 21, after

22     the arbitration awards had been issued and after Commissioner

23     Chokshi added to the mandate the possibility of a reasonable

24     accommodation.       Almost two weeks later, after the extended date

25     for compliance had passed, on October 4, plaintiffs applied for


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 1     an order to show cause why a preliminary restraining order, or

 2     TRO, and a preliminary injunction should not be ordered.                  The

 3     next day, Judge Vyskocil, sitting in part 1, denied the

 4     plaintiffs' request for a TRO and scheduled this hearing on

 5     plaintiffs' application for a preliminary injunction.               See

 6     order, Dkt. 33.

 7                Plaintiffs challenge the vaccine mandate facially and

 8     as applied, Compl. I 2.       An as-applied challenge addresses "the

 9     application of an order to a particular set of plaintiffs,"

10     whereas a facial challenge addresses "the legality of the

11     [order] itself."      Congregation Rabbinical Coll. of Tartikov,

12     Inc. v. Vill. of Pomona, 915 F.Supp.2d 574, 611 (S.D.N.Y. 2011)

13     aff'd sub nom., 945 F.3d 83 (2d Cir. 2019)            (cleaned up).

14                I will begin with the plaintiffs' as-applied

15     challenges.

16                The vaccine mandate is applied to these 10 plaintiffs

17     through the arbitration awards.         Defendants report —        and

18     plaintiffs do not contest -- that all 10 plaintiffs are

19     represented by either the UFT or the CSA and are, therefore,

20     subject to the procedures and consequences outlined in the

21     arbitration awards.       See first Bernstein Decl., Dkt. 31-10, II

22     2, 4.   Instead of arguing that the arbitration awards do not

23     apply to them, plaintiffs argue that the contours of the

24     arbitration awards' religious exemptions are unconstitutional

25     or that, as interpreted by the arbitration panels that are


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 1     handling the exemption process, are being applied

 2     unconstitutionally.       See generally Compl., Dkt. 1; Mem. of Law,

 3     Dkt. 16.

 4                 On the record before me, I cannot conclude that

 5     plaintiffs have standing to challenge the exemption process

 6     established by the arbitration awards as applied to them.                 In

 7     denying the TRO, Judge Vyskocil noted that neither party had

 8     briefed the question of "whether, because there is the

 9     collective bargaining process, the individual teachers as

10     opposed to the union have standing to even assert those

11     violations."     TRO hearing Tr. at 6; see also Id. at 18.

12     Despite having the issue flagged for them and being given the

13     opportunity to submit supplemental briefing, inexplicably,

14     plaintiffs' counsel did not address this crucial threshold

15     issue.

16                 Under New York law, it is well established that "[i]f

17     there is no claim that the union breached its duty of fair

18     representation, an individual employee represented by a union

19     generally does not have standing to challenge an arbitration

20     proceeding to which the union and the employer were the only

21     parties."     Katir v. Columbia Univ., 15 F.3d 23, 24-25 (2d Cir.

22     1994)    (internal citation omitted); see also Chupka v.

23     Lorenz-Schneider Co., 12 N.Y.2d 1, 6 (1962)            ("[E]ach individual

24     employee in becoming a beneficiary to the [collective

25     bargaining agreement] gives up to the union, as his


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 1     representative, his individual right to sue on or litigate as

 2     to the contract."); Bd. of Educ. Commack Union Free Sch. Dist.

 3     v. Ambach, 70 N.Y.2d 501, 508 (1987)         (collecting cases).

 4     Plaintiffs may have a claim of breach of the duty of fair

 5     representation, but the complaint does not articulate it, and I

 6     have no facts before me that even remotely suggest that the

 7     unions' conduct was arbitrary, discriminatory, or in bad faith.

 8     See Hunt v. Klein, 2011 WL 651876, at *3 (S.D.N.Y. Feb. 10,

 9     2011), aff'd, 476 F.App'x 889 (2d Cir. 2012).

10                In this case, due to the lack of briefing, it is not

11     clear that plaintiffs have standing.          Accordingly, I will order

12     supplemental briefing on that issue as well as the issue of

13     whether plaintiffs' remedy is an Article 75 proceeding.

14                Plaintiffs' facial challenges concern the legality of

15     the vaccine mandate itself.          To be entitled to a preliminary

16     injunction enjoining the implementation of the mandate,

17     plaintiffs must show: (1) a likelihood of success on the

18     merits;    (2) that the plaintiff is liked to suffer irreparable

19     injury in the absence of an injunction;             (3) that the balance of

20     hardships tips in the plaintiff's favor; and (4) that the

21     injunction is in the public interest.          Capstone Logistics

22     Holdings, Inc. v. Navarette, 736 F.App'x 25, 26 (2d Cir. 2018).

23     That burden is even higher when a party seeks "a mandatory

24     preliminary injunction that alters the status quo by commanding

25     some positive act, as opposed to a prohibitory injunction


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 1     seeking only to maintain the status quo."            Cachillo v. Insmed,

 2     Inc., 638 F.3d 401, 406 (2d Cir. 2011)          (cleaned up).      To meet

 3     that higher burden, a party seeking a mandatory injunction must

 4     show a "clear or substantial likelihood of success on the

 5     merits."    Donninger v. Neihoff, 527 F.3d 41, 47 (2d Cir. 20008)

 6     (cleaned up).

 7                Plaintiffs are clearly seeking to change the status

 8     quo.   The vaccine mandate went into effect on October 1, and

 9     their challenge was filed on the morning of October 4.                But

10     because I find that plaintiffs have not met the lower standard

11     of a likelihood of success on the merits, I need not grapple

12     with the question of whether plaintiffs are seeking a

13     prohibitive or mandatory injunction.

14                Because plaintiffs assert a violation of their

15     constitutional rights as the irreparable harm, the first two

16     prongs of the preliminary injunction standard merge into one.

17     In order to show irreparable injury, plaintiff must show a

18     likelihood of success on the merits.          Turley v. Giuliani, 86

19     F.Supp.2d 291, 295 (S.D.N.Y. 2000).

20                Before I turn to the likelihood of success on the

21     merits, I note that preliminary injunctions are generally

22     issued when there is an urgent need for speedy action to

23     protect a plaintiff's rights.        As the Second Circuit has noted,

24     "a delay in seeking enforcement of those rights...tends to

25     indicate at least a reduced need for such drastic, speedy


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 1     action."     Citibank, N.A. v. Citytrust, 756 F.2d 273, 276 (2d

 2     Cir. 1985).

 3                I am absolutely baffled by plaintiffs' delay in

 4     seeking a preliminary injunction.         The vaccine mandate was

 5     announced on August 23 and published on August 24.               Plaintiffs

 6     filed this action almost a month later, on September 21.

 7     Although the complaint asserted that plaintiffs were seeking a

 8     preliminary injunction, see Compl. I 6, there is no indication

 9     that they served the complaint promptly and, even if they did,

10     they waited to seek an order to show cause why a TRO and

11     preliminary injunction should not be granted until October 4,

12     three days after the effective date of the order they were

13     challenging.    Although I am not denying the request for

14     emergency relief because of plaintiffs' delay, the apparent

15     gamesmanship by plaintiffs' counsel in waiting to file this

16     case and then in seeking a preliminary injunction does nothing

17     to help her cause.

18                I now turn to the likelihood of success on the merits

19     of plaintiffs' constitutional challenge, starting with the

20     alleged violations of the free exercise clause of the First

21     Amendment.

22                The Court's assessment of the free exercise claims

23     turns on whether the challenged restriction is "neutral" and of

24     "general applicability."        "[W]hen the government seeks to

25     enforce a law that is neutral and generally applicable, it need


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 1     only demonstrate a rational basis for its enforcement, even if

 2     enforcement of the law incidentally burdens religious

 3     practices."    Commack Self-Serv. Kosher Meats, Inc. v. Hooker,

 4     680 F.3d 194, 212 (2d Cir. 2012).          If the restriction is not

 5     neutral and generally applicable, then it is subject to "strict

 6     scrutiny," which means that the restriction must be "narrowly

 7     tailored" to serve a "compelling" state interest.              See Roman

 8     Cath. Diocese of Brooklyn v. Cuomo, 141 S.Ct. 63, 67 (2020).

 9                The first step in determining whether a law is neutral

10     is to look at the text of the law, because "if it refers to a

11     religious practice without a secular meaning discernible from

12     the language or context," it lacks facial neutrality.                Church

13     of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S.

14     520, 533 (1993).      In Roman Cath. Diocese of Brooklyn v. Cuomo,

15     for example, the Supreme Court found that New York State

16     regulations that expressly established more restrictive Covid

17     rules for houses of worship than for similar secular activities

18     could not be viewed as neutral.         141 S.Ct. at 66.       Similarly,

19     in Church of Lukumi, the Supreme Court found that a city

20     ordinance was not facially neutral in part because it expressly

21     recited that the ordinance was passed to address the fact that

22     "certain religions may propose to engage in practices which are

23     inconsistent with public morals, peace or safety."               508 U.S. at

24     535.   There is no analogous language in the vaccine mandate; it

25     does not mention religion or religious practices at all.


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 1                 Although the explicit text of the order begins the

 2     evaluation, it is not the end of the inquiry.              In addition to

 3     overt discrimination against religious practices, the free

 4     exercise clause also "forbids subtle departures from

 5     neutrality," and "covert suppression of particular religious

 6     beliefs."     Church of Lukumi, 508 U.S. 534 (internal citations

 7     omitted).    To ascertain whether such "subtle departures" exist,

 8     courts consider "the historical background of the decision

 9     under challenge, the specific series of events leading to the

10     enactment or official policy in question, and the legislative

11     or administrative history, including contemporaneous statements

12     made by members of the decision-making body."              Id. at 540.

13                 For example, in assessing New York State's Covid

14     restrictions on houses of worship, the Supreme Court and the

15     Second Circuit found it significant that a day before issuing

16     the order, then-Governor Cuomo said that if the "ultra-Orthodox

17     community" would not agree to enforce the rules, "then we'll

18     close the institutions down."         Agudath Israel of Am. v. Cuomo,

19     983 F.3d 620, 627 (2d Cir. 2020); see also Roman Cath. Diocese

20     of Brooklyn, 141 S.Ct. at 66 (citing Agudath Israel of Am. v.

21     Cuomo, 980 F.3d 222, 229 (2d Cir. 2020)             (Park, J., dissenting).

22     And although Masterpiece Cakeshop was an as-applied challenge

23     that is not directly on point, in that case the Supreme Court

24     found significant the "official expressions of hostility to

25     religion," including a comment by a commissioner that freedom


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 1     of religion had been used to justify slavery and the Holocaust.

 2     138 S.Ct. 1719, 1729, 1732 (2018).

 3                 In this case, plaintiffs argue that comments by the

 4     mayor indicate that there is religious animus surrounding the

 5     vaccine mandate.      Their rhetoric notwithstanding, plaintiffs

 6     have not provided a single statement made by the mayor or the

 7     governor or Dr. Chokshi preceding or contemporaneous to the

 8     vaccine mandate that suggests even a whiff of antireligion

 9     animus.     The vaccine mandate was first announced on August 23

10     and it was published the next day.          The only statement cited by

11     the mayor cited by plaintiffs that precedes those dates was

12     made on August 3.      In that statement, the mayor is reported to

13     have said: "if you're unvaccinated, unfortunately, you will not

14     be able to participate in many things.              That's the point we're

15     trying to get across.       It's time for people to see vaccination

16     as literally necessary to living a good and full and healthy

17     life."

18                 But far from targeting religious practices, the

19     mayor's messaging was clearly aimed at 100 percent of the

20     unvaccinated populace, whether their reason for being

21     unvaccinated was inertia, political objection, disinformation,

22     fear of needles, hostility to Big Pharma, or religion.                 In

23     short, his statement did not in any way signal that the goal of

24     the law was to infringe on or to restrict the free exercise of

25     religion.


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 1                The other two statements attributed to the mayor were

 2     allegedly made on September 23 and 24, a month after the

 3     vaccine mandate had been announced.          See Mem. of Law at 16

 4     (citing the two media articles).         Plaintiffs' reliance on those

 5     statements is baseless.       Putting aside the fact that the

 6     articles are hearsay, they neither quote the mayor in full nor

 7     provide the context in which the complained-of statements were

 8     made.   Statements in which the mayor purportedly suggested that

 9     religious exemptions would be available only to Christian

10     Scientists and Jehovah's Witnesses say nothing about the

11     purpose of a vaccine mandate and, if anything, to the

12     plaintiffs' as-applied challenges.          Evidence that the mayor's

13     statements may be being taken out of context can be found in

14     the fact, whomever he thought would be eligible for religious

15     exemption, religious exemptions have in fact been granted to

16     DOE employees who self-identify as adhering to at least 20

17     different religions.       Second Bernstein Decl., Dkt. 52 I 7.            In

18     any event, the mayor's statements are of no moment to the

19     inquiry before me, which is whether the vaccine mandate itself,

20     not the arbitration awards, is neutral and generally applicable

21     to everyone, regardless of why he or she is not vaccinated.

22                Plaintiffs also contend that the vaccine mandate was a

23     "coordinated effort between the state and the city."               Mem. of

24     Law at 18.     Here, too, the only statements preceding or

25     contemporaneous with the vaccine mandate were purportedly made


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 1     on August 24.     Those statements concerned the mayor's attempt

 2     to forge a productive relationship with the new governor, see

 3     Mem. of Law at 2, and have nothing to do with religion or

 4     vaccines.    Moreover, the statements attributed to Governor

 5     Hochul and allegedly made on September 15 and September 26

 6     concern the state vaccine mandate for healthcare workers, see

 7     Mem. of Law at 2-3, which has no bearing on whether the city's

 8     mandate for DOE employees is a covert attempt to interfere with

 9     the free exercise of religion by DOE employees.              In short, none

10     of the statements highlighted by plaintiffs is indicative of

11     subtle or covert departures from neutrality.

12                 Additionally, when determining whether restrictions

13     are neutral and generally applicable, the Supreme Court

14     requires courts to assess whether the text of the restriction

15     was crafted to proscribe religious conduct while permitting

16     similar secular activities.        For example, in Church of Lukumi,

17     the Supreme Court found that the city ordinance at issue was

18     drafted in a way to prohibit the killing of animals as part of

19     a Santeria religious sacrifice but to permit the killing of

20     animals that is no more necessary or humane than a sacrifice

21     would be (like hunting, extermination of mice and rats, and

22     killing stray animals).

23                 Here, the text of the vaccine mandate was not crafted

24     to target religious conduct for less favorable treatment than

25     the secular conduct.       DOE employees with political, moral, or


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 1     philosophical objections to vaccines are all required to be

 2     vaccinated.    In short, plaintiffs are not likely to prevail on

 3     their argument that the vaccine mandate is not neutral and

 4     generally applicable.

 5                Because the city is likely to prevail on its argument

 6     that the vaccine mandate is neutral and generally applicable,

 7     for it to be unconstitutional, it must lack a rational basis.

 8     Plaintiffs argue that the vaccine mandate is, in fact,

 9     irrational.    See, e.g., Compl. I 312.        In support, plaintiffs

10     rely principally on a declaration from Dr. Jayanta

11     Bhattacharya, a medical doctor on the faculty of Stanford

12     Medical School, whose review of medical literature plaintiffs

13     claim supports their conclusion that the COVID-19 vaccines "are

14     for personal protection, and will not meaningfully mitigate the

15     spread of COVID-19 through the population."             Mem. of Law at 10;

16     Bhattacharya Decl., Dkt. 18.

17                Data cited by the CDC, on the other hand, indicate

18     that "fully vaccinated persons are less likely than

19     unvaccinated persons to acquire [COVID-19]" in the first place.

20     See Science Brief: COVID-19 vaccines and vaccination, Centers

21     for Disease Control & Prevention (last updated Sept. 15, 2021)

22     (collecting studies).       I do not need to conclude whose review

23     of the data is more accurate.         Given the data that exists, it

24     was not irrational for the city to conclude that vaccinations

25     reduced the probability of infection.          As Judge Cogan stated in


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 1     a different challenge to the DOE vaccine mandate,             "even if

 2     plaintiffs disagree with it, the order at issue represents a

 3     rational policy decision surrounding how best to protect

 4     children during a global pandemic."          Maniscalco v. New York

 5     City Dep't of Educ., 2021 WL 4344267, at *3 (E.D.N.Y. Sept. 23,

 6     2021).

 7                Although that is enough on its own to find that

 8     plaintiffs are unlikely to prevail on their argument that the

 9     vaccine mandate is irrational, I do want to take the

10     opportunity to highlight some of the indefensible assertions in

11     plaintiffs' discussion of the Covid vaccines.             As an initial

12     matter, it is unclear whether Dr. Bhattacharyta's opinion would

13     survive a Daubert challenge.        Putting aside the fact that his

14     expertise is not epidemiology -- he has a Ph.D. in economics

15     and specializes in health policy -- 15 of the studies he relies

16     on come from MedRxiv or BioRxiv, websites that post preliminary

17     reports of work that have not been peer reviewed.              MedRxiv

18     explicitly cautions readers not to rely on the studies on the

19     site "to guide clinical practice or health-related behavior and

20     should not be reported in news media as established

21     information."    While the websites do not expressly caution

22     against citing studies on its site in court papers,

23     Dr. Bhattacharyta should have known better or at the very

24     minimum should have provided a disclaimer of some kind to

25     designate for the Court which of the studies he was relying on


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 1     are not peer reviewed.       Because a substantial portion of the

 2     authority on which he relies has not been peer reviewed, the

 3     Court is entirely unable to assess what weight, if any, should

 4     be given to his opinion.

 5                Plaintiffs also emphasize that "vaccination cannot

 6     stop transmission" of the virus.         See, e.g., Compl. I 117.          But

 7     you do not have to be an epidemiologist or a statistician to

 8     see that plaintiffs are conflating conclusions about

 9     transmissions by vaccinated persons with rates of infection

10     among vaccinated persons.        There is no dispute that there have

11     been breakthrough infections and that the Covid vaccines do not

12     fully prevent transmission.        But so what?      The fact that a

13     vaccinated person can become infected does not mean that

14     vaccinated persons and unvaccinated persons have the same

15     likelihood of becoming infected.         Put another way, concluding

16     that infected vaccinated persons transmit the virus at similar

17     rates to unvaccinated persons says nothing about how likely it

18     is for someone who is vaccinated to be infected in the first

19     place.     The CDC director brought home that point in the very

20     CNN interview on which plaintiffs rely when she noted that

21     surges of Covid infections were occurring "areas that have

22     pockets of people who are unvaccinated."            If both the

23     susceptiblity to infection and the rate of transmission were

24     the same for vaccinated and unvaccinated persons, we would have

25     expected to see uniform case numbers of COVID-19 across the


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 1     country after the vaccine became available.             But we do not see

 2     that; there is no disputing that places with higher vaccination

 3     rates are seeing lower rates of Covid infections than areas

 4     with lower vaccination rates.

 5                Additionally, plaintiffs argue strenuously that people

 6     who have recovered from COVID-19, even if they are not

 7     vaccinated, have robust natural immunity that prevents

 8     transmission of the disease.        See, e.g., Compl. I 114; Mem. of

 9     Law at 11; Bhattacharya Decl. II 14, 18; Makary Decl., Dkt. 19

10     I 12.   But even assuming that were true —           an assessment the

11     Court cannot make given plaintiffs' expert's heavy reliance on

12     articles that have not been peer reviewed —             it says nothing

13     about whether the city acted rationally in relying on the CDC

14     advice that even people who have had Covid should be

15     vaccinated.    In addition to it being rational to follow the

16     advice of the CDC, the Court can think of other rational

17     reasons not to exclude from operation of the mandate to

18     employees who have had, or believe they have had, COVID-19.

19     Just to name one, the city may wish to avoid a policy that may

20     encourage employees to purposely infect themselves with the

21     virus, especially because —        as plaintiffs recognize —

22     unvaccinated persons are more likely to suffer a severe course

23     of infection, including hospitalization and death, than those

24     who have been vaccinated.

25                In short, I cannot conclude that plaintiffs are likely


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 1     to prevail on their claim that the vaccine mandate is

 2     unconstitutional because it is irrational.

 3                Plaintiffs have not shown that they are likely to

 4     succeed on the merits of any of their other facial challenges

 5     to the mandate.      Plaintiffs contend that the vaccine mandate

 6     violates the establishment clause of the First Amendment, which

 7     prohibits excessive government entanglement with religion.

 8     Mem. of Law at 19-20.       But that argument is unlikely to succeed

 9     on the merits for the same reason as plaintiffs' free exercise

10     claims; most of plaintiffs' challenges regard the application

11     of the vaccine mandate through the arbitration awards, an issue

12     I cannot at this point for the reasons I've already discussed.

13     And facially, the vaccine mandate requires no entanglement with

14     religion whatsoever.       In short, plaintiffs' establishment

15     clause claims are unlikely to succeed on the merits.

16                Plaintiffs also argue that the vaccine mandate

17     violates their substantive due process rights under the

18     Fourteenth Amendment.       See, e.g., Compl. M        318-319; Mem. of

19     Law at 8, 22.     "To allege a violation of substantive due

20     process, plaintiff must claim (1) a valid...fundamental right;

21     and (2) that the defendant infringed on that right by conduct

22     that shocks the conscience or suggests a gross abuse of

23     governmental authority."           Dukes v. New York City Employees’

24     Ret. Sys., 361 F.Supp.3d 358 375,          (S.D.N.Y. 2019).      I do not

25     need to opine on whether the rights identified by plaintiffs,


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 1     including the right to refuse administration of medical

 2     products and the right to bodily integrity, see Compl. M

 3     318-321, constitute fundamental rights under pertinent case

 4     law.   Instead, I find that plaintiffs' substantive due process

 5     arguments are unlikely to succeed on the merits because the

 6     vaccine mandate does not shock the Court's conscience.                Vaccine

 7     mandates are not new, see, e.g., Jacobson v. Commonwealth of

 8     Massachusetts, 197 U.S. 11 (1905), and it is far from shocking

 9     for the city to conclude that requiring vaccination of its DOE

10     employees is a rational way to get and keep the schools open

11     and to protect school children, many of whom are not yet

12     eligible to the vaccinated.

13                Plaintiffs also argue that the vaccine mandate

14     unlawfully discriminates against unvaccinated persons in

15     violation of the Fourteenth Amendment's equal protection

16     clause.    Compl. I 329.     Because the unvaccinated are not a

17     "protected class," to prevail on their equal protection claim,

18     plaintiffs must demonstrate that there is no rational basis for

19     the difference in treatment between the vaccinated and the

20     unvaccinated.    See Kadrmas v. Dickinson Pub. Sch., 487 U.S.

21     450, 457-58 (1988).      Plaintiffs have not demonstrated that they

22     are likely to prevail on their argument that there is no

23     rational basis for the vaccine mandate.             It follows that they

24     are also not likely to prevail on their argument that there is

25     no rational basis to distinguish, for purposes of employment in


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 1     New York City public schools, between those who have been

 2     vaccinated and those who have not.

 3                In short, plaintiffs have not shown that they are

 4     likely to succeed on the merits of any of their facial

 5     constitutional challenges to the vaccine mandate.

 6                Although plaintiffs' failure to show a likelihood of

 7     success on the merits is enough of a reason for me to deny

 8     their application for a preliminary injunction, I will also

 9     consider the last two elements of the preliminary injunction

10     standard: the balance of the equities and the public interest.

11     Because the government is the opposing party, those two factors

12     merge and are considered together.          Coronel v. Decker, 449

13     F.Supp.3d 274, 287 (S.D.N.Y. 2020).          In assessing the two

14     factors, a court must "balance the competing claims of injury

15     and must consider the effect on each party of the granting or

16     withholding of the requested relief, as well as the public

17     consequences in employing the extraordinary remedy of

18     injunction."     Yang v. Kosinski, 960 F.3d 119, 135-36 (2d Cir.

19     2020)   (cleaned up).

20                Defendants contend that the vaccine mandate furthers

21     the "public interest in limiting the spread of COVID-19 in

22     schools for the safety of children, other school employees, and

23     the community at large"       And that it ensures "that in-person

24     schooling may continue, uninterrupted, for as many children as

25     possible."     Resp. at 18.    Plaintiffs, on the other hand,


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 1     emphasize that losing 15,000 teachers and staff will "endanger

 2     and harm the one million children who attend public schools in

 3     New York City."      Mem. of Law at 25.      Although defendants report

 4     that the 15,000 number is likely closer to 7,000, see second

 5     Bernstein Decl. I 5, I have no doubt that students will suffer

 6     from losing their regular teachers and support staff.

 7                Reasonable minds can disagree on the right way to

 8     achieve public goals.       In this case, plaintiffs argue that the

 9     city's way is draconian and unfair; the city's response is that

10     it is neither and that it strikes an appropriate balance

11     between the needs of its schools and their employees and public

12     health risks.     Different public officials may weigh all of

13     those interests differently, but given the complex and

14     life-threatening challenges associated with the COVID-19

15     pandemic, striking that balance is left to our elected

16     officials —     not the courts.      In short, the balance of the

17     equities and the public interest tip decidedly in defendants'

18     favor.

19                In sum, based on the record before me, because there

20     is a question whether plaintiffs have standing to challenge the

21     UFT awards and because plaintiffs have not shown that they are

22     likely to succeed on the merits of their facial challenges,

23     plaintiffs' application for a preliminary injunction is denied.

24     Plaintiffs' request to hold the record open for additional

25     evidence of animus is denied, because plaintiff had more than


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 1     enough time to pull the evidence together before this hearing.

 2     I will consider any such evidence on the merits outside of the

 3     preliminary injunction context.

 4                The Court had previously set a conference in this case

 5     for November 12.      Before I get to the briefing schedule on the

 6     standing issue, is the city's plan to answer the complaint or

 7     move to dismiss it?

 8                MS. MINICUCCI:        Move to dismiss, your Honor.

 9                THE COURT:    OK.

10                To the plaintiffs, if the city moves to dismiss your

11     complaint, as of right, you can amend your complaint.                If you

12     think you can solve the problems that they identify in your

13     complaint, I encourage you to amend the complaint.               I'll then

14     dismiss their motion at moot, and we'll start all over again.

15     If you can't fix the complaint to deal with the problems they

16     raise, then respond to it.          But please do not do both.        OK?

17                MS. GIBSON:     Yes, your Honor.

18                THE COURT:    Now, the issue of standing, I'm going to

19     give the plaintiffs the opportunity to go first.

20                How long would you like?

21                MS. GIBSON:     Five minutes, your Honor.

22                THE COURT:    You're going to brief it in five minutes?

23                MS. GIBSON:     Oh.     Oh, OK.   Yes, I thought you wanted

24     me to argue.

25                THE COURT:    Holy cow.


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 1                MS. GIBSON:     A week.

 2                THE COURT:     I'm going to give you two.         I want you to

 3     do a good job on this.       This is a significant issue to your

 4     clients.    If they have standing to challenge the arbitration

 5     awards, then I'm going to be asking you to brief, in a rational

 6     way, whether they have, in fact, been discriminated against;

 7     that is, as they actually were injured on an as-applied basis,

 8     but the critical first point is whether they can challenge the

 9     awards.

10                I'm going to give you two weeks, and I urge you to do

11     a good job, a much better job than you've done on your papers

12     that were before me.       This is a critical issue.

13                How long does the city want in response?

14                MS. MINICUCCI:        Two weeks, please, your Honor.

15                THE COURT:    All right.      Two weeks.     According to my

16     little calendar, today's the 12th, so the plaintiffs' brief

17     will be due the 26th.       The city's response is due the 9th, and

18     I'll give you a reply, which will be due November 16.

19                After reviewing those papers, we'll determine what the

20     next steps are.

21                Anything further from the plaintiffs?

22                MS. GIBSON:     No.     Thank you, your Honor.

23                THE COURT:    Anything further from the defendants?

24                MS. MINICUCCI:        Your Honor, defendants would just ask

25     to have more time to respond to the complaint since we've been


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 1     served.

 2                THE COURT:    When did you all get served?

 3                MS. MINICUCCI:      Last week.    I believe it was towards

 4     the end of the week, but not all the defendants, I believe,

 5     have been served.

 6                THE COURT:    OK.    Why don't we do this.        I'm going to

 7     stay your time to respond to the complaint.             Let's figure out

 8     what the plaintiffs exactly have standing to challenge.                Then

 9     I'll set a date for you to answer, and we'll go forward with

10     the briefing at that point.

11                MS. MINICUCCI:      Thank you, your Honor.

12                THE COURT:    You're welcome.

13                Anything else from defendants?

14                MS. MINICUCCI:      No.

15                THE COURT:    All right.

16                MS. MINICUCCI:      Thank you, your Honor.

17                THE COURT:    Thanks, everybody.

18                (Adjourned)

19

20

21

22

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25


                   SOUTHERN DISTRICT REPORTERS, P.C.
                             (212) 805-0300
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 NICOLE BROECKER, et al., on behalf of themselves and
 all other similarly situated employees o f the New
 York City Department o f Education,,
                                                                                       No. 21 Civ 6387 (KAM)(LB)
                                                                   Plaintiffs,
                                  - against -
 NEW YORK CITY DEPARTMENT OF EDUCATION,
 MEISHA PORTER, in her official and individual
 capacities, UNITED FEDERATION OF TEACHERS,
 LOCAL 2, AMERICAN FEDERATION OF TEACHERS,
 AFL-CIO, MICHAEL MULGREW, in his official and
 individual capacities, JOHN DOE #1-10, in their official
 and individual capacities; and JANE DOE #1-10 in their
 official and individual capacities,
                                                                 Defendants.
 ----------------------------------------- ----- ------------------------------ x

 STATE OF NEW YORK  )
                    ) SS.:
 COUNTY OF NEW YORK )


 VICKI BERNSTEIN being duly sworn, deposes and says:

                     1. I am the Chief Human Capital Officer at the New York City Department o f

 Education (DOE). I submit this declaration in opposition to Plaintiffs’ application for a

 preliminary injunction.           I am familiar with the facts set forth herein based on my personal

 knowledge as well as discussions with other DOE employees and the review o f DOE records and

 publicly available information.

                    2. Under Education Law §2573, a teacher must complete four years o f service to

 achieve tenure. According to the New York State Education Department (“SED”) a teacher may

 begin teaching with what is referred to as an “Initial Certificate,” which is valid for five years,
         Case 23-655, Document 73, 06/05/2023, 3525005, Page172 of 286
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 during which time the teacher is expected to obtain a master’s degree and a “Professional

 Certificate” and complete all necessary certification requirements. A teacher may complete a

 probationary period and, based on the collective bargaining agreement between the DOE and

 UFT, be entitled to the protections afforded by Education Law §3020-a, which requires that a

 teacher be brought up on disciplinary charges and a hearing prior to being terminated, among

 other things.

                 3. The Department reviews pedagogical certification status on a regular basis

 and identifies pedagogical employees who are close to the expiration of their Initial Certification,

                 4. Each year, the Department identifies pedagogical employees who have an

 expired Initial Certification (including teachers that have completed the probationary period),

 and who have not completed the necessary certifications, and separates such employees from

 service without a hearing pursuant to Education Law §3020-a. Indeed, the union representing

 New York City teachers, the United Federation of Teachers, in its own website, admonishes

 teachers that: “although you can be tenured while holding an initial certificate, you can be

 terminated without the right to due process for failure to complete the requirements for the

 professional certificate in the same license area” See “How do I achieve Tenure” available at

 https://www.uft.org/teaching/new-teachers/tenure




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                5. For example, in the 2018-2019 school year, the Department separated 136

 staff (131 teachers, 3 guidance counselors, and 2 social workers); in the 2019-2020 school year,

 the Department separated 30 staff (27 teachers, and 3 social workers); and in the 2020-2021,

 school year, the Department separated 217 staff (198 teachers, 3 guidance counselors, 15 social

 workers, 1 psychologist) from service based on their failure to obtain the required certifications.

 Dated:         New York, New York
                November 19, 2021
                                                       VICKI BERNSTEIN



 Sworn to before me this
 19tl! day of N ovemberK2021




                                                  3
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  SCHEINMAN ARBITRATION AND MEDIATION SERVICES
  ------------------------------------------------------------------------------------------------------- x
  In the Matter o£ the Arbitration
                                                                                                              X
                                    between
                                                                                                              X
  NEW YORK CITY DEPARTMENT OF EDUCATION                                                                             Re: UFT. 962
                                                                                                              X
                                     and
                                                                                                              X
               ANASTASIA CHRISTOPOULOS
                                                                                                              X




  Issue:


  Date of Hearing:

                                                                       Award

  APPLICATION FOR EXEMPTION: GRANTED [ ]                                                         DENIED [X]               OTHER [ ]
        Case 23-655, Document 73, 06/05/2023, 3525005, Page175 of 286
                                                  JA-703

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  SCHEINMAN ARBITRATION AND MEDIATION SERVICES
  --------------------------------------------------------------------------------------------------------x
  In the Matter of the Arbitration
                                                                                                            X
                                     between
                                                                                                            X
  NEW YORK CITY DEPARTMENT OF EDUCATION                                                                       Re: UFT. 1056
                                                                                                            X
                                     and
                                                                                                            X
                            JEANNINE LAM
                                                                                                            X




  Date of Hearing:

                                                         Award

 APPLICATION FOR EXEMPTION: GRANTED [ ]                                      DENIED [X]                 OTHER [ ]
      Case 23-655, Document 73, 06/05/2023, 3525005, Page176 of 286
                                  JA-704
Case 1:21-cv-06387-KAM-LB   Document 19-6   Filed 11/19/21       Page 4 of 8 PagelD #: 1263

  SCHEINMAN ARBITRATION AND MEDIATION SERVICES
  -------------------------------------------- X
  In the Matter of the Arbitration
                                                             X
                   between
                                                             X
 NEW YORK CITY DEPARTMENT OF EDUCATION                               Re:UFT.687
                                                             X
                   and
                                                             X

              Maria Ruscelli                                 X

                                                             X


  Issue:      Religious Exemption


 Date of Hearing: September 24, 2021

                                     Award

 APPLICATION FOR EXEMPTION: GRANTED [ ]              DENIED [ x]            OTHER [ ]


 The requirements necessary to establish a religious exemption
 were not met. Of note, the Pfizer and Moderna vaccines do not
 use fetal cell lines for vaccine production and manufacturing
 and do not contain any animal byproducts or preservatives.




                                                   September 24, 2021

 Arbitrator                                        Date
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                                  JA-705

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  SCHEINMAN ARBITRATION AND MEDIATION SERVICES
                                                         X
  In the Matter of the Arbitration
                                                         X
                    between
                                                         X
  NEW YORK CITY DEPARTMENT OF EDUCATION                        Re: UFT. 1164
                                                         X
                    and
                                                         X
               KELLY DIXON
                                                         X




  Issue:


  Date of Hearing:

                                      Award

  APPLICATION FOR EXEMPTION: GRANTED [ ]           DENIED [X]         OTHER [ ]
         Case 23-655, Document 73, 06/05/2023, 3525005, Page178 of 286
                                    JA-706
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    SCHEINMAN ARBITRATION AND MEDIATION SERVICES

    In the Matter of the Arbitration

                    between

   NEW YORK CITY DEPARTMENT OF EDUCATION                        Re
                                                                     fh<{&                i




   APPLICATION FOR EXEMPTION: GRANTED [ ]           DENIED            OTHER [ ]




    Arbitrator                                     Date
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  SCHEINMAN ARBITRATION AND MEDIATION SERVICES
  --------------------------------------------- X
  In the Matter of the Arbitration
                                                             X
                   between
                                                             X
 NEW YORK CITY DEPARTMENT OF EDUCATION                               Re: UFT.388
                                                             X
                   and
                                                             X
 AMOURA BRYAN
                                                             X

                                                             X


  Issue:     Religious Exemption


 Date of Hearing: September 24, 2021

                                     Award

 APPLICATION FOR EXEMPTION: GRANTED [ ]             DENIED [X]              OTHER [ ]




                                                   September 25, 2021
                                                   Date
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 SCHEINMAN ARBITRATION AND MEDIATION SERVICES
 -------------------------------------------------------------------------------------x
 In the Matter of the Arbitration
                                                                                          X
                             between
                                                                                          X
 NEW YORK CITY DEPARTMENT OF EDUCATION                                                            Re: UFT.515
                                                                                          X
                             and
                                                                                          X
 Gina Porcello




 Issue:             Religious Exemption



 Date of Hearing: September 27, 2021




                                                          AWARD

 APPLICATION FOR EXEMPTION: GRANTED [ ]                                      DENIED [ ]             OTHER       --- -




 Arbitrator
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                               X
 BROECKER et a l.,

                        Plaintiffs,

       -against-
                                                        IndexNo. 21-cv-6387

 NEW YORK CITY DEPARTMENT OF
 EDUCATION, et al.,

                            Defendants.        :
                            .............      X




   DEFENDANT UNITED FEDERATION OF TEACHERS, LOCAL 2, AFL-CIO’S
 MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’ APPLICATION FOR A
    TEMPORARY RESTRAINING ORDER AND PERMANENT INJUNCTION
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                                  PRELIMINARY STATEMENT

        The pervasive impact of the COVID-19 pandemic and its impact on New York City, the

 rest of the country and - indeed - the world, needs little introduction. At the height of the

 pandemic, public schools and educators, in particular, faced nearly overwhelming obstacles in

 balancing the continued provision of quality education with the health and safety of students,

 school staff, and their respective families. Throughout this period, Defendant United Federation

 ofTeachers (the “UFT”) strove to protect the health and safety of its members and the children

 they serve, first in securing the closing of the New York City public schools and then working

 towards accomplishing their safe re-opening. Contributing to this latter success was the

 development and (eventual) widespread distribution of Covid-19 vaccines.

        Yet, although it encourages vaccination for all who are able, the UFT - contrary to the

 impression created by the Complaint - understands that not all of its members are able or willing

 to undergo inoculation. The UFT has made considerable efforts to press the rights of those

 individuals, and - when courts across New York and the country were finding that public

 employers had the right to impose vaccination mandates - the UFT worked to soften the impact

 of those mandates on the relatively few who declined the vaccine. It is this important context

 that is missing from the Complaint, and which is essential to this Court’s consideration of the

 instant application and underlying claims.

        When the New York City Department of Health and Mental Hygiene (“DOHMH”) issued

 the initial version of a vaccination mandate for all workers in City educational facilities (the

 “DOE Vaccination Mandate” or the “Mandate”), it did not even provide for the possibility of

 medical or religious exemptions, let alone offer alternatives for those who declined vaccination




                                                   1
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 and would, therefore, be precluded by the Mandate from working inside school buildings.1 In

 response to the Mandate, the UFT immediately moved on two parallel tracks: first, together with

 other City unions, bringing a challenge to the Mandate itself and the omission of medical and

 religious objections in New York State court on constitutional due process and other grounds;

 and, second, proceeding to expedited negotiations regarding the Mandate’s implementation.

          The New York State Supreme Court granted the Unions’ application for a temporary

 restraining order, and, following the “suggestion” of the Court “that the City allow for the

 possibility of medical and religious exemption requests” the City quickly amended the Mandate

 to allow for reasonable medical and religious accommodation. However, after further briefing,

 the remainder of the Unions’ challenges (premised in part on due process arguments analogous

 to those asserted by Plaintiffs here) were denied, and the Mandate was permitted to continue.2

 As time would tell, this result was consistent with numerous other challenges to COVID-19

 vaccine mandates.3

         While the amendment to the Mandate forced by the Unions’ court challenges aided in

 moving the implementation bargaining process forward, the looming start date for the new

 school year created urgency in negotiation process on both sides. With the parties far from


 1 See OrderoftheCommissionerofHealthandMental Hygiene toRequire COVID-19 VaccinationForDepartment
 ofEducationEmployees. Contractors.Visitors,and Others.N e w Y o r k Cit y D e p a r t m e n t o f H e a l t h a n d
 M e n t a l H y g ie n e (Aug. 24,2021),https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-
 requirement-doe.pdf.ThatOrderwas amendedtwice- oncetoincludereasonablemedicalandreligious
 accommodations, OrderoftheCommissionerofHealth andMentalHygiene toRequireCOVID-19 VaccinationFor
 DepartmentofEducationEmployees, Contractors,Visitors,andOthers,N e w Y o r k Cit y De p a r t m e n t o f H e a l t h
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 vaccination-requirement-doe-2.pdf,andagainfollowingthedissolutionoftheSecond Circuit’stemporary
 restrainingorderinaseparatematterchallengingtheCitywideMandate. OrderoftheCommissionerofHealthand
 MentalHygiene toRequireCOVID-19 VaccinationForDepartmentofEducationEmployees. Contractors.Visitors.
 andOthers,N e w Y o r k C it y D e p a r t m e n t o f H e a l t h a n d M e n t a l H y g ie n e (Sept.28,2021),
 https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-requirement-doe-3.pdf.
 2SeeNew York CityMun. LaborComm, v.City ofNew York, 73 Misc. 3d621 (Sup. Ct.N.Y. Cnty. 2021).
 3See infraat .


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  agreement, the UFT sought a declaration of impasse from the New York Public Employment

  Relations Board (“PERB”) and the appointment of a mediator to assist the negotiations. When

  several sessions of mediation did not produce a final agreement, the parties moved to arbitration,

  which resulted in a binding impasse arbitration award (the “Award”).4 That Award, missing

  from the factual picture presented by the Complaint, places both the facts and Plaintiffs’ claims

  in context.

          Through that arbitration, the UFT was able to secure processes for staff to apply for, and,

  when needed, take appeals from determinations for medical and religious accommodations to an

  independent arbitration panel. The Award also secured options for members either to separate

  from the DOE with a compensation incentive, or to elect for an extended leave without pay

  (“LWOP”), all while maintaining health benefits until September 5, 2022. Furthermore, for

  those who opted for the new LWOP, the Award allowed them to immediately return to their

  positions should they decide to take the vaccine (an opportunity that some have already

  accepted). And, as relevant here, the Award specifically authorized the DOE to place individuals

  who have not complied with the Mandate on LWOP, while restricting the DOE from seeking to

  terminate those who were not in compliance prior to December 1, 2021. However, once the

  December 1, 2021 threshold is crossed, that restriction ends, and the DOE will be able to seek

  the termination of noncompliant employees through existing procedures. However, the ability to

  “seek to unilaterally terminate” is not tantamount to termination itself, and the UFT most

  assuredly did not “bargain away” any employee’s right to due process before termination Should

  the DOE seek to terminate any employee after December 1, the UFT expects the DOE to follow



  4 SeeBoard ofEducationoftheCity SchoolDistrictoftheCityofNew York andUnitedFederationofTeachers,
  Local2,AFT, AFT-CIO (ImpactBargaining),ArbitrationAward(Sept. 10,2021)KlingerDecl. Ex. D.


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  established procedures (including specifically the preference of charges), and anticipates making

  available Union-provided counsel in the normal course.

         Plaintiffs’ claims fail to account for the fact that a binding impasse arbitration award

  becomes part of the collective bargaining agreement. Accordingly, it is not accurate to say that

  employees have been placed on LWOP in contravention of applicable collective bargaining

  agreements. They have been placed on LWOP pursuant to the Award.

         This is also why the UFT - which is not a state actor - has exercised its lawful discretion

  to decline pursuit of contractual grievances that fail to account for the impact of the Award.

  Accordingly, any § 1983 claim against the UFT for failure to stop the Mandate or refusal to bring

  a grievance is deficient. Likewise, claims based on collusion with the DOE or contribution to the

  diminution ofPlaintiffs’ constitutional rights cannot be made out, where the underlying basis for

  such claims are the failure to bring a grievance that is improper pursuant to the Award (which is

  itself incorporated into the UFT’s CBA with the DOE).

         The UFT understands the impact the Mandate has on Plaintiffs; yet - as evidenced by the

  UFT’s own efforts - constitutional due process challenges to the Mandate, and similar orders,

  have failed time and again. To the extent Plaintiffs challenge the implementation of the

  Mandate, the UFT is bound by the terms of the Award.

         Accordingly, Plaintiffs’ application for a temporary restraining order and permanent

  injunction should be denied, and this proceeding dismissed as to the UFT.

                               ADDITIONAL RELEVANT FACTS

  I.     N ew York’s State ofEmergencv. Shutdown, and Reopening

         On March 12, 2020, Mayor Bill de Blasio declared a state of emergency for New York

  City, recognizing that “the risk of community spread throughout New York City impacts the life

  and health of the public and public health is imperiled by the person-to-person spread of

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  COVID-19[.]”5 This announcement echoed then-Govemor Cuomo’s declaration of a disaster

  emergency for all ofNew York State, made days earlier.6

             Thereafter, on March 20, 2020, Governor Cuomo issued Executive Order 202.8 and

  announced the “New York State on PAUSE” plan, which shuttered all non-essential businesses

  statewide, and banned “[n]on-essential gatherings of individuals of any size for any reason (e.g .,

  parties, celebrations or other social events)[.]”7 From that time until roughly May of this year, it

  had been best practice to periodically close spaces (particularly indoors) where individuals

  gather, in order to reduce community spread or flare ups.8

             Since May, activities in the City have moved towards a return to normal. The change

  was due primarily to the widespread availability and utilization of the Pfizer, Modema, and

  Johnson & Johnson vaccines.9 Today, nearly all individuals aged 5 and older are eligible to

  receive the vaccine, with many eligible to receive a booster dose.

             For several months now, a strain of COVID-19 known colloquially as the “Delta variant”

  has become the predominant version of the virus affecting City residents.10 Despite the Delta



  5SeeEmergency ExecutiveOrderNo. 98,City ofNew York OfficeoftheMayor (Mar. 12,2020).
  6GovernorCuomo had previously declaredadisasteremergency fortheStateofNew York. SeeExecutive Order
  No. 202, StateofNew YorkExecutiveChamber (Mar. 7,2020). The Governorhas sinceissueda seriesofrelated
  executiveorderscontinuingand expanding on thedeclarationofdisasteremergency. On March 13,2020, astateof
  nationalemergency was declared.
  7See GovernorCuomo Signsthe ‘New York StateonPAUSE’ExecutiveOrder.New York StateGovernor(Mar.
  20,2020),https://www.govemor.ny.gov/news/govemor-cuomo-signs-new-york-state-pause-executive-order(last
  accessedNov. 19,2021). GovernorCuomo’smandatehas sincebeenrelaxed,butsocialdistancingguidelinesare
  stillineffect,and limitscontinuetoexiston thesizeofsocialgatheringsandhow specificbusinessmay servethe
  public.
  8SharonOtterman,New York IsReopening. Here’sWhat ThatActuallyMeans.N.Y. Times (May 19,2021,
  updatedSept. 17,2021),https://www.nytimes.eom/2021/05/19/nyregion/nyc-reopening-restrictions-masks-
  vaccines.html.
  9See id.
  10See COVID-19: Data,NYC Health,https://wwwl.nyc.gov/site/doh/covid/covid-19-data-variants.page(last
  accessedNov. 19,2021).


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  Variant, rising vaccination rates have resulted in COVID-19 cases and hospital admissions

  significantly below their 2020 peaks.11

          While the extraordinary powers granted to the Governor have been relinquished, and the

  State’s declaration of emergency ended on June 24, 2021, the City has maintained its state of

  emergency.

  II.     The DOE Vaccination Mandate

          In their ongoing efforts to address the pandemic the City and State have issued a series of

  requirements and mandates regarding vaccination and COVID-19 safety protocols.

          The City initially announced a vaccination-or-test mandate for public sector health care

  workers on July 21, 2021.12 That day, the Commissioner of DOHMH ordered vaccination or

  weekly testing for staff in public healthcare settings.13 Less than a week later, the Mayor

  proclaimed that “every single city employee will be expected to be either vaccinated or be tested

  weekly.” 14

          Shortly thereafter, on August 23, 2021, following FDA approval of the Pfizer vaccine,

  Mayor de Blasio and DOHMH Commissioner Chokshi announced the at-issue vaccination

  mandate for all employees in the City school district.15 The following day, DOHMH imposed


  11See Sharon Otterman, Here’sWho IsHospitalizedforCovidinNew York City asCasesRise.N.Y. Times (July
  30,2021),https://www.nytimes.com/2021/07/30/nyregion/nyc-covid-hospitalizations.html.
  12Transcript: Mayor deBlasioAppearsLiveon MSNBC’sMorning Joe.NYC OFFICE OF THE M ayor (July21,
  2021),https://wwwl.nyc.gov/office-of-the-mayor/news/508-21/transcript-mayor-de-blasio-appears-live-msnbc-s-
  moming-joe.
  13See OrderoftheCommissioner ofHealthandMentalHygienetoRequireCOVID-19 VaccinationorTesting for
  StaffinPublichealthSettings(July21,2021), https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-
  vaccination-or-testing-staff-public-settings-072121.pdf
  14See Transcript: Mayor deBlasioHolds MediaAvailabilitv,NYC OFFICE OF THE M ayor (July26,2021),
  https://wwwl.nyc.gov/office-of-the-mayor/news/517-21/transcript-mayor-de-blasio-holds-media-availability.
  15SeeMayor deBlasio,ChancellorPorterand CommissionerChokshiAnnounce DepartmentofEducation
  Employee VaccineMandate,NYC OFFICE OF THE M ayor (Aug. 23,2021),https://wwwl.nyc.gov/office-of-the-
  mayor/news/578-21/mayor-de-blasio-chancellor-porter-commissioner-chokshi-department-education.


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  the first version of the DOE Vaccination Mandate, which requires all DOE staff, City employees,

  and contractors who “work in-person in a DOE school setting or DOE building” and others in

  City schools to - no later than September 27, 2021 - provide proof that they have at least

  received the first dose of a vaccine.16 While the DOE was willing to discuss the impact of the

  Mandate, the original mandate, as indicated above, failed to provide for either medical or

  religious exemptions. The City continued to issue analogous policies, culminating in a citywide

  vaccination mandate issued on October 20, 2021.

           Throughout these changing policies, the UFT and other City unions have sought to

  negotiate aspects of the policies and their implementation in the interest of their members The

  City acknowledged an obligation to bargain over the implementation of the vaccine mandates,

  and engaged in bargaining with the UFT on the impact and implementation of the August 23,

  2021 DOE Vaccination Mandate. Moreover, the City did not challenge the UFT’s declaration of

  impasse, filed with PERB on September 1, 2021,17 leading PERB to appoint Martin F.

  Scheinman to mediate the matter and subsequently arbitrate the dispute.

  III.     The Award

           On September 10, 2021, after expedited mediation and then arbitration between the UFT,

  the City and DOE, Scheinman issued the Award concerning the impact and implementation of

  the August 23, 2021 DOE Vaccination Mandate.18 The Award provides that, although the




  16Order oftheCommissioner ofHealth andMental HygienetoRequire COVID-19 VaccinationForDepartment of
  EducationEmployees. Contractors.Visitors,and Others.N e w Y o r k Cit y D e p a r t m e n t of H e a l t h a n d M e n t a l
  H y g ie n e (Aug. 24,2021), https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-
  requirement-doe.pdf
  17SeeDeclarationoflmpasse,PERB (Sept. 1,2021),attachedtotheKlingerDecl. asEx.A.
  18SeeKlingerDecl. Ex. D.


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  Mandate prevents unvaccinated employees form being in school buildings, no one would be

  summarily dismissed. Rather, the Award provides, in ter alia, forthe following benefits:

         1. A procedure for applying for both medical and religious accommodations (see Award

             at7);

         2. A procedure for appealing the denial of said accommodations to a panel of impartial

             arbitrators (see Award at 10);

         3. The ability to remain on payroll and continue to receive medical coverage while such

             applications and appeals are pending (see Award at 11-12);

         4. For those not awaiting accommodation review, who declined to vaccinate, the ability

             to elect non-disciplinary leave without pay that allows them to continue to receive

             health benefits, and from which they could resume their position upon vaccination

             (see Award atl3-14);

         5. The option to, within a specified window, elect to separate from the DOE, receive an

             incentive payment, and have health benefits continue through September 5, 2022 (see

             Award a tl6 ); and

         6. A prohibition on the DOE seeking to terminate any employee for noncompliance until

             after December 1, 2021 (see Award at 17-18).

         The DOE’s ability to s e e k termination is limited to those employees who, after December

  1, 2021, have chosen to remain unvaccinated, and have not elected one of the options provided

  for in the Award. The Award does not provide the DOE a unilateral right to summarily

  terminate employees. Rather, it recognizes that, after December 1, 2021, the DOE may choose

  to use available procedures to seek termination.




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          Following the Award, subsequent negotiation and arbitration was then had with the

  Council of School Supervisors and Administrators, the City, and DOE, which produced its own

  award from Arbitrator Scheinman on September 15, 2021.19 Teamsters Local 237 and other

  unions pursued their own paths with the City and DOE, also overseen by Arbitrator Scheinman,

  which received their own analogous awards.20 All the awards provided forthe employerto place

  noncompliant employees on leave without pay under applicable circumstances.

  IV.     Court Challenges To Vaccination Mandates

          While pursuing impasse arbitration, on September 9, 2021, the UFT - together with other

  unions - filed an order to show cause and petition for a temporary restraining order and a

  preliminary injunction in New York Supreme Court to vacate the DOE Vaccination Mandate

  pursuant to CPLR Article 78.21 In brief, the Unions argued that the Mandate, (a) violates

  employees’ individual bodily integrity and right to refuse medical treatment by forcing

  employees to undergo unwanted medical procedures or be precluded from engaging in their

  chosen professions; (b) violates employees’ due process rights by involuntarily preventing

  permanently-appointed DOE and City employees declining vaccination from engaging in their

  employment, resulting in a deprivation of their vested property rights in violation of the

  Fourteenth Amendment, Article 1 § 6 ofthe New York Constitution, N.Y. Education Law §§

  3020 and 3020-a, and N.Y. Civil Service Law § 75; and (c) fails to provide required exceptions

  forthose with medical contraindications or sincerely-held religious objections to inoculation.



  19SeeBoard ofEducationoftheCity SchoolDistrictoftheCityofNew York andCouncilofSupervisorsand
  Administrators(ImpactBargaining),ArbitrationAward (Sept. 15,2021),attachedtotheKlingerDecl. asEx. E.
  20SeeBoard ofEducationoftheCity SchoolDistrictoftheCityofNew York andInternationalBrotherhoodof
  Teamsters,Local237 (ImpactBargaining),ArbitrationAward (Sept. 15,2021),attachedtotheKlingerDecl. asEx.
  F.
  21MLC et.Al. v.City ofNew York etal..158368/2021 (Sup. Ct.N.Y. Cnty.).


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           On September 14, 2021, New York Supreme Court Justice Larry Love granted the

  application foratem porary restraining order.22 In a subsequent conference, the Court suggested

  that the City might want to re-examine the absence of medical and religious exemption, which,

  as indicated above, the City did.23

           Following oral argument on the Unions’ remaining claims, Justice Love dismissed the

  petition, reasoning:

                    Having resolved the issue of appropriate medical and religious
                    exemptions with the New Order, Petitioners’ sole argument is that
                    the New Order violates school-based employees substantive due
                    process rights by threatening their personal autonomy, bodily
                    integrity and right to reject medical treatment.

                    [...]

                    Since J a c o b so n , the state and federal courts have consistently held
                    that a mandatory vaccine requirement does not violate substantive
                    due process rights and properly fall within the State’s police
                    power. S e e , P h illip s v. C ity o f N ew Y ork, 775 F.3d 538, 542 (2d
                    Cir. 2015) (holding that New York’s mandatory vaccine
                    requirement did not violate substantive due process rights as the
                    vaccinations were within the State’s police power, and individual
                    liberties did not overcome itsjudgement that such vaccination was
                    in the interest of the population as a whole); C a viezel v. G rea t
                    N e c k P ub. S c h s., 500 F. App’x 16, 19 (2d Cir. 2012); C.F. v. N ew
                    Y o rk C ity D ept. o f H e a lth & M e n ta l H y g ie n e , 191 A.D. 3d 52, 69
                    (2d Dep’t Dec. 23, 2020) (holding that the City ofNew York’s
                    measles vaccine mandate did not violate the due process rights
                    secured by the Fourteenth Amendment). As such, Petitioners will
                    be unable to establish a likelihood of ultimate success on the
                    merits.




  22A trueandcorrectcopy oftheexecutedOrdertoShow Cause foraTemporary RestrainingOrderisattached
  hereto asExhibitG.
  23See OrderoftheCommissioner ofHealthandMentalHygienetoRequireCOVID-19 VaccinationFor
  DepartmentofEducationEmployees. Contractors.Visitors,andOthers.N e w Y o r k Cit y D e p a r t m e n t o f H e a l t h
  a n d M e n t a l H y g ie n e (Sept. 15,2021),https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-
  vaccination-requirement-doe-2.pdf


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  See New York Mun. Labor Comm, v. The Citv ofNew York. 73 Misc. 3d621, 625-27 (Sup. Ct.

  N.Y. Cnty. 2021).

           Nationally, a plethora of due process challenges to employee vaccination mandates have

  met the same fate as the Unions’ Article 78 proceeding. Indeed, before this very Court, Plaintiff

  Rachel Maniscalco was herself a named plaintiff in Maniscalco et al. v. The New York Citv

  Department ofEducation. etal.. wherein she challenged the very same DOE Vaccination

  Mandate at issue here as a violation of substantive due process and equal protection rights under

  the Fourteenth Amendment, as well as an arbitrary and capricious agency determination under

  CPLR Article 78. There, Judge Cogan held that the plaintiffs had “not shown a likelihood of

  success onthe merits.” See Maniscalco. 21-cv-5055 (BMC), at *1, 2, 6 (E.D.N.Y. Sept. 23,

  2021) (citations omitted).

           Moreover, Judge Cogan - like Judge Love - cited Jacobson v, Massachusetts. 197 U.S.

  11 (1905), for the proposition that “the state may curtail constitutional rights in response to a

  society-threatening epidemic so long as the measures have at least some ‘real or substantial

  relation’ to the public health crisis and are not ‘beyond all question, a plain, palpable invasion of

  rights secured by the fundamental law.’” See id. at *6 (citations omitted). Therefore,

  “mandating a vaccine approved by the FDA” did not qualify as a “plain, palpable invasion” of

  fundamentalrights.” See id. at*7.

           The Second Circuit affirmed by summary order “for substantially the reasons stated in

  the district court’s thoughtful memorandum decision[.]” See No. 21-2343 (2d Cir. Oct. 15,

  2021). The Maniscalco plaintiffs then applied for an emergency application for a writ of

  injunction to the Supreme Court of the United States. That application was denied on October 1,

  2021 .



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          Nor is this result singular. The Seventh Circuit Court of Appeals, citing Jacobson, also

  rejected due process challenges to a COVID-19 vaccine mandate for students, faculty, and staff

  at Indiana University. See Klaassen et al. v. Trustees of Indiana University. No. 21-2326 (7th

  Cir. Aug. 2, 2021). Plaintiffs there also applied to the Supreme Court for injunctive relief.

  Justice Barrett denied that application on August 12, 2021.

          Employee vaccine mandates have also been upheld outside of the due process context.

  See, e.g.. Kane, et al. v. de Blasio et al.. No. 21-2678 (2d Cir. Nov. 15, 2021) (rejecting

  challenge to the DOE Vaccination mandate based on the Free Exercise Clause, Establishment

  Clause, and Title VII, following denial of religious exemption requests), en banc hearing pending

  November 22, 2021; We the Patriots USA. Inc, et al. and Dr, A, v, Hochul (No. 21-2179 (2d Cir.

  Nov. 4, 2021) (consolidated) (rejecting challenges to New York State medical health

  professional vaccination mandate based on the Supremacy Clause, Free Exercise Clause,

  Fourteenth Amendment, and Title VII); Doe v. Mills. 16 F.4th 20 (1st Cir. 2021), petition for

  cert, filed (Nov. 15, 2021), (rejecting challenge to health care worker vaccination mandate based

  on the Free Exercise Clause, Supremacy Clause, and Equal Protection Clause), application for

  extraordinary relief denied 595 U .S .__, No. 21A90 (2021).24 Dahl v, Bd ofTrustees ofW . Mich,

  Univ.. No. 21-2945, 2021 WL 4618519 (6th Cir. Oct. 7, 2021) (holding that University’s failure

  to grant religious exemptions burdened student athlete free exercise rights).




  24 Dahl v.Bd. ofTrusteesofW. Mich. Univ..No. 21-2945,2021 WL 4618519 (6thCir.Oct. 7,2021) isa
  distinguishableexception. There,thecourtdeclinedtostayavaccinationmandate thatconsideredstudent-athlete
  religiousexemptions on acase-by-casebasis. The courtreasonedthattheUniversity didnotdisputethatthevaccine
  would violateplaintiffs’sincerelyheldreligiousbeliefs,andthatthetheprivilegeofplaying college sportsshould
  notbebasedontheforcedcompromise ofthosebeliefs.


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  V.      The UFT Openly Communicated With Employees Regarding Grievances

          Following issuance of the Mandate, some UFT members reached out to the UFT to

  request that the union file grievances on their behalf. Initially, the UFT considered the requests;

  however, given the binding protocols and procedures in the Award (the terms of which are

  incorporated into the UFT’s CBA) it was apparent that any grievances would lack merit.

  Accordingly, the UFT advised inquiring members that procedures regarding unvaccinated

  employees were governed by the binding Award, which was circulated to members along with

  plain-language guidance of the Award’s terms.25 Moreover, the UFT informed its members that

  they were still able to file step 1 grievances on their own.

          Indeed, on November 11, 2021, prior to filing this Complaint, Plaintiff Jeannine Uam

  emailed the UFT requesting that it file grievances on her behalf for “stopping my pay without

  any ‘right to due process’ at all”; and for “8 unauthorized absences, so far, which have been put

  into the system under my name[.]”26

          In response, UFT General Counsel Beth Norton stated:

                  the DOE’s procedure for unvaccinated employees is governed by
                  the September 10, 2021 interest arbitration award issued by
                  Arbitrator Martin Scheinman (the “Award”). Under the Award,
                  unvaccinated DOE employees have until November 30, 2021 to
                  elect to either (1) separate from service or (2) remain on an unpaid
                  leave through September 5, 2022. If an unvaccinated DOE
                  employee does not select either of these options by the November
                  30, 2021 deadline, the Award provides that as of December 1,
                  2021, “the DOE shall seek to unilaterally separate employees who
                  have not opted” to either separate from service or remain on an
                  unpaid leave.




  25SeeArbitratorrulesinunion’sfavoronmedicalaccommodations.UFT (Sept. 10,2021),
  https://www.uft.org/news/news-stories/arbitrator-rules-unions-favor-on-medical-accommodations.
  26NortonDecl. Ex.A.


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                 At this time, the DOE has not announced the procedure it will seek
                 to implement to “unilaterally separate” employees that do not elect
                 to separate from service or extend their leave through September 5,
                 2022 by the November 30, 2021 deadline. When the
                 announcement is made, we will send a communication to all
                 affected members explaining the next steps.

  See Ex. A.

                                             ARGUMENT

  I.     PLAINTIFFS’ CANNOT DEMONSTRATE A LIKELIHOOD OF SUCCESS ON
         THE MERITS OF THEIR 42 U.S.C. § 1983 CLAIMS

  A, UFT Is Not a State Actor

         Defendant UFT is a public employee labor organization pursuant to New York Civ. Serv.

  L. § 200 e t seq ., and Michael Mulgrew is a private individual who is its elected president. State

  and federal courts - including this Court - have explicitly recognized that the UFT is not a state

  actor. See Driskell v. New York City. 11 Civ. 4915 (BMC), 2011 WF 6812516, at *3 (E.D.N.Y.

  Dec. 23, 2011) (citing Ciambriello. 292 F.3d 307, 323 (2d Cir. 2003)) (“Plaintiff does not allege

  that the UFT is a state actor, nor could she.”); see also Callaghan v. United Federation of

  Teachers. 133 A.D.3d 412 (1st Dep’t 2015) (holding that the UFT is a private actor, and that

  “courts in this State have consistently held that unions, even those representing public

  employees, such as the UFT, are not state actors”).

         Furthermore, as a general rule, labor unions - even public-sector unions - and their

  agents are not state actors. See Ciambriello v. County ofNassau. 292 F.3d 307, 323 (2d Cir.

  2002) (stating that New York’s Civil Service Employees Association (CSEA) was not a state

  actor for the purposes o f 42 U.S.C. § 1983). Nor does the mere fact that a union represents

  public employees render that union a state actor. See Harmon v, Matarazzo. 162 F.3d 1147 (2d.

  Cir. 1998) (Table) (dismissing plaintiff s § 1983 claim and noting that the Patrolmen’s

  Benevolent Association is an independent private entity that is in no way intertwined with the

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  police department, except to the extent that its members are policemen). Rather, the UFT exists

  to represent the collective interests of employees in positions it represents separate and apart

  from their role as civil servants, and by the design of state law maintains an “inherently

  advers[ar]ial” relationship with the state employers who employ its members and others it

  represents. See Mehrhoff v, William Flovd Union Free School District. No. 04-CV-3850, 2005

  WL 2077292, at * 4 (E.D.N.Y. Aug. 22, 2005) (citing McGovern v. Local 456, Int'l Bhd. Of

  Trustees. 107 F. Supp. 2d 311, 317 (2d Cir. 2000)).

          Therefore, Plaintiffs’ burden is high, and unsatisfied. To survive a motion to dismiss, let

  alone demonstrate a likelihood of success on the merits, Plaintiffs must allege facts showing that

  UFT was acting under the color of state law when engaging in the alleged violation. See Dennis

  v. Sparks. 449 U.S. 24, 27 (1980). In general, there are three main situations where private

  action is treated as state action under § 1983: “(1) when the private actor performs atraditional

  state function; (2) when a symbiotic relationship or close nexus exists between the private actor

  and the state; and (3) when the private actor is a willful participant in joint activity with the State

  orits agents.” Commodari v. Long Island Univ,. 89 F. Supp. 2d 353, 373 (E.D.N.Y. 2000), a ff d.

  62 F. App’x 28 (2d Cir. 2003) (internal citations and quotations omitted). None of these factors

  are satisfied here.

          The UFT is not performing a traditional state function, which is limited to actions which

  are “traditionally the exclusive prerogative of the State.” National Broadcasting Co. v.

  Communications Workers of America. 860 F.2d 1022, 1026 (11th Cir. 1988) (citing Jackson v.

  Metropolitan Edison Co.. 419 U.S. 345, 353 (1988)). Similarly, the UFT has no close nexus

  with the DOE or any other state institution, which exists when a private actor's conduct “has




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  sufficiently received the imprimatur of the State so as to render it an action of the State.” Svkes

  v. Bank of America. 723 F.3d 399, 406 (2d Cir. 2013) (internal citations omitted).

          There is also no symbiotic relationship between the UFT and the DOE, which generally

  exists only when a private actor's conduct “has sufficiently received the imprimatur of the State

  so as to render it an action of the State.” Svkes. 723 F.3d at 406 (internal citations omitted). To

  establish such a relationship, Plaintiffs must show that the UFT “has so far insinuated itself into a

  position of interdependence with [the DOE] that it must be recognized as ajoint participant in

  the challenged activity.” See Burton v, Wilmington Parking Auth,. 365 U.S. 715, 725 (1961).

  Yet, the UFT has acted as a bulwark against the very City mandates Plaintiffs now challenge - a

  far cry from the symbiotic relationship or “willful participation” required under § 1983.

         Nor have Plaintiffs mustered more than “mere[ ] conclusory allegation^] that [UFT,] a

  private entity[,] acted in concert with” the DOE orthe City. See Ciambriello. 292 F.3d at 324

  (holding that CSEA was not acting under color of state law, and dismissing § 1983). Such

  “diffuse and expansive allegations are insufficient, unless amplified by specific instances of

  misconduct[,]” which Plaintiffs have not plead. See Jessamv v, City ofNew Rochelle. New

  York. 292 F. Supp. 2d 498, 513 (S.D.N.Y. 2003) (citing Pangbum v, Culbertson. 200 F.3d 65, 72

  (2d Cir. 1999)).

          To the contrary, as evidenced supra, the UFT has actively sought to protect the interests

  of its members - including those who choose not to become vaccinated - throughout the

  announcement and implementation of the Mandate. These actions constitute significantly more

  adversity to the interests of the City than courts have found necessary to stave off a § 1983 claim

  against a private actor.




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             Leahv v. Board ofTrustees. 912 F.2d 917 (7th Cir. 1990), is instructive. There, a college

  teacher brought suit against his public employee union under 42 U.S.C. § 1983 on grounds that

  the union had refused to take his grievance to arbitration. The court found that he had alleged no

  facts “supporting the conclusion or inference that the Union has either acted as a state

  instrumentality, performed traditionally exclusive sovereign functions, or been compelled or

  even encouraged by the state to make the decisions challenged in his complaint.” See id. at921.

  Rather, the allegations of conspiracy and refusal to arbitrate grievances were held conclusory.

  See id.; see also Ciambriello. 292 F.3d at 324 (“conclusory allegations of conspiracy [rang]

  especially hollow in light of the adversarial relationship between the County and CSEA”).

             In the instant case, Plaintiffs allege no specific facts or instances of misconduct or

  conspiracy by the UFT. Instead, they make a nonspecific claim of “collusion” between the UFT

  and DOE. Complaint | | 135-36. They further allege that the UFT “foster[ed] and encourage[d]

  the NYCDOE to violate the Plaintiffs' constitutional rights.” Complaint at | 156. Yet, as in

  Leahv. the only basis for either of these allegations is that the UFT has declined to pursue

  Plaintiffs’ grievances, Complaint at | | 92-93, which, in light of the binding Award, would not

  prevail.

             Regardless, refusal to pursue a particular grievance is well within the discretion of a labor

  union. See, e.g.. Ahrens v. New York State Pub. Employees Fed’n. AFL-CIO. 203 A.D.2d 796

  (3d Dep’t 1994). Recently, the Southern District ofNew York emphatically rejected the claim

  that refusal to pursue a particular grievance on a party’s behalf constituted a constitutional

  violation or evidence of a conspiracy. Valvov. Den'tofEduc. ofN.Y,, 19-CV-8341 (JPO), 2021

  WL 1063759, at *5 (S.D.N.Y. Mar. 18, 2021) (“From the Complaint, Plaintiff’s primary concern

  about UFT appears to be its refusal to initiate a Step 3 grievance on her behalf. But nothing in the



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  Constitution required UFT, acting pursuant to whatever private agreement it may have had with

  Plaintiff, to initiate a Step 3 grievance .... Furthermore, the Court rejects any insinuation that

  UFT's decision not to pursue a Step 3 grievance indicates a conspiracy between UFT and DOE.”)

  (internal citations omitted).

           Therefore, the UFT’s actions - challenging the DOE Vaccination Mandate and refusing

  to arbitrate grievances foreclosed by the Award - are insufficient to support claims o f a § 1983

  violation.

  B, The UFT Has Not “Aided and Abetted” Violations of § 1983

           As argued supra, the UFT has engaged in no conduct with, or in support of, the City or

  DOE capable of supporting an “aiding and abetting”27 claim under § 1983. Rather, the UFT’s

  litigation against the City, impasse arbitration,28 and precedent point to the simple truth that

  UFT’s actions have been inherently adversarial to the City/DOE, and in Plaintiffs’ best interests.

  See, e.g.. New York City Mun, Labor Comm, v, City ofNew York. 73 Misc. 3d 621 (N.Y. Sup.

  Ct. 2021); Mehrhoff. 2005 WL 2077292, at * 4.

  II.      PLAINTIFFS FAIL TO CONSIDER THE AWARD

           The Complaint does not include any reference to the binding Award issued by PERB-

  appointed arbitrator Scheinman, the terms of which are incorporated into the UFT and DOE’s

  27 W hile 42 U .S.C . § 1983 does not explicitly account for “aiding and abetting” violations o f the statute, several
  courts have recognized such claim s as allegations o f conspiracy. See, Dykes v. Southeastern Pa. Transp. Auth.. 68
  F.3d 1564, 1570 (3d Cir. 1995); Figueroa v. City ofC am den. 580 F. Supp. 2d 3 9 0 ,4 0 1 -0 2 (D.N .J. 2 0 0 8 ) (“W hile it
  is not entirely clear on the face o f their Complaint, Plaintiffs clarify that they intended to allege that the Unions
  conspired with state and local officials in order to deprive Plaintiffs o f their rights.”).

  28 The fact o f the U F T ’ s litigation against the City is public record, and is therefore proper fo rju d icial notice.
  Likewise, this Court may take notice o f the Award in its reasoning, as the Award is incorporated by law into the
  C B A , and is “integral to the complaint” - in that it is cited by, and forms the basis for, Plaintiffs’ claims. See, e.g..
  Goel v. Bunge. Ltd.. 820 F.3d 554, 559 (2d Cir. 20 1 6 ); Chambers v. Tim e Warner. In c.. 282F .3d 147 (2d Cir. 2002);
  Intem ationalA udiotextN etw ork. Inc, v. Am. Tel, and Tel. Co.. 62 F.3d 69, 72 (2d Cir. 1995). Furthermore, a
  “court may consider hearsay evidence such as affidavits when determining whether to grant a preliminary
  injunction,” which Plaintiffs seek here. See W e the People v. H ochul. Nos. 2 1 -2179, 2 1 -2 5 6 6 , at *11 n.3 (2d Cir.
  Nov. 4 ,2 0 2 1 ).




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  CBA by law, and supersedes provisions to the contrary. See Town of Southampton v.N.Y, State

  Pub. Empl, Reis. Bd.. 2 N.Y.3d 513, 523 (2004) (holding that under New York State collective

  bargaining laws, a binding interest arbitration award “effectively redefine[s] the parties'

  agreement on [a] mandatory term and condition of employment”). The Award stipulates the

  entirety of the leave and separation procedures with which Plaintiffs take umbrage, and removes

  the contractual basis upon which Plaintiffs have asked the UFT to pursue grievances - the CBA

  bases for which are rendered inapplicable by the Award. See Award, Klinger Decl. Ex. D. As

  such, the UFT respectfully directs the Court to the Award, which needs to be read in tandem with

  the CBA when assessing Plaintiffs’ claims that they have been placed on LWOP in contravention

  of their contractual or statutory rights. However, as set forth supra, the Award does not obviate

  or otherwise do away with existing procedure that would need to be followed should the DOE

  decide either to seek discipline or termination of a DOE employee. The reality that Plaintiffs

  need to face is that the validity of the Mandate has been upheld, meaning that unvaccinated DOE

  employees may not perform their work in a school building.




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                                          CONCLUSION

         For the reasons set forth herein and in the accompanying submissions, Petitioners

  respectfully request that the Court:

              1. deny Plaintiff s application for a temporary restraining order and preliminary

                 injunction; and

             2. award such other and further relief as the Court deemsjust and proper.

  Dated: November 19, 2021                       Respectfully submitted,


                                                        /s/ ALAN M, KLINGER_________
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                                                 aherskowitz@stroock.com

                                                 - and -

                                                 Beth A. Norton, Esq.
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                                                 LOCAL 2, AFT, AFL-CIO
                                                 52 Broadway
                                                 NewYork, NY 10004
                                                 bnorton@uff.org

                                                 C o -co u n sel f o r D e fe n d a n t U F T




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                  RULE 26.1 CORPORATE DISCLOSURE STATEMENT
           D efendant U nited F ederation o f T eachers, A FT L ocal 2 (“P S C ”) is an

  unincorporated association under N ew Y o rk state law and has no parent

  corporations.




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                           X
  BROECKER e t a l .,

                                   Plaintiffs,

          -against-
                                                                      IndexN o. 21-cv-6387

  NEW YORK CITY DEPARTMENT OF
  EDUCATION, e t a l.,

                                    Defendants.            :
                                    ..............         X


     DECLARATION OF ALAN M. KLINGER IN OPPOSITION TO PLAINTIFFS’
   APPLICATION FOR A TEMPORARY RESTRAINING ORDER AND PERMANENT
                            INJUNCTION


         Alan M. Klinger, pursuant to 28 U.S.C. § 1746, declares the following to be true under

 penalty of perjury:

         1.        I a m a n attorney duly admitted to practice in the State o f New York and not a

 party to the above-captioned action.

         2.        l a m a partner with the law firm o f Stroock & Stroock & Lavan LLP, the

 attorneys o f record for Defendant United Federation ofTeachers, Local 2, AFL-CIO (the “UFT”)

 in this matter.

         3.        I submit this declaration in opposition to Plaintiffs’ application for a temporary

 restraining order and permanent injunction.

         4.        I have personal knowledge o f the matters set forth in this declaration, except for

 such matters as are based on my review o f court files or other relevant documents, and I believe

 such matters to be true. If called as a witness, I would testify competently to the matters set forth
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 in this declaration.

 The City Issues the DOE Vaccination Mandate

         5.       On August 23, 2021, following FDA approval of the Pfizer vaccine, Mayor de

 Blasio and DOHMH Commissioner Chokshi announced a vaccination mandate for all employees

 in the City school district.1

         6.       The following day, DOHMH imposed the first version of the DOE Vaccination

 Mandate, which requires all DOE staff, City employees, and contractors who “work in-person in

 a DOE school setting or DOE building” and others in City schools to - no later than September

 27, 2021 - provide proof that they have at least received the first dose of a vaccine.2

         7.       The UFT immediately moved on two parallel tracks: first, together with other

 City unions, bringing a challenge to the Mandate itself and the omission of medical and religious

 objections in New York State court on constitutional due process and other grounds; and, second,

 proceeding to expedited negotiations regarding the Mandate’s implementation.

 The Arbitration Award

         8.       The City acknowledged an obligation to bargain over the implementation of the

 vaccine mandates, and engaged in bargaining with the UFT on the impact and implementation of

the August 23, 2021 DOE Vaccination Mandate.

         9.       However, given the impending first day of school on September 13, 2021, and the

 DOE Vaccination Mandate’s September 27, 2021 compliance date, it became apparent that the

 UFT and the City/DOE needed to expediate negotiations.



 1 See M ayor de B lasio. Chancellor Porter and Commissioner Chokshi Announce Department ofEducation
 Employee Vaccine Mandate. N Y C O ffice o f the M ayor (Aug. 2 3 ,2 0 2 1 ), https://wwwl .nyc.gov/office-of-the-
 mayor/news/578-21/mayor-de-blasio-chancellor-porter-commissioner-chokshi-department-education.
 2 Order o f the Commissioner o fH ealth and Mental Hygiene to Require C O V ID -19 Vaccination For Department o f
 Education Employees, Contractors, Visitors, and Others, New York City Department ofH ealth and M ental Hygiene
 (Aug. 24, 2021), https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-requirement-doe.pdf

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         10.    Accordingly, on September 1, 2021, the UFT filed a declaration of impasse with

the New York Public Employment Relations Board (“PERB”). A true and correct copy of the

 UFT’s declaration of impasse is attached hereto as Exhibit A.

         11.    The City did not challenge the UFT’s declaration o f impasse, leading PERB to

 appoint Martin F. Scheinman to mediate the matter and subsequently arbitrate the dispute.

         12.    Attached as Exhibit B i s a September 3, 2021, letter from PERB to DOE

 Chancellor Meisha Porter and UFT President Michael Mulgrew alerting the parties that Martin F.

 Scheinman was appointed mediator for their impasse dispute.

         13.    Thereafter, on September 2, 3, 4, and 5, the UFT and the DOE engaged in

 multiple sessions (often more than one per day) to negotiate implementation of the DOE

 Vaccination Mandate.

         14.    However, it became apparent to the parties that the September 13, 2021 first day

 of school, coupled with the DOE Vaccination Mandate’s September 27, 2021 compliance

 deadline, would require a further expedited negotiation timeline.

         15.    As such, the parties opted to move from mediation to an expediated arbitration,

 presided over by Martin F. Scheinman.

         16.    Attached as Exhibit C is my email to PERB, coping Steve Banks, Esq., Deputy

 Commissioner and General Counsel of the New York City Office of Labor Relations and UFT

 General Counsel Beth Norton, Esq., advising PERB that the parties had agreed to move to

 expedited arbitration in lieu of mediation.

         17.    On September 10, 2021, after expedited mediation and then arbitration between

the UFT, the City and DOE, Scheinman issued the decision (the “Award”) concerning the impact

 and implementation of the August 23, 2021 DOE Vaccination Mandate.



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         18.      Attached as Exhibit D is a true and correct copy of the Award.

         19.      The Award provides that, although the Mandate prevents unvaccinated employees

 form being in school buildings, no one would be summarily dismissed. Rather, the Award

 provides, in te r alia, forthe following benefits:

               a. A procedure for applying for both medical and religious accommodations (see

                  Award at 7);

               b. A procedure for appealing the denial of said accommodations to a panel of

                  impartial arbitrators (see Award at 10);

               c. The ability to remain on payroll and continue to receive medical coverage while

                  such applications and appeals are pending (see Award at 11-12);

               d. For those not awaiting accommodation review, who declined to vaccinate, the

                  ability to elect non-disciplinary leave without pay that allows them to continue to

                  receive health benefits, and from which they could resume their position upon

                  vaccination (see Award atl3-14);

               e. The option to, within a specified window, elect to separate from the DOE, receive

                  an incentive payment, and have health benefits continue through September 5,

                  2022 (see Award at 16); and

               f. A prohibition on the DOE seeking to terminate any employee for noncompliance

                  until after December 1, 2021 (see Award at 17-18)

         20.      The DOE’s ability to se e k termination is limited to those employees who, after

 December 1, 2021, have chosen to remain unvaccinated, and have not elected one of the options

 provided for in the Award.




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          21.      The Award does not provide the DOE a unilateral right to summarily terminate

 employees. Rather, it recognizes that, after December 1, 2021, the DOE may choose to use

 available procedures to seek termination.

          22.      Following the Award, subsequent negotiation and arbitration was then had with

the Council of School Supervisors and Administrators, the City, and DOE, which produced its

 own award from Arbitrator Scheinman on September 15, 2021. A true and correct copy of this

 award is attached hereto as Exhibit E.

          23.      Teamsters Local 237 and other unions pursued their own paths with the City and

 DOE, also overseen by Arbitrator Scheinman, which received their own analogous awards. A

true and correct copy of this award is attached hereto as Exhibit F.

          24.      All the awards provided for the employer to place noncompliant employees on

 leave without pay under applicable circumstances

 Court Challenges To Vaccination Mandates

          25.      While pursuing impasse arbitration, on September 9, 2021, the UFT - together

 with other unions - filed an order to show cause and petition for a temporary restraining order

 and a preliminary injunction in New York Supreme Court to vacate the DOE Vaccination

 Mandate pursuantto CPLRArticle 78.3

          26.      In brief, the Unions argued that the Mandate, (a) violates employees’ individual

 bodily integrity and right to refuse medical treatment by forcing employees to undergo unwanted

 medical procedures or be precluded from engaging in their chosen professions; (b) violates

 employees’ due process rights by involuntarily preventing permanently-appointed DOE and City

 employees declining vaccination from engaging in their employment, resulting in a deprivation



 3 M LC et. Al. v. Citv o fN e w Y ork et al.. 158368/2021 (Sup. Ct. N .Y. Cnty.).

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 of their vested property rights in violation of the Fourteenth Amendment, Article 1 § 6 o f t h e

New York Constitution, N.Y. Education Law §§ 3020 and 3020-a, and N.Y. Civil Service Law §

 75; and (c) fails to provide required exceptions for those with medical contraindications or

 sincerely-held religious objections to inoculation.

         27.      On September 14, 2021, New York Supreme Court Justice Larry Love granted the

 application for a temporary restraining order. A true and correct copy of the executed Order to

 Show Cause for a Temporary Restraining Order is attached hereto as Exhibit G.

         28.      In a subsequent conference, the Court suggested that the City might want to re-

 examine the absence of medical and religious exemption, which, as indicated above, the City

 did.4

         29.      Following oral argument on the Unions’ remaining claims, Justice Love

 dismissed the petition, reasoning:

                  Having resolved the issue of appropriate medical and religious
                  exemptions with the New Order, Petitioners’ sole argument is that
                  the New Order violates school-based employees substantive due
                  process rights by threatening their personal autonomy, bodily
                  integrity and right to reject medical treatment.

                  [...]

                  Since Jacobson, the state and federal courts have consistently held
                  that a mandatory vaccine requirement does not violate substantive
                  due process rights and properly fall within the State’s police
                  power. See, Phillips v. City ofNew York, 775 F.3d 538, 542 (2d
                  Cir. 2015) (holding that New York’s mandatory vaccine
                  requirement did not violate substantive due process rights as the
                  vaccinations were within the State’s police power, and individual
                  liberties did not overcome itsjudgement that such vaccination was
                  in the interest of the population as a whole); Caviezel v. Great
                  Neck Pub. Schs., 500 F. App’x 16, 19 (2d Cir. 2012); C.F. v. New


 4 See Order o f the Commissioner ofH ealth and M ental Hygiene to Require C O V ID -19 Vaccination For Department
 ofEducation Employees. Contractors. Visitors, and Others. New Y ork City Department o fH ealth and Mental
 Hygiene (Sept. 15, 2 0 2 1 ), https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-
 requirement-doe-2.pdf

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                 York City Dept. ofHealth & Mental Hygiene, 191 A.D. 3d 52, 69
                 (2d Dep’t Dec. 23, 2020) (holding that the City ofNew York’s
                 measles vaccine mandate did not violate the due process rights
                 secured by the Fourteenth Amendment). As such, Petitioners will
                 be unable to establish a likelihood of ultimate success on the
                 merits.

 See New York Municipal Labor Committee, et al. v. The City ofNew York, et al.. 73 Misc. 3d

 621, 625-27 (Sup. Ct. N.Y. Cnty. 2021).

           30.   The UFT is aware of multiple other failed challenges to employee vaccination

 mandates across the country.

           31.   At least two of these suits have alleged violations of employees’ due process

 rights.

 Conclusion

           32.          The UFT has never colluded or conspired with the City or DOE to enact the DOE

 Vaccination Mandate or violate Plaintiffs’ rights. Rather, the UFT has been engaged in active

 litigation and impasse arbitration, seeking to stay or alter the implementation of the DOE

 Vaccination Mandate. Like Plaintiffs, the UFT’s arguments have included allegations that the

 Mandate violates employees’ due process rights, but those have not been sustained by the courts.

 Accordingly, the UFT and Plaintiffs must adjust to the existence of the Mandate and look to the

 ways in which the UFT has sought to soften the impact of the Mandate on those who decline to

 become vaccinated.

  Dated: November 19, 2021                        Respectfully submitted,


                                                         /s/ ALAN M, KLINGER_________
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                                                  Alan M. Klinger, Esq.
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                                                  New York, New York 10038
                                                  (212) 806-5400


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                                          aklinger@stroock. com

                                          C o unsel f o r D e fe n d a n t U F T




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                       PO BOX 2074, ESP AGENCY BLDG 2, FLS 18 & 20, ALBANY, NEW YORK 12220-0074

                                                DECLARATION OF IMPASSE

      INSTRUCTIONS: Complete in full, retain one copy and distribute in the following manner: A) File an original and
      one (1) copy with the Director of Conciliation, PERB, PO BOX 2074, ESP AGENCY BLDG 2, FLS 18 & 20,
      ALBANY, NEW YORK 12220-0074. B ) Simultaneously serve one (1) copy upon the respondent.

      Date:       Sep 1. 2 0 2 1
                                                         PUBLIC EM PLO YER
                                                            B d . o f Ed. o f the City Sch ool D istrict o f N ew Y o rk
      Name ofPublic Employer.

      NAME, TITLE, ADDRESS, TELEPHONE M elsha P ° rter, Chance l l° r_________________
      AND FAX NUMBERS of the Representative
      to whom PERB should direct correspondence 52 Cham bers Street, N ew Y o rk , N Y 10° ° 7
       (Em ail)mross@schools.nyc.gov                       (-Telephone)2 1 2 374 6 0 0 0            (FA X)_______

                                                 EM PLO YEE ORGANIZATION
      Name ofEmployee Organization........................ The U nited Federation o f T eachers________

      NAME, TITLE, ADDRESS, TELEPHONE                       M ichael M ulgrew__________________
      AND FAX NUMBERS of the Representative
      to whom PERB should direct correspondence             52 B roadw ay, N ew Y o rk , N Y ______
       (Email)mmulgrew@uft.org                             ('Telephone)2 1 2 598 9215               (FAX)


                                       IDENTIFYING PARTY DECLARING IMPASSE
                      Public
                      Employer          □             Employee
                                                      Organization
                                                         DESCRIPTION OF UNIT
                                                                                                         Joint
                                                                                                         Declaration   □
      A               Number of employees in the unit:              180,0 0 0


      B       -       Includedtitles: T eachers__________________________________________________________
      C       -       Excluded titles:N one______________________________________________________________
                                                  7 /1                      f \ /1 A
      D       -     Employer’s fiscal year: 7/1______________ to 6/30_____________
                                            (Mo./Day/Yr.)         (Mo./Day/Yr.)
      E - Effective date and expiration date of present agreement: 7/14/7019 v_______ to 9/13/7077 _____
                                                                                       (Mo./Day/Yr.)        (Mo./Day/Yr.)
      F - Date of recognition or certification of negotiating agent: D ecem ber 1961______________________


          IMPORTANT                                DETAILS OF DECLARATION                                       IMPORTANT
         On a separate sheet of paper which should be attached hereto, write a clear and concise history of
       negotiations leading to this Declaration of Impasse. Include the number and dates of the negotiating
       sessions and specifically list all presently unresolved issues.

         Pursuant to Article 14 of the Civil Service Law, as amended (Public Employees’ Fair Employment Act),
      the undersigned hereby declare(s) that a state of impasse exists between the above noted public employer and
      employee organization within the meaning of Section 209 of said Act.

                             ./ k ^ * * * * —                          President                                Sep 1, 2021
           Signature of Representative Declaring Impasse                                  Title                        Date

      If joint declaration, both representatives must sign:


           Signature ofRepresentative Declaring Impasse                                    Title                       Date




                                                                        R eset Form                Print Form
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                                         Schedule A


  Dates ofB argaining Sessions

  August 25, 2021
  August 30, 2021
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                                    STATEMENT OF IMPASSE

         The United Federation ofTeachers, Local 2, American Federation ofTeachers, AFL-CIO

  (the “UFT”), is the sole and exclusive bargaining representative o f all nonsupervisory

  pedagogical employees, as well as certain others employed by the Board ofEducation o f the City

  School District o f the City o fN ew Y o rk (the “BOE”). The UFT and BOE are parties to

  collective bargaining agreements for Teachers and Functional Chapters covering the period from

  February 14, 2019 through September 13, 2022.

         The instant negotiations were prompted by the BOE’s unilateral promulgation o f its

  “Vax-or-Test” policy for BOE employees in advance o f the new school year, a policy slated to

  become effective on September 13, 2021,just days away. Exacerbating matters is that the City

  has now abandoned that policy - again without prior consultation or bargaining with the UFT -

  in favor o f a draconian imposed policy that now mandates, as of September 27th, vaccination for

  all BOE employees, without any medical or religious accommodation or exception. The UFT

  and other municipal unions have attempted, for weeks, to arrive at a negotiated program to

  implement the City’s vaccine/testing policy, one that appropriately balances the need to address

  the advance o f the Delta variant with the liberty interests and basic due process and collective

  bargaining rights o f all teachers and other school-based workers. With the last-minute shift to an

  absolute mandate for all BOE staff, the UFT has continued to try to work with the BOE to tailor

  a policy that allows for medical and religious accommodation, while also respecting the due

  process rights o f those who choose not to vaccinate. Recent bargaining sessions have

  demonstrated, however, that with the quickly approaching implementation date, the BOE has no
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  intention ofbudging from its inflexible stance or including the UFT in any meaningful

  bargaining concerning the implementation of the City’s vaccination policy.

           To be clear, the UFT supports vaccination and encourages all of its members to become

  vaccinated if they are able. Indeed, the UFT has among the highest - if not the highest -

  member vaccination rate of any municipal union in New York City at almost 80%. The UFT’s

  first priority has always been keeping children and staff safe and schools open. Indeed, rigorous

  COVID precautions thus far have resulted in schools being among the safest public spaces in

  New York City - with an infection rate ofless than 1% even when community infection rates are

  much higher.

           These successes - and the UFT’s willingness to negotiate a common-sense vaccination

  policy - make the City’s sudden and rigid policy stance patently unreasonable. The vaccination

  mandate eviscerates the due process and collective bargaining rights of educators who could lose

  their livelihoods, health benefits and pensions, and disregards those who for whom vaccination is

  medically contraindicated or violates a sincerely-held religious belief of employees. The

  implementation of a vaccination protocol must be negotiated. To create a realistic and

  thoughtful policy with far reaching consequences for City employees, as we continue to manage

  the presence of COVID in our communities, requires two parties to work closely together and

  negotiate in good faith. The City has closed the door on good faith bargainingjust as it had only

  begun.

           PERB has the authority to apply the statutory impasse procedure to impasses, such as

  this, that arise in connection with an existing agreement.1 The parties cannot bridge this divide



  1 See Citv ofNewburgh. 15 P E R B | 3 1 1 6 ,3 (1982) (rejecting City’s argument that impasse procedures do not apply
  to negotiations during the life o f a contract and holding that “the impasse procedures specified in 1 209 o f the Taylor
  Law apply wherever there is a statutory obligation to negotiate and the parties fail to reach an agreement.”), afPd 97
  A.D.2d 258 (3d Dept. 1983), afPd 63 N .Y.2d 793 (1984).

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  without PERB’s assistance, and certainly not within the expedited timeframe that is necessary

  due to the belated issuance of the policies and the fast approaching commencement of the school

  year.

                                               BACKGROUND

          For the past year and a half, New York City educators have performed heroically to

  ensure that the children ofNew York City continue to receive a high quality education even in

  the most challenging of circumstances. They have worked tirelessly in remote teaching and have

  returned to school for in-person instruction when many employees in New York City and across

  the country have remained home. To overcome the harsh realities of COVID-19, our State and

  City governments invoked emergency powers and, even through the darkest days, worked with

  the UFT and their Union partners to protect City workers and serve City residents. Throughout

  the pandemic, the UFT was flexible with regard to many mandatory subjects ofbargaining, and

  understood that, at many points, time was of the essence. Although the battle with COVID-19

  has been costly - with too many lives lost - we have persevered through the worst and now

  attempt some semblance of a return to normalcy.

          Within the past few months, a strain of COVID-19 known colloquially as the “Delta

  variant” arrived in New York (as well as across the United States), and quickly became the

  predominant version of the virus affecting City residents.2 Some percentage of COVID-19

  vaccinated individuals have been known to catch “breakthrough” Delta infections and - for at

  least a period of time - have viral loads as high as the unvaccinated. Accordingly, they can




  2 See CO VID-19: Data. N YC Health, https://wwwl.nyc.gov/site/doh/covid/covid-19-data-variants.page (last
  accessed Aug. 2 0 ,2 0 2 1 ).


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  spread the virus to others.3 That said, even with the Delta variant, hospital admissions remain

  significantly below their 2020 peaks.4 An average o f l l 3 8 New Yorkers were hospitalized for

  COVID-19 from August 13 through August 195 - in contrast with nearly 19,000 average daily

  hospitalizations in April 2020.6 The worst of the COVID-19 outbreak in New York City appears

  to be behind us.7

          Yet, while the extraordinary powers granted to Governor Cuomo have been relinquished

  as the pandemic has subsided, and the State’s declaration of emergency - first announced on

  March 7, 2020 - ended on June 24, 2021, the City has chosen to remain in a state of perpetually

  renewed declaration of emergency. Mayor de Blasio has not rescinded the emergency powers he

  first invoked on March 12, 2020, and the City ofNew York continues to issue frenetic, and

  frequently changing decrees affecting the education staff. The BOE’s vaccination policy is the

  latest example of the ever-changing edicts.

          Up until last week, for the start of school year, the State and City appeared to have settled

  on a “Vax-or-Test” policy, a mandate requiring all City employees (and vendors) to provide

  proof of vaccination to return to work or else submit to weekly testing. A July 27, 2021 draft

  letter from the Commissioner of the Department of Health and Mental Hygiene (DHMH) to the

  President of the Municipal Labor Committee outlined that the “Vax-or-Test” mandate would be


  3 See Delta Variant: What W e Know About the Science. Centers for Disease Control and Prevention (Aug. 19,
  2021), https://www.cdc.gov/coronavirus/2019-ncov/variants/delta-variant.html.

  4 See Sharon Otterman, Here’ s Who Is Hospitalized for Covid in New York City as Cases R ise, N .Y. TIMES (July
  30, 2021), https://www.nvtimes.com/2021/07/30/nvregion/nvc-covid-hospitalizations.html.

  5 See Tracking Coronavirus in New York City, N .Y ., N .Y. TIMES (Aug. 21, 2021),
  https://www.nytimes.com/interactive/2021/us/new-york-city-new-york-covid-cases.html

  6 See Otterman, Here’s Who Is Hospitalized for Covid in New York Citv as Cases R ise, supra n.4.

  7 See David Leonhardt and Ashly Wu, Has Delta Peaked?. N .Y. TIMES (September 1, 2021),
  https://www.nvtimes.com/2021/09/01/briefing/delta-peak-covid-caseload.html


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  phased-in from August 2nd to September 13th and that the policy “requires all City employees

  and contractors to show either one-time proof of vaccination or a negative COVID-19 test once

  every seven days.”8 The policy was announced without bargaining with the UFT or any of the

  other municipal unions, disregarding the collective bargaining rights of all the City’s employees

  and their bargaining representatives, but it at least appeared to accommodate medical and

  religious exceptions and provide a path forward for non-vaccinated teachers to avoid discipline

  and keep theirjobs. As recently as last week, on August 24, 2021, Governor Hochul affirmed

  that she would “pursue options to mandate vaccines for school employees or require w eekly

  testing in the absence o fv a c c in e s .”9

           Notwithstanding the validity of the “Vax-or-Test” mandate, on the very same day that the

  Governor supported its implementation, the Cityjettisoned a month-and-a-half ofVax-or-Test

  proclamations in an August 24, 2012 Order from the Commissioner of the DOHMH (the

  “Order”). The new Order gives school-based employees one option - vaccination. The severity

  of the Order is particularly confounding given that other recent DOHMH orders allowed

  alternatives to vaccination for City healthcare, residential and congregate setting employees.

  Subsequent State emergency regulations superseding those orders, too, provide for medical and

  other reasonable accommodations for those same employees. Not only does the City’s conduct

  in setting the policy violate its obligation to negotiate in good faith, but the Order itself-w ithout

  any accommodation for existing medical reasons or religious beliefs -violates federal and state




  8 The July 27, 2021 email and letter from O L R to Harry Nespoli is attached to the Declaration oflm passe as Exhibit
  A.

  9 Press Release, “On F irst D ay In Office, Governor H ochulA nnounces Comprehensive Plan to Help Ensure a Safe
  Productive Return to Schools This Fall,” August 2 4 ,2 0 2 1 , available at https://www.governor.nv.gov/news/first-dav-
  office-governor-hochul-announces-comprehensive-plan-help-ensure-safe-productive


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  law, including, among other things, the right to refuse unwanted medical treatment and Title

  VII’s protection against discrimination based on religious practices.

         All summer long the UFT has tried to work on the implementation of a sensible

  vaccination policy for New York City schools. On at least two separate occasions (and in many

  informal conversations prior to these sessions), the UFT, along with the other municipal labor

  unions, have attempted to negotiate, in good faith, aspects of the vaccine mandates. Yet, the City

  has refused, insisting that there can be no exceptions to the mandate - medical, religious or

  otherwise. In the latest bargaining session held on August 30, 2021, the City detailed how far the

  new policy goes in punishing teachers who may, through no fault of their own, be unable to take

  the vaccine.

         Under the newly described policy, the City definitively said across the bargaining table

  that teachers with a legitimate medical exception to the vaccine will not be accommodated either

  by the initial testing option (the UFT would be open to twice a week testing) or the opportunity

  for those qualified to teach remotely (as was done last year) despite the City’s acknowledgment

  that some students will continue to receive remote instruction. Instead, the UFT was told, these

  employees will be “permitted” to use their own cumulative absence reserve (“CAR”), effectively

  their accrued sick leave balances, for a period of up to 90 days, at which time they must go on

  unpaid leave and will lose health insurance. Educators who have a legitimate religious

  exemption will also not be accommodated and will not even be permitted to use accrued sick

  time. They will be limited to other accrued time (according to the BOE, because they are not

  sick) and then also stripped of pay and benefits. Those who choose not to vaccinate for other

  sincerely held reasons will be placed on immediate unpaid leave without health insurance for an

  indeterminate period of time.



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          The unreasonableness of the City’s intransigent stance with regard to unvaccinated

  teachers is compounded by the existence of a host of remote teaching opportunities that

  unvaccinated teachers could perform within the system. There are estimated to be at least 5,000

   students on “home instruction” this upcoming school year and there are a variety of other tasks -

   among them curriculum development, academic and social screening as well as school data

  management and analysis - that can be done outside the classroom setting. The City appears

  unwilling to place unvaccinated teachers in these types of roles, and instead insists on placing

  them on unpaid leave.

          Moreover, this latest disclosure of the City’s extreme plan to place educators on

   involuntary leave violates statutory and related contractual disciplinary provisions, and strips

  teachers of their core due process rights as public employees. All unvaccinated teachers who are

  placed on unpaid leave will be effectively suspended without pay without any of the due process

  protections codified in the State Education Law as well as the parties’ collective bargaining

   agreement. These suspensions will also impact employee’s pension rights and ability to accrue

  time, vest and/or retire as planned.

          The Taylor Law does not permit such consequential policy decisions and potential

   disciplinary action to be implemented by mayoral edict. They must be negotiated. Given the

   current stalemate between the parties and the fleeting time before the upcoming school year, a

   Declaration of Impasse is the only way to bring the City to the negotiating table to properly

  bargain these important issues affecting hundreds of thousands of City teachers and public

   employees citywide.




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                                                Bargaining History

            The initial rollout of what is now referred to as the “Vax-or-Test” policy applied only to

   City public sector health care workers, and was first announced on July 21, 2021 during

   MSNBC’s Morning Joe program, where the Mayor stated: “[w]hat we’re doing is mandate for

  the folks who work in our public hospitals and clinics, they need to be safe, the people they serve

  need to be safe. So, we're saying, get vaccinated, or get tested once every week.”10 That day,

  the Commissioner of the Department of Health and Mental Hygiene (“DOHMH”) ordered

  vaccination or weekly testing for staff in public healthcare settings.11

            Less than a week later, on July 21,the Mayor proclaimed via press conference that:

                        on September 13th, which is the first full day of school, every single
                        city employee will be expected to be either vaccinated or be tested
                        weekly. This means everybody. This means obviously everyone
                        who works in our schools, our educators and staff. It means the
                        NYPD, the FDNY, it means all city agencies. It means people who
                        work in offices and people work on the frontline.12

            On July 27, 2021, the Office ofLabor Relations (“OLR”) emailed the Chair of the

   Municipal Labor Committee (“MLC”), of which the UFT is a member and its President, Michael

   Mulgrew, is Executive Vice Chair, relaying a DOHMH draft letter that the Commissioner of

   DOHMH allegedly intended to send to all City employees that same evening.13 The draft letter

   outlined, in broad strokes, the “Vax-or-Test” mandate, stating:


   10 Transcript: Mayor de Blasio Appears Live on M SN B C ’ s Morning Joe. City ofN ew York O ffice o f the Mayor
   (July 21, 2021), https://wwwl.nvc.gov/office-of-the-mavor/news/508-21/transcript-mavor-de-blasio-appears-live-
   msnbc-s-morning-ioe.

   11 See Order o fth e Commissioner ofH ealth and Mental Hygiene to Require CO V ID -19 Vaccination or Testing for
   S taff in Public Healthcare Settings, New York City Department ofH ealth and Mental Hygiene (July 21, 2021),
   attached as Exhibit B.

  12 See Transcript: M ayor de Blasio Holds Media Availability. City ofN ew York Office o f the Mayor (July 26,
  2021), https://wwwl.nvc.gov/office-of-the-mavor/news/517-21/transcript-mavor-de-blasio-holds-media-availabilitv.

   13 See E xhibitA .


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                    all City employees14 and contractors will soon be responsible for
                    meeting the COVID-Safe Requirement, to be phased in from August
                    2nd to September 13th. This policy requires all City employees and
                    contractors to show either one-time proof of vaccination or a
                    negative COVID-19 test once every seven days.

           The MLC quickly responded to this unilateral change to the terms and conditions of

   employment for the City’s entire workforce, and, having sought a discussion, met (virtually) on

   July 28, 2021 with two Deputy Mayors, the Commissioner ofLabor, and several other

   commissioners and senior staff from various agencies, together with MLC officers, regarding the

   “Vax-or-Test” mandate.

           The following day, Mayor de Blasio appeared on the radio station Hot 97 to announce

   further, unspecified edicts to supplement the “Vax-or-Test” policy:

                    Radio Host: You know other than the vaccination conversation, the
                    getting back in schools in September conversation is coming up and,
                    you know, people over 12, getting the vax and what's mandatory and
                    not, I saw you talking about city workers are either going to need to
                    get a mandatory vaccination or test every week. Where is that plan
                    at?

                    Mayor: That's exactly where we’re at. All city workers, it’s phased
                    in, starting with hospital workers. They’ll phase in over the next
                    few weeks. Everyone has to - if your city employee, that’s almost
                    400,000 people, you have to either get the vaccination once, you
                    know, done get fully vaccinated, meaning, you know, the two shots,
                    be done with the full vaccination and you never have to test after
                    that. Or if you are not yet vaccinated, you have to test every single
                    weekend. It's your responsibility to get those tests, and obviously
                    give an update on what the tests say. I believe that's going to really
                    encourage a lot of people. We are going to keep pushing mandates
                    of all kinds, and I'm urging the private sector to do the same.15



   14 Although the DO E is not a mayoral agency and B O E employees are not City employees, the Mayor, as a result o f
   mayoral control and the recharacterization o f the D O E as a City agency, often refers to B O E employees as City
   employees and the policies applicable to City personnel are often also applicable to B O E employees.

   15 See Transcript: Mayor de Blasio Appears Live on Hot 9 7 . City ofN ew York Office o f the Mayor (July 29, 2021),
   https://wwwl.nyc.gov/office-of-the-mayor/news/529-21/transcript-mayor-de-blasio-appears-live-hot-97 (emphasis
   added).


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           Despite the UFT’s efforts, through the MLC and independently, to work together on

   implementation ofVax-Or-Test, the City continued to unilaterally dictate the program. On

  August 19, 2021, the City - via OLR - sent Counsel to another MLC union an email attaching a

   10-page document titled “COVID-Safe Requirement: Frequently Asked Questions” (the

   “COVID-Safe Requirement”) purporting to require for all City employees, in ter a lia :

                         a. One-time verification of full vaccination or weekly records of a negative
                            PCR test taken with the preceding seven days;

                         b. “If an employee, volunteer, or intern chooses not to be vaccinated, they
                            will have to submit evidence of a weekly negative COVID-19 test.”

                         c. “If an employee, volunteer, or intern does not want to undergo weekly
                            testing for any reason, they must get fully vaccinated.”

                         d. “If an employee, volunteer, or intern has a medical reason for not
                            complying with these requirements, they should be referred to the agency
                            EEO office to review and discuss that information”;

                         e. “Any employee who prefers to keep their vaccination status private can do
                            so by providing a weekly COVID-19 PCR test and wearing a face
                            covering.”

                         f.   Leave without pay for any noncompliant employees; and - in seeming
                              conflict with that provision -

                         g. “Employees who refuse to comply will be terminated.”16

           The COVID-Safe Requirement also incorporates by reference mayoral Executive Order

   75, which requires all new hires to “provide proof ofhaving received at least one dose of an

   approved COVID-19 vaccine prior to beginning their employment (unless they have a reasonable

   accommodation).”17



   16 The CO V ID -Safe Requirement, dated August 11, 2021, is attached as Exhibit C.

   17 See Executive Order No. 75, City ofN ew York O ffice o f the Mayor (Aug. 2, 2021), https://wwwl.nyc.gov/office-
   of-the-mayor/news/075-000/executive-order-75 and Executive Order No. 76, City ofN ew York O ffice o f the Mayor
   (Aug. 1 7 ,2 0 2 1 ), https://wwwl.nyc.gOv/office-of-the-mayor/news/076-000/executive-order-76 (amending Executive
   Order No. 75).

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            The MLC, on behalf of the UFT and other unions, sent a letter dated August 12, 2021 to

   First Deputy Mayor Dean Fuleihan, Chief of Staff and Deputy Mayor for Administration Emma

  Wolfe, and OLR Commissioner Renee Campion, underscoring the fact that the City had ignored

  the various proposals MLC had made during the virtual meeting on July 28, 2021, but expressing

  the Unions’ desires to move forward expeditiously to arrive at a workable Vax-or-Test

  program.15
               io




            Shortly thereafter, the MLC received word that the City was considering abandoning the

   “Vax-or-Test” mandate before it had truly even begun, in favor of a pure vaccination mandate.

   Therefore, on August 17, 2021, the MLC sent an additional letter to First Deputy Mayor

   Fuleihan, Chief of Staff and Deputy Mayor Wolfe, and OLR Commissioner Campion,

  highlighting the capricious switch to a vaccination mandate before “Vax-or-Test” had even

  begun in earnest.19

            This letter, too, went ignored.

            On August 23, 2021, three weeks before the start of school, Mayor de Blasio and

   DOHMH Commissioner Chokshi announced a vaccination mandate for all employees in the City

   school district.20 The following day, Respondent Chokshi imposed the Order, which requires all

   DOE staff; City employees who “work in-person in a DOE school setting or DOE building”;

   staff of City or DOE contractors “who work in-person in a DOE school setting or DOE

  buildings”; and “[a]ll employees of any school serving students up to grade 12 and any UPK-3 or




   18 M L C ’s August 12 ,2 0 2 1 Letter is attached as Exhibit D.

   19 M L C ’ sAugust 17, 2021 Letter is attached as Exhibit E.

  20 See Mayor de Blasio. Chancellor Porter and Commissioner ChokshiAnnounce Department o f Education
  Employee Vaccine Mandate. New York City Office o f the Mayor (Aug. 23, 2021), https://wwwl.nvc.gov/office-of-
  the-mavor/news/578-21/mavor-de-blasio-chancellor-porter-commissioner-chokshi-department-education.


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  UPK-4 program that is located in a DOE building who work in-person, and all contractors hired

  by such schools or programs to work in-person” to - no later than September 27, 2021 - provide

  proof that they (a) have been fully vaccinated; (b) have received a single dose vaccine; or (c)

  have received the first dose of a two-dose vaccine, and must additionally provide proof that they

  have received the second dose within 45 of the initial inoculation.21 The City has signaled that

  this is part of a larger effort to intensify vaccine mandates for all municipal employees in the

   days to come.22

           In an effort to bargain over the implementation of vaccine policy - bargaining which the

   City had previously indicated it was amenable to - the UFT participated in two bargaining

   sessions, one with all the MLC officers on August 25, 2021 and another, withjust the UFT, on

  August 30, 2021. On August 25, 2021, union leaders, including UFT President Michael

   Mulgrew, met at City Hall and outlined the issues they saw for the implementation of a vaccine

  policy. Among the issues discussed were whether and, if so, how non-school personnel would

  be allowed inside the school building, testing for those applicable whether for pre-September

   27th compliance or possible accommodation, as well as how the medical and religious

   accommodations would be implemented.

            On August 30th, the UFT expected to continue a working dialogue on the implementation

   of a vaccination policy, but the conversation quickly hit major obstacles when the City stated

  unequivocally that there would be no accommodations and no exceptions to the vaccination




   21 The August 24, 2021 Order is attached as Exhibit F.

  22 See Eliza Shapiro, Educators W ill B e First N .Y.C. Workers to Face Full Vaccine Mandate, N .Y. Times (Aug. 23,
  2021), available at: https://www.nytimes.com/2021/08/23/nyregion/nyc-schools-vaccine-mandate.html.

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  mandate. With the sides so far apart and time clearly of the essence, the parties agreed that it

  was unrealistic that there was any basis for continued negotiation.


                                           CONCLUSION

          With the fundamental and urgent issue of whether unvaccinated teachers under specified

   circumstances will be permitted in BOE schools or allowed other work accommodation driving

  the impasse between the parties, agreement will not occur absent PERB proceedings.

  Accordingly, in the interest of achieving agreement on this time-sensitive modification, it is

   imperative that the parties be allowed to proceed to impasse on an expedited basis such that a

   solution can be reached for this coming school year.




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From: Renee Campion (OLR) <rcampion@olr.nyc.gov>
Sent: Tuesday, July 27, 2021 4:32 PM
To: Harry Nespoli - USA Local 831 (Pres831secv@usa-sbf.com) <Pres831secv@usa-sbf.com>
Cc: Klinger, Alan M. <aklinger@stroock.com>: Steve Banks (OLR) <sbanks@olr.nyc.gov>
Subject: [EXTERNAL] Letter to All Employees

Harry -
The Health Commissioner will be sending out a letter to all City employees this evening.


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I have attached the letter below.

Please reach out to me if you have any questions.

-Renee


Letter to All NYC Employees from NYC Health Commissioner

I want to take a moment to thank all of you for your tireless dedication this past year and a half. Whether
you're in the office or in our communities, New York City's employees stepped up to keep the city safe
and moving forward. As a result, we made enormous strides in ourfight against COVID-19, even before
the vaccination stage of our response.

But as you know, nothing can provide a higher level of protection against the virus or do more to speed
the city's recovery than vaccines, which are safe and lifesaving, and which we have made free and
accessible all over the city.

To protect each other and those we serve, and to set an example for our fellow New Yorkers, the Mayor
has announced that all City employees and contractors will soon be responsible for meeting the COVID-
Safe Requirement, to be phased in from August 2ndto September 13th. This policy requires all City
employees and contractors to show either one-time proof ofvaccination or a negative COVID-19 test
once every seven days.

Convenient and community-based vaccination sites are accessible via nyc.gov/vaccinefinder or by calling
877-VAX-4-NYC.

For those who choose instead to be tested weekly, a diagnostic PCR test — which has the highest level of
accuracy — will be required. Most PCR tests must be sent to a lab for processing and come back within
one or two days, but some are rapid and can yield a result while you wait. Either is acceptable for meeting
the COVID-Safe Requirement. There are hundreds of PCRtesting locations in the five boroughs; the list
can be found at nvc.gov/covidtest. If you'd like to receive a test specifically at a City-sponsored site, that
list can be found here: https://www.nvchealthandhospitals.org/test-and-trace/testing/.

While testing is available it cannot replace the moral and health imperative to get vaccinated. I urge you in
the strongest of terms: it is time to get vaccinated if you have not already. By not getting vaccinated you
are putting yourself, your loved ones, and your City at risk. Vaccination is safe, effective, and free. It is the
best thing we can do to keep each other, our loved ones, and all New Yorkers safe.

Thank you,
Dave A. Chokshi, MD, MSc
Commissioner
NYC Department of Health and Mental Hygiene




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                          ORDER OF THE COM M ISSIONER
                         OF HEALTH AND MENTAL HYGIENE
                 TO REQUIRE COVID-19 VACCINATION OR TESTING FOR
                      STAFF IN PUBLIC HEALTHCARE SETTINGS


          W HEREAS, on March 12, 2020, Mayor Bill de Blasio issued Emergency Executive Order
  No. 98 declaring a state of emergency in the City to address the threat posed by COVID-19tothe
  health and welfare of City residents, and such order remains in effect; and
          W HEREAS, on March 25, 2020, pursuant to Section 3.01 of the New York City Health
  Code (“Health Code”), the existence of a public health emergency within the City as a result of
  COVID-19, for which certain orders and actions are necessary to protect the health and safety of
  the City ofN ew York and its residents, was declared; and
           W HEREAS, pursuant to Section 558 of the New York City Charter (the “Charter”), the
  Board of Health may embrace in the Health Code all matters and subjects to which the power
  and authority o f the Department of Health and Mental Hygiene (the “Department”) extends, and
  pursuant to Section 556 of the Charter and Section 3.01 of the Health Code, the Department is
  authorized to supervise the control of communicable diseases and conditions hazardous to life
  and health and take such actions as may be necessary to assure the maintenance of the protection
  o f public health; and
         W HEREAS, the U.S. Centers for Disease Control (“CDC”) reports that new variants of
  COVID-19, identified as “variants of concern” have emerged in the United States, and some of
  these new variants which currently account for the majority of COVID-19 cases sequenced in
  New York City, are more transmissible; and
          W HEREAS, the Department’s clinical settings and the facilities and personnel of the
  New York City Health and Hospitals Corporation (“NYC Health + Hospitals”) provide health
  services to all New Yorkers seeking care and have a duty to take reasonable measures to reduce
  the risk of transmission of COVID-19 as part of their mission to protect the public health; and
         W HEREAS, the Department’s clinical settings and the facilities and personnel of NYC
  Health + Hospitals serve individuals from all areas of the city, including those with the highest
  rates of COVID-19 infection and hospitalization, and the areas of the city with the lowest
  vaccination rates; and
         W HEREAS, the CDC has stated that vaccination is an effective tool to prevent the
  spread of COVID-19 and benefits both vaccine recipients and those they come into contact with,
  including persons who for reasons of age, health, or other conditions cannot themselves be
  vaccinated; and
             W HEREAS, pursuant to Health Code Section 3.07, no person “shall do or assist in any
   act which is or may be detrimental to the public health or to the life or health of any individual . .
   . or . . . shall fail to do any reasonable act or take any necessary precaution to protect human life
   and health;” and
          W HEREAS, pursuant to Section 3.01 of the Health Code, I am authorized to issue orders
  and take actions that I deem necessary for the health and safety of the City and its residents when
  urgent public health action is necessary to protect the public health against an existing threat and
  a public health emergency has been declared pursuant to such section;
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           NOW THEREFORE I, Dave A. Chokshi, MD, MSc, Commissioner of Health and
  Mental Hygiene, finding that a public health emergency within New York City continues, and
  that it is necessary for the health and safety of the City and its residents, do hereby exercise the
  power of the Board of Health to prevent, mitigate, control and abate the current emergency, and
  hereby order that:

       1. By August 2, 2021, the Department shall require from each staff member working in a
          clinical setting:
          a. Proof of full vaccination, to be provided in a manner determined by the Department;
             or
          b. For any staff member who does not provide such proof:
              (i) Proof of a negative COVID-19 diagnostic test (not an antibody test) at least once
                  per week, to be provided in a manner determined by the Department; and
              (ii) Wearing a well-fitted face covering at all times while in the workplace, as
                   provided in Department guidance or policies, which may also provide for the use
                   of other types of personal protective equipment.
      2. By August 2, 2021, NYC Health + Hospitals shall require from each staff member:
          a. Proof of full vaccination, to be provided in a manner determined by NYC Health +
             Hospitals; or
          b. For any staff member who does not provide such proof:
              (i) Proof of a negative COVID-19 diagnostic test (not an antibody test) at least once
                  per week, to be provided in a manner determined by NYC Health + Hospitals; and
              (ii) Wearing a well-fitted face covering at all times while in the workplace, as
                   provided in NYC Health + Hospitals guidance or policies, which may also
                   provide for the use of other types of personal protective equipment.
      3. Within 90 days, the Department shall report to the Board of Health on the
         implementation of the requirements of this Order and any recommendations to limit the
         spread of COVID-19 infection in health care settings.

   For the purposes of this order:

          “Clinical setting” means a Department clinic where staff members have contact with
          patients seeking medical opinions, services, or treatment. This Order applies to all staff
          members working in such clinics, including staff members providing administrative or
          technical support, and operational or custodial services at the clinic site, regardless of
          whether the staff member has direct contact with patients. This Order does not include
          services provided by the Department in schools or private homes.

           “Full vaccination” means two weeks after a having received the second dose of a two-
          dose COVID-19 vaccine or two weeks after receiving a single-dose COVID-19 vaccine,
          except that, for the purposes of this Order, a staff member who provides documentation
          of having received one dose of any COVID-19 vaccine before August 1, 2021 will be
          considered fully vaccinated so long as, if such staff member received a two-dose vaccine,


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          the staff member provides documentation that the second dose has been administered
          before September 1, 2021.

          “Staff member” is any full or part time employee of the Department or NYC Health +
          Hospitals.

   This Order shall be effective immediately and remain in effect until rescinded, subject to the
   authority of the Board of Health to continue, rescind, alter or modify this Order pursuant to
   Section 3.01 ofthe Health Code.




   Dated: 07/21/2021

                                                          Commissioner




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   COVID-Safe Requirement: Frequently Asked Questions

   Under the COVID-Safe Requirement, employees must either:
       •   provide one-time verification that they are fully vaccinated; OR
       •   provide a weekly record of a negative PCR test as evidence that they are in compliance
           with the mandate.

   Any employee who has not provided proof of full vaccination must wear a face covering,
   regardless of test compliance, unless they have been granted a reasonable accommodation by
   their agency's EEO office (or office/personnel providing the EEO function).

   Policy Details

       1. Which employees are covered by the COVID-Safe Requirement?
          By September 13th, all full-time and part-time NYC employees who were hired before August 2,
          2021 and all Contracted Employees interacting with the public or City employees are covered.

           All Health + Hospitals employees and most DOHMH clinic-based employees are covered
           beginning August 2nd.

           For City employees who were hired on or after August 2, 2021, please refer to Executive Order
           75, which requires all new hires to provide proof of having received at least one dose of an
           approved COVID-19 vaccine prior to beginning their employment (unless they have a reasonable
           accommodation).

           City employees and employees of City contractors working in residential and congregate settings
           (defined below) pursuant to a City contract are covered, effective August 16th. See appendix for
           full list.

       2. For the purpose of this policy, how are you defining "contracted employee" and "City
          contractor"?
          For the purposes of this policy, a contracted employee and City contractor are, respectively, an
          individual or entity whose salary or funding is paid, in whole or part, by a contract with a New
          York City agency to perform work within New York City, and interacts with city employees or
          members of the public.

           The City strongly urges organizations to adopt this policy as broadly as possible and cover of all
           of their employees, as the City has done. This policy is intended to keep your employees and the
           clients they serve safe, as well as streamline the implementation process.

       3. Does this policy apply to the clients served by the City or its contractors?
          No. This policy is specific to City employees and City contractors including their staff, volunteers
          and interns. City contractors should integrate this policy into their own COVID-19 return to
          office and health and safety policies. Clients must wear face coverings at all times.




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     4.   Does this policy cover interns?
          Yes, interns, aides, and fellows that work directly with service recipients or in person with City
          employees are covered by this policy. All agencies should update their policies to include this
          requirement.

     5. Does this policy cover volunteers?
        Yes, volunteers who work directly with service recipients or in person with City employees are
        covered by this policy. All agencies should update their volunteer policies to include this
        requirement.

     6. Does this policy extend to subcontractors?
        Yes, this policy extends to subcontractors including building security, food service employees,
        and other subcontractors.

     7. Does this apply to people who come on-site (e.g. vendors, home health aides) that do not
        have a contract with the City?
        City contractors are responsible for verifying that all visitors that enter the contracted space and
        will be interacting with or in close proximity to clients or City employees are either fully
        vaccinated or have proof of a negative test result within the last 7 days.

     8.   Do staff interacting with the public have to wear a face covering, even if fully vaccinated?
          Yes, staff interacting with members of the public - including employees, visitors, volunteers and
          interns of City agencies, City contractors and their subcontractors - must wear a face covering,
          even if they have submitted proof of full vaccination. Further, a face covering is required for all
          individuals at all times when present in a pre-kindergarten to twelfth grade school, public
          transit, homeless shelter, correctional facility, nursing home, or health care setting.

     9. Will there be any medical accommodations for the program?
        If an employee, volunteer, or intern chooses not to be vaccinated, they will have to submit
        evidence of a weekly negative COVID-19 test. If an employee, volunteer, or intern does not want
        to undergo weekly testing for any reason, they must get fully vaccinated.

          If an employee, volunteer, or intern has a medical reason for not complying with these
          requirements, they should be referred to the agency EEO office to review and discuss that
          information.

      10. Which vaccines count? What if the employee has been vaccinated with a non-FDA approved
          vaccine?
          FDA-authorized vaccines will be accepted. Today, this includes the Pfizer, Moderna, and Johnson
          & Johnson vaccines.

          It is possible that someone was vaccinated outside of the country with a non-FDA approved
          vaccine. Only vaccines listed for emergency use by the World Health Organization (WHO) are
          acceptable and the person needs to have received a complete vaccine series. The current list of
          vaccines authorized by the WHO for emergency use is here.




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         People who have started, but not completed, a full series of a vaccine that is approved by the
         WHO, but not by the FDA, should receive a complete vaccine series with a U.S. FDA-authorized
         vaccine.

         Employees, interns and volunteers who have been vaccinated outside the U.S. may submit their
         vaccine record from the place where it was administered.

      11. If an employee, intern, or volunteer gets their first dose prior to when they are subject to this
          requirement will they be required to provide weekly test results?
          Employees, interns, and volunteers covered by the DOHMH Commissioner's Orders related to
          Staff in Public Health Care Settings or Residential and Congregate Settings must have their first
          dose by the date specified in those orders. An employee, intern or volunteer who has received
          at least one dose of a vaccine that requires two doses (ex. Moderna and Pfizer) will not need to
          submit the results of weekly testing as long as proof of their second dose is provided within one
          month. If the employee, intern or volunteer does not submit proof of having received the
          second dose by such time, they will be subject to the weekly testing requirement until they do
          submit that proof.

         For all others:
         An employee, intern, or volunteer who has received one dose of a single dose COVID-19 vaccine
         (ex. Johnson and Johnson) by September 13, 2021 or the date they commence employment
         ("the effective start date"), whichever is later, will not need to submit proof of weekly negative
         test results.

         An employee, intern or volunteer who has received at least one dose of a vaccine that requires
         two doses (ex. Moderna and Pfizer) by September 13, 2021, or the effective start date,
         whichever is later, will not need to submit the results of weekly testing as long as proof of their
         second dose is provided within one month of their effective start date. If the employee, intern
         or volunteer does not submit proof of having received the second dose by such time, they will
         be subject to the weekly testing requirement until they do submit that proof.

         Employees, interns, and volunteers who wish to remove their face covering must be fully
         vaccinated (note there is a different policy for staff who are client-facing and in certain settings,
         see Question 7). An individual is considered fully vaccinated two or more weeks following
         receipt of the second dose in a 2-dose series of a COVID-19 vaccine, or two or more weeks
         following receipt of one dose of a single dose COVID-19 vaccine.

      12. What counts as proof of vaccination?
          Employees, interns, and volunteers may submit, using secure means, proof of vaccination
          directly to their own agency or contract organization. Employers should maintain a confidential
          record of the employees who have demonstrated proof of vaccination.
          Proof must be:
              • An official CDC card or other official immunization card bearing the employee's name
                   and date(s) of vaccine administration. The employer must see this document or a
                   photograph of it;
              • An Excelsior Pass issued by the State of New York; or
              • The NYC COVID SAFE app that clearly displays an image of the CDC card or other official
                   immunization card with the above noted requirements. The NYC COVID SAFE app can be

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                  downloaded for Apple or Android (or by searching "NYC COVID Safe" on Apple app store
                  or Google Play store).

          Proof of vaccination for vaccines administered outside the U.S. must be an official immunization
          record and will include all of the following:
              • First name and last name
              • Date of birth
              • Vaccine product name (ex: Moderna)
              • Lot number (note: lot number may not be included on all official cards)
              • Date(s) administered
              • Site where the vaccine was administered or person who administered the vaccine.

      13. How will City agencies use the proof of vaccination?
          Agencies will collect vaccination proof from City employees using secure means. This
          information will be used to compile a list of employees who have not submitted proof of
          vaccination and must wear a face covering and submit weekly negative test results. HR must
          ensure that these employees submit negative test results, as a term of their employment. See
          information below regarding consequences for failure to comply.

         This list of employees, volunteers, and interns required to wear a face covering will be securely
         shared with designated supervisors and other designated agency personnel who will conduct
         audits of face covering compliance. Agencies should proactively audit for compliance daily. In
         the compliance support role, designated agency staff must never inquire about an employee's
         medical condition; such inquiries may be a violation of federal law. Refer to the guidance issued
         by the City's Chief Privacy Officer on 7/30/21 for further information about handling individuals'
         confidential vaccination status and related information.

         An employee, intern, or volunteer who chooses not to share their vaccination status with their
         agency's Human Resource Department (HR) must continue to wear a face covering. An
         unvaccinated employee, intern, or volunteer, other than those with an approved reasonable
         accommodation, must continue to wear a face covering as required by DCAS Commissioner's
         Directive 2020-1.

      14. What if an employee, intern, or volunteer is vaccinated, but lost their CDC vaccination card?
          Employees, interns, and volunteers who lost their CDC vaccination card should contact the
          medical provider where they got vaccinated to get an official record of vaccination. If an
          employee, intern or volunteer was vaccinated in New York City, they can request their
          immunization record through the DOHMH self-service portal My Vaccine Record.

      15. For employees, interns, and volunteers who opt to do weekly testing, which tests qualify?
          Only polymerase chain reaction (PCR) tests processed by medical professionals qualify for the
          City's COVID-Safe Requirement. These tests usually take one-two days to process at a lab, but
          some PCR tests are rapid tests. Both rapid and non-rapid PCR tests can be used.

      16. Where can people be vaccinated?
          Vaccination is free and convenient across the five boroughs and in bordering counties. Over 95%
          of all NYC residents live within half a mile of a public vaccination site. Convenient vaccination


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          sites can be found via https://www.nvc.eov/vaccinefinder or by calling 877-VAX-4-NYC. For
          anyone who lives within the five boroughs (including City employees and contractors'
          employees), the City is also making at-home vaccination free and available; call 877-VAX-4-NYC
          or visit https://www.nyc.gov/homevaccine to sign up to have a team member come to your
          home to vaccinate you and any other household members, with any of the three FDA-
          authorized vaccines you choose.

      17. When must employees submit a weekly test?
          For each day that an employee reports to work onsite, they must have had a negative COVID-19
          PCR test taken within the preceding seven days. This test result, which must be submitted to HR,
          must be negative. An employee who has been tested within the preceding seven days, but is still
          waiting for the result may report to work with a pending test result as long as they meet the
          criteria of the health screening, and provided that the test result is submitted to HR as soon as it
          becomes available.

      18. Where can people find testing?
          The City of New York offers free COVID-19 testing in convenient locations across the five
          boroughs and will continue to do so, but employees may opt to go to their trusted medical
          professionals as well. There are hundreds of PCR testing locations in the five boroughs; the list
          can be found at http://www.nvc.eov/covidtest. If employees or contractors would prefer to
          receive a test specifically at a City-sponsored site, that list can be found here:
          https://www.nvchealthandhospitals.ore/test-and-trace/testine.

      19. Will the City be providing on-site vaccination and testing at City worksites?
          Testing and vaccination are both widely available and convenient for all New Yorkers.
          The City will continue to bring mobile vaccination clinics to select worksites, including certain
          City worksites. The City will bring mobile testing to City worksites that previously receiving
          regular testing, specifically for schools, corrections facilities, and some congregate settings.

     20. Do rapid tests qualify?
         Rapid PCR tests will qualify for this requirement. Antigen tests will not.

     21. Do at-home tests qualify?
         At-home tests will not be accepted at this time.

     22. What happens if an employee, intern, or volunteer tests positive?
         An employee, intern or volunteer who tests positive must not report to work until they meet all
         the criteria of the health screening and all of these conditions are met:
             a. It has been at least 10 days since their symptoms began;
             b. They have not had a fever for at least 24 hours without the use of a fever reducer; and
             c. Other respiratory symptoms (cough, shortness of breath) have improved.

          For information on the City's Leave Policy during COVID-19, please see: Updated Guidance for
          City Agencies on Leave Policy Applicable During the Outbreak of Coronavirus Disease 2019
          (COVID-19).




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     23. Will employees, interns, and volunteers be expected to pay out of pocket for vaccine or test?
         No. Vaccination is free to all New Yorkers including City and contract organization employees;
         nearly 60% of all employees have chosen to protect themselves and their community by getting
         vaccinated. Testing is provided at no cost to the individual and is widely available. The City will
         continue to provide options for both vaccinations and weekly PCR testing in all five boroughs
         and near public transportation hubs to make compliance as convenient as possible.

     24. Can employees take time from their shift to get vaccinated?
         All employees are allowed to take up to four hours to get vaccinated during their workday.
         Employees who get a vaccine that requires two doses may take up to four hours on both days
         they receive a dose of that vaccine. Please see PSB 600-4 Temporary Citywide Policy for
         Vaccination of City Employees against SARS-CoV-2 for more information. In addition, all
         employees may be entitled to paid excused leave for any side effects experienced due to the
         vaccination. Please see: Updated Guidance for City Agencies on Leave Policy Applicable During
         the Outbreak of Coronavirus Disease 2019 (COVID-19) for more information.

         It is suggested that City contractors adopt the same or similar policy. The City will reimburse
         contractors for costs associated with providing time off to employees getting vaccinated.

     25. What happens if an employee is supposed to come in, but says their test results are pending?
         Do we track how many times someone does this?
         Employees who have been tested, but whose test results are pending should come to work as
         long as they meet the criteria of the health screening. They must provide proof of test collection
         while they await the result.

     26. Does the COVID-Safe Requirement apply to pre-K staff in City-contracted sites? Or only DOE
         staff?
         The COVID-Safe Requirement applies to all City employees and contracted staff interacting with
         the public or City employees. This includes Pre-K staff in City-contracted sites.

     27. Is the City offering any exemptions for the vaccination requirement?
         Any employee, intern, or volunteer who is unwilling or unable to be vaccinated, including for
         medical reasons, will be required to show proof of a COVID-19 PCR test with a negative result
         once every seven days.

     28. Can City and contracted employees take time from their shift to get tested?
         City employees may use City time to be tested, but some restrictions apply:
             • Employees are required to get tested at the beginning or end of their shift.
             • If testing is offered at an employee's place of work, they may not use work hours to be
                 tested off-site.
             • If testing is not onsite at the workplace, employees should get tested in a place close to
                 their home or work.
             • Employees will be required to document time taken to seek testing and will be required
                 to seek the fastest option available.
             • Employees should work with their supervisors to schedule a time for testing.
             • Testing time should be scheduled so that it does not have any detrimental impact on
                 operations.


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          Like City employees, contracted employees may use shift time to get tested and the same
          restrictions apply. Contracted employees with testing available on site must use that option if
          they get tested during their shift. No additional funding will be provided associated with time off
          for testing.

      29. Will tests at City sites be billed to employees' insurance (which the City pays)?
          For many of the tests conducted, employee insurance will be billed. At City-run sites, FEMA
          requires that the City attempt to bill for all tests in order to seek federal reimbursement for any
          costs not covered by insurance. For this reason, the City will attempt to bill for most tests
          performed by a City provider regardless of the fact that the City pays for the insurance coverage.
          The City does provide some testing without billing for it because the testing is funded by
          sources of federal funds that are not subject to FEMA rules and regulations.

      30. Who is responsible for paying for tests at non-City sites (to the extent it isn't covered)?
          Tests are widely available at no cost to individuals across dozens of City-sponsored test sites.
          Private providers may charge for testing or charge a co-pay and all New Yorkers are strongly
          encouraged to ask about associated costs before being tested. Most providers across the City
          will attempt to bill insurance for test collection.

      31. Will the City reopen its employee testing sites?
          Testing is now widely available and convenient for all New Yorkers. The Test & Trace Corps will
          continue to deploy City resources to ensure all geographies have access and to respond to case
          rates, outbreaks, and demand.

      32. What incentives are available for vaccination?
          Please visit https://www1.nvc.eov/site/coronavirus/vaccines/vaccine-incentives.paee for a full
          list of incentives offered for vaccination.

   Enforcement and Compliance

      33. How will City agencies track compliance?
          Each agency will track compliance for their employees, interns, and volunteers. Agencies are
          responsible for verifying individual vaccination status of each employee, intern, and volunteer,
          and monitoring compliance with weekly testing and face covering requirements for those who
          have not submitted proof of vaccination.

      34. Are there privacy concerns with handling employee vaccination information and documents?
          Yes. Employee vaccination information is considered confidential medical information under the
          federal Americans with Disabilities Act and is also identifying information that is protected
          under the City's privacy law. This information must be kept private and secure and may only be
          shared with designated agency staff and City officials. Refer to guidance issued by the City's
          Chief Privacy Officer on July 30, 2021 for further information on handling this information, or
          email PrivacvOfficer@citvhall.nvc.eov.

      35. What tools can an agency use to collect and store vaccination or testing proof?
          Agencies developing or utilizing a survey tool to collect proof of employee vaccination status,
          because it is confidential medical information, must only use tools that have successfully

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         completed the citywide application security review and have the appropriate controls to
         support the storage, transmission, and handling of information classified as "Restricted"
         information under the NYC Cyber Command Policies & Standards. If an agency procures a
         vendor to develop its survey tool, the contract should include NYC3 security provisions and be
         reviewed by the Chief Privacy Officer to ensure appropriate privacy protections are included. For
         further information, contact PrivacvOfficer@citvhall.nvc.eov or leeal@cvber.nvc.eov.

     36. How will the COVID-Safe Requirement be enforced for contracted organizations?
         All City contractors with covered contracts must submit a signed certification that they are
         complying with the City's policies regarding testing, vaccine proof, and face coverings by
         uploading it directly to their PASSPort vendor profile or sending it to their contracting agency if
         they do not have a PASSPort account. They must also submit related policies. Further guidance
         on certification of the COVID-Safe Requirement will be issued soon.

         If an agency does not manage contracts via PASSPort, it must independently collect contractor
         certifications and policies and monitor them in an ongoing manner.

         Contractors are subject to reviews for compliance. Like all other contract provisions, if providers
         are non-compliant, contracting agencies will exercise any rights they may have under the
         contract.

     37. What is the penalty for non-compliance? Will non-compliant employees be subject to
         termination?
         City staff who are in violation of either the COVID-Safe Requirement to be vaccinated or
         complete weekly testing will be placed on Leave Without Pay until they are in compliance.
         Employees who refuse to comply will be terminated.

         It is suggested that contracted organizations adopt a similar policy. If providers are non­
         compliant, contracting agencies will exercise any rights they may have under their contract.

     38. Will employees be required to use the City's NYC COVID Safe application?
         No. The NYC COVID Safe application should be on every phone issued by the City of New York, if
         an employee wishes to use it. However, employees may choose to provide one-time
         documentation of vaccination or provide weekly documentation of a test via any proof
         acceptable to the employer and consistent with guidance provided above.

     39. In City agencies, who is responsible for checking if someone has had a test in the last week?
         Are supervisors supposed to be involved in enforcement or just HR? Will supervisors be told
         who is and isn't vaccinated to enforce among their staff? Will they make direct outreach to
         employees or go through HR?
         Employees, volunteers, and interns must submit proof of full vaccination once or proof of a
         negative COVID-19 PCR test ever seven days to HR. HR will provide designated supervisors and
         other designated personnel with a list of employees who are required to wear a face covering.
         HR will enforce compliance with the test requirement and will notify any employee who is out of
         compliance. HR and HR-designated supervisors/personnel will enforce compliance with the face
         covering requirement using the list provided by HR.




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          Employees seeking reasonable accommodations should seek them through the agency's EEO
          office. A supervisor who becomes aware that an employee may need an accommodation should
          let them know the official way to request an accommodation.

      40. In City agencies, if someone suspects that a coworker is in violation of the COVID-Safe
          Requirement, what is the process for reporting their concern?
          An employee may speak to their HR representative if they believe that a coworker is not
          complying with City policy. The employee should not engage their coworker directly on the
          issue.

      41. In City agencies, do staff have to show proof of vaccination or testing multiple times a day
          every time someone comes in and out of the workplace, or can they get a "pass" for the day
          or permanently?
          No. Designated supervisors and other designated personnel will be provided with a weekly list
          of employees for the purpose of monitoring face covering compliance. HR will be responsible for
          monitoring weekly test compliance for those who choose to remain unvaccinated. Agencies will
          designate supervisors or other agency personnel who will conduct audits of face covering
          compliance on a regular basis.

      42. Do staff have to tell the City whether or not they are vaccinated?
          No. Any employee who prefers to keep their vaccination status private can do so by providing a
          weekly COVID-19 PCR test and wearing a face covering.

      43. Does a test have to be within the previous seven days or in the same calendar week?
          The test must be within the previous seven days and does not need to be in the same calendar
          week.

   Where can I find...
     • Vaccination sites: www.nvc.eov/vaccinefinder
     • Vaccination appointments: www.vax4nvc.nvc.eov and 877-VAX-4-NYC
     • How to schedule an at home vaccine appointment: www.nvc.eov/homevaccine and 877-VAX-4-
          NYC
     • A testing site: www.nyc.gov/covidtest
     • A City-run testing site: www.nvchealthandhospitals.ore/test-and-trace/testine/
     • A doctor or nurse to talk with about my vaccination concerns: call 311 and ask to talk to a
          clinician about COVID-19 vaccination
     • Assistance for New Yorkers experiencing Long COVID: www.nvc.eov/aftercare
     • CPO Privacy Guidance dated 7/30/21 contact PrivacyOfficer@cityhall.nyc.gov




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   Appendix: Phases

   On August 2nd: Clinical settings
      • Health + Hospitals
              o All employees and contractors
      • DOHMH
              o All clinic-based employees and contractors

   On August 16th: Residential and Congregate Programs, including the following agencies and their
   contractors.
           • ACS
               o Residential juvenile justice programs (Secure and nonsecure detention, close to home)
               o Residential foster care
               o The Children's Center
           • DFTA
               o Senior Centers
               o NORCS
               o Social Adult Day Cares
           • DHS
                  o Shelter (family, adult, safe havens, etc.)
                  o Drop in Centers
           • DOC
               o Jails
           • DOHMH
               o Supportive housing
           • DYCD
               o RHY Shelter
               o Drop in center
           • HRA
               o DV Shelter
               o HASA shelter/supportive housing
           • MOCJ
               o Transitional housing sites

   On September 13th: ALL City Workforce and Certain Contracted Employees
          • All City employees
          • All City interns and volunteers working in person and indoors with service recipients or
             working in person and indoors with City employees.
          • All contracted employees interacting with members of the public or City employees




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                  Municipal Labor Committee
______________________ 55 Water Street, 23rd F loor/N ew York, NY 10041 7(212)815-1474__________________


C HAIRPERSON
HARRY NESPOLI                                                                             August 12, 2021
Local 831, I.B.T. Uniformed
Sanitationmen’s Association, AFL-CIO

CO-CHAIRPERSON
HENRY A. GARRIDO
District Council 37, AFSCME, AFL-CIO
                                             Hon. Dean Fuleihan
EXECUTIVE VICE-CHAIR
MICHAEL MULGREW                              First Deputy Mayor
                                             City ofNew York
United Federation ofTeachers, AFL-CIO


SECRETARY
GREGORY FLOYD
                                             City Hall
Local 237
City Employees Union, I.B.T., AFL-CIO
                                             New York, New York 10007
TREASURER
MARK CANNIZZARO                              Hon. Emma Wolfe
                                             Chief of Staff and
Council of School Supervisors &
Administrators


VICE CHAIRPERSONS
                                              Deputy Mayor for Administration
ANDREW ANSBRO
                                             City ofNew York
Uniformed Firefighters Association           City Hall
BENNY BOSCIO, JR.
Correction Officers’ BenevolentAssociation
                                             New York, New York 10007
BARBARA BOWEN
Professional Staff Congress
City University of New York
                                             Hon. Renee Campion
JOSPEH COLANGELO
                                             Commissioner
S.E.I.U. New York CityLocal 246              New York City Office of Labor Relations
ROBERTCROGHAN
Organization ofS taffA nalysts
                                             22 Cortlandt St.
JUDITH A. CUTCHIN
                                             New York, NY 10007
New York State Nurses Association

PAUL DIGIACOMO
Detectives’ Endowment Association
                                             Dear All:
JAMES LEMONDA
Local 854, Uniformed Fire Officers
Association, AFL-CIO
                                                    I write to express the severe concern—and great disappointment—of
MARTIN A. LYDON
                                             the MLC Union leaders on the lack of progress in arriving at a negotiated
District Council ofCarpenters, AFL-CIO       program to implement the City’s vaccine/testing policy.
WILLIAM M. LYNN
International Union ofOperating Engineers
Local 30, AFL-CIO                                     Several weeks ago, the City announced, without prior consultation or
JOSEPH MANNION
Sanitation Officers Association
                                             bargaining with the Unions, a policy that would require public employees
GLORIA MIDDLETON
                                             either to be vaccinated or be tested weekly to avoid suspension without pay.
Local 1180, NYC Administrative
Employees, CWA, AFL-CIO
                                             Despite this unilateral action, with an eye towards the unfortunate advance of
FRANK PROSCIA, M.D.
                                             the Delta variant, the MLC’s officers agreed to meet and discuss the proposed
Doctors Council                              policy with you and numerous other key City officials on July 28th. The tenor
PETER STEIN
Local 508, NYC Lifeguard Supervisors,
                                             of the discussion, we thought, was the City’s desire to work collaboratively
AFSCME, AFL-CIO                              with the Unions to navigate a path towards achieving the objectives of the
LOUIS TURCO
Lieutenants Benevolent Association
                                             policy.
MAF MISBAH UDDIN
Local 1407, NYC Accountants, Statisticians
& Actuaries, AFSCME, AFL-CIO
                                                     City leadership collectively asked the Union leaders to provide
ANTHONY WELLS
                                             proposals and raise concerns, which we did. Primary among those concerns
Local 371, Social Service Employees,
AFSCME, AFL-CIO
                                             was the major logistical hurdle of providing timely and accessible testing to the
                                             likelyl00,000 City workers who, despite the encouragement of many
Executive Secretary
ELLEN MEDWID
                                             (including Union leaders), would opt out of vaccination for medical, religious
                                             and other reasons. This major dilemma, the Unions warned, would exist even
                                             if the policy was successful in encouraging a significant portion of the
                                             currently unvaccinated employees to vaccinate.
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Page 2... Vaccine/Testing Policy


        The MLC officers cautioned that logistics take time to work out, would necessarily be agency
specific in places and that, without proper planning, the City would be in a position ofhaving to order so
many employees home without pay that there would be insufficient staffing to carry out the duties required
to appropriately provide services to the residents of the City. We also raised fundamental questions,
including, with regard to testing, whether it would be performed at the work site and on work time, and if
not, where testing would be available and how workers would be compensated for complying with the
mandated policy.

          The discussion concluded on a hopeful note with the City agreeing to take back many of the
comments, concerns and suggestions for consideration and to continue the discussions with the Unions. T h a t
w a s tw o -weeks ago. While there have been sporadic discussions with some, MLC inquiries regarding these
essential matters have essentially gone unanswered. This is unacceptable.

        The MLC and its leaders have been firm and consistent that while the Unions support encouraging
vaccination (and have made considerable efforts on their own to encourage their members to vaccinate), they
will not abdicate their legal right and responsibility to protect the rights of workers to opt for either
vaccination or testing, to be held harmless for both the time and cost of testing and vaccination, and to have a
fair process for any form of discipline. Make no mistake, despite calling this a vaccination policy, the City’s
proposal creates a new criterion and process for discipline that would allow agencies to suspend workers
without pay and without the typical forms of due process provided for under collective bargaining
agreements and law.

       Accordingly, we seek a prompt meeting to continue this vital discussion. In the meantime, no policy
should be implemented before it is negotiated.


                                                                     Sincerely,



                                                                     Harry Nespoli
                                                                     Chair

cc:    Henry Garrido
       Co-Chair
       District Council 37

       Michael Mulgrew
       Executive Vice Chair
       United Federation ofTeachers

       Gregory Floyd
       Secretary
       Focal 237, City Employees Union

       Mark Cannizzaro
       Treasurer
       Council of School Supervisors & Administrators
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                  Municipal Labor Committee
______________________55 Water Street, 23rd Floor/N ew York, NY 10041 /(212)815-1474_________________


C HAIRPERSON
HARRY NESPOLI                                                                        August 17, 2021
Local 8 3 1 ,1.B.T. Uniformed
Sanitationmen’s Association, AFL-CIO

CO-CHAIRPERSON
H ENRY A. GARRIDO
District Council 37, AFSCME, AFL-CIO

EXECUTIVE VICE-CHAIR
                                              Hon. Dean Fuleihan
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United Federation of Teachers, AFL-CIO
                                              First Deputy Mayor City of New York
                                              City Hall
SECRETARY
GREGORY FLOYD
                                              New York, New York 10007
Local 237
City Employees Union, I.B.T., AFL-CIO

TREASURER
                                              Hon. Emma Wolfe
MARK CANNIZZARO
Council ofSchool Supervisors &
                                              Chief of Staff and
Administrators                                Deputy Mayor for Administration
VICE CHAIRPERSONS                             City of New York
ANDREW ANSBRO                                 City Hall
Uniformed Firefighters Association
                                              New York, New York 10007
BENNY BOSCIO, JR.
Correction Officers’ Benevolent Association

BARBARA BOWEN                                 Hon. Renee Campion
Professional Staff Congress
City University of New York                   Commissioner
JOSPEH COLANGELO                              New York City Office of Labor Relations
S.E.I.U. New York CityLocal 246
                                              22 Cortlandt St.
ROBERTCROGHAN
Organization ofStaffAnalysts                  New York, NY 10007
J UDITHA. CUTCHIN
New York State Nurses Association

PAUL DIGIACOMO
Detectives’ Endowment Association             Dear All:
JAMESLEMONDA
Local 854, Uniformed Fire Officers
Association, AFL-CIO                                 As I have written before, the MLC and its constituent
MARTINA. LYDON
District Council of Carpenters, AFL-CIO
                                              Unions believe strongly that it was inappropriate for the City to
WILLIAM M. LYNN
                                              have announced the vaccination/testing policy without having
International Union ofOperating Engineers
Local 30, AFL-CIO
                                              met first with the Unions. Nonetheless, we have been working
JOSEPH MANNION
                                              with you on the policy and have sought follow-up meetings, in
Sanitation Officers Association
                                              particular regarding the testing component of the policy.
G LORIA MIDDLETON
Local 1180, NYC Administrative
Employees, CWA, AFL-CIO
                                                    We are hearing now that the City is considering jettisoning
FRANK PROSCIA, M.D.
Doctors Council                               the vaccination/testing program before it has even started in
PETER STEIN                                   favor of an across the board vaccination mandate. To be clear,
Local 508, NYC Lifeguard Supervisors,
AFSCME, AFL-CIO                               any such unilateral action would be improper and a violation of
LOUIS TURCO                                   the City’s duty to bargain pursuant to the Taylor Law, the New
Lieutenants Benevolent Association
                                              York City Collective Bargaining Law and various collective
MAF MISBAH UDDIN
Local 1407, NYC Accountants, Statisticians    bargaining agreements.
& Actuaries, AFSCME, AFL-CIO

ANTHONY WELLS
Local 371, Social Service Employees,                 Should the City move to unilaterally implement a
AFSCME, AFL-CIO
                                              vaccination mandate without the option for regular testing in
Executive Secretary
ELLEN MEDWID
                                              lieu of vaccination, the MLC and likely various individual Unions
                                              would be compelled to take appropriate steps, including legal
                                              action, to protect the rights of their members.
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Page 2 ... V a c c in a tio n /T e stin g Program


      We look forw ard to c o n tin u in g w orking collab oratively on th e v a c c in a tio n /te s tin g
program .


                                                         S in cerely ,



                                                          Harry N esp o li
                                                          C hair

cc:    H enry Garrido
       C o-C hair
       D istrict C ou n cil 3 7

       M ich ael M ulgrew
       E x ecu tiv e Vice C hair
       U n ited F ed eration o f T ea ch ers

       G regory Floyd
       S ecretary
       Local 2 3 7 , City E m p lo y ees U n ion

       M ark C annizzaro
       T reasurer
       C ou n cil o f S c h o o l S u p e rv iso r s & A d m in istrators
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                            ORDER OF THE COMMISSIONER
                           OF HEALTH AND MENTAL HYGIENE
                        TO REQUIRE COVID-19 VACCINATION FOR
                             DEPARTMENT OF EDUCATION
                        EMPLOYEES, CONTRACTORS, AND OTHERS


          WHEREAS, on March 12,2020, Mayor Bill de Blasio issued Emergency Executive Order
  No. 98 declaring a state of emergency in the City to address the threat posed by COVID-19 to the
  health and welfare of City residents, and such order remains in effect; and
         WHEREAS, on March 25, 2020, the New York City Commissioner of Health and Mental
  Hygiene declared the existence of a public health emergency within the City to address the
  continuing threat posed by COVID-19 to the health and welfare of City residents, and such
  declaration and public health emergency continue to be in effect; and
         WHEREAS, pursuant to Section 3.01(d) of the New York City Health Code (“Health
  Code”), the existence of a public health emergency within the City as a result of COVID-19, for
  which certain orders and actions are necessary to protect the health and safety of the City of New
  York and its residents, was declared; and
           WHEREAS, pursuant to Section 558 of the New York City Charter (the “Charter”), the
   Board ofH ealth may embrace in the Health Code all matters and subjects to which the power and
   authority of the Department ofH ealth and Mental Hygiene (the “Department”) extends; and
          WHEREAS, pursuant to Section 556 of the Charter and Section 3.01(c) of the Health
   Code, the Department is authorized to supervise the control of communicable diseases and
   conditions hazardous to life and health and take such actions as may be necessary to assure the
   maintenance of the protection of public health; and
          WHEREAS, the U.S. Centers for Disease Control (“CDC”) reports that new variants of
  COVID-19, identified as “variants of concern” have emerged in the United States, and some of
  these new variants which currently account for the majority of COVID-19 cases sequenced in New
  York City, are more transmissible than earlier variants; and
          WHEREAS, the CDC has stated that vaccination is an effective tool to prevent the spread
   of COVID-19 and benefits both vaccine recipients and those they come into contact with, including
   persons who for reasons of age, health, or other conditions cannot themselves be vaccinated; and
          WHEREAS N ew Y ork State has announced that, as of September 27, 2021 all healthcare
  workers in New York State, including staff at hospitals and long-term care facilities, including
  nursing homes, adult care, and other congregate care settings, will be required to be vaccinated
  against COVID-19 by Monday, September 27; and
         WHEREAS, section 17-104 of the Administrative Code of the City of New York directs
  the Department to adopt prompt and effective measures to prevent the communication of infection
  diseases such as COVID-19; and
         WHEREAS, in accordance with section 17-109(b) of such Administrative Code, the
   Department may adopt vaccination measures in order to most effectively prevent the spread of
   communicable diseases; and
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             WHEREAS, pursuant to Section 3.07 of the Health Code, no person “shall do or assist in
   any act which is or may be detrimental to the public health or to the life or health of any individual”
   or “fail to do any reasonable act or take any necessary precaution to protect human life and health;”
   and
         WHEREAS, the CDC has recommended that school teachers and staff be “vaccinated as
  soon as possible” because vaccination is “the most critical strategy to help schools safely resume]
  full operations... [and] is the leading public health prevention strategy to end the COVID-19
  pandemic;” and
           WHEREAS the New York City Department ofEducation (“DOE”) serves approximately
   1 million students across the City, including students in the communities that have been
   disproportionately affected by the COVID-19 pandemic and students who are too young to be
   eligible to be vaccinated; and
        WHEREAS, a system of vaccination for individuals working in school settings or other
   DOE buildings will potentially save lives, protect public health, and promote public safety; and
          WHEREAS, pursuant to Section 3.01(d) of the Health Code, I am authorized to issue
  orders and take actions that I deem necessary for the health and safety of the City and its residents
  when urgent public health action is necessary to protect the public health against an existing threat
  and a public health emergency has been declared pursuant to such section; and
           WHEREAS, on July 21, 2021, I issued an order requiring staff in public healthcare and
   clinical settings to demonstrate proof of COVID-19 vaccination or undergo weekly testing; and
         WHEREAS, on August 10, 2021,1 issued an order requiring staff providing City operated
  or contracted services in residential and congregate settings to demonstrate proof of COVID-19
  vaccination or undergo weekly testing;
         NOW THEREFORE I, Dave A. Chokshi, MD, MSc, Commissioner of Health and Mental
  Hygiene, finding that a public health emergency within New York City continues, and that it is
  necessary for the health and safety of the City and its residents, do hereby exercise the power of
  the Board of Health to prevent, mitigate, control and abate the current emergency, and hereby order
  that:

       1. No later than September 27, 2021 or prior to beginning employment, all DOE staff must
          provide proof to the DOE that:
             a. they have been fully vaccinated; or
             b. they have received a single dose vaccine, even if two weeks have not passed since
                 they received the vaccine; or
             c. they have received the first dose of a two-dose vaccine, and they must additionally
                 provide proof that they have received the second dose of that vaccine within 45
                 days after receipt of the first dose.

      2. All City employees who work in-person in a DOE school setting or DOE building must
         provide proof to their employer no later than September 27, 2021 or prior to beginning
         such work that:
             a. they have been fully vaccinated; or
             b. they have received a single dose vaccine, even if two weeks have not passed since
                they received the vaccine; or
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             c. they have received the first dose of a two-dose vaccine, and they must additionally
                provide proof that they have received the second dose of that vaccine within 45
                days after receipt of the first dose.

     3. All staff of contractors of DOE and the City who work in-person in a DOE school setting
        or DOE building, including individuals who provide services to DOE students, must
        provide proof to their employer no later than September 27, 2021 or prior to beginning
        such work that:
            a. they have been fully vaccinated; or
            b. they have received a single dose vaccine, even if two weeks have not passed since
                they received the vaccine; or
            c. they have received the first dose of a two-dose vaccine, and they must additionally
                provide proof that they have received the second dose of that vaccine within 45
                days after receipt of the first dose.

        Self-employed independent contractors hired for such work must provide such proof to the
        DOE.

     4. All employees of any school serving students up to grade 12 and any UPK-3 or UPK-4
        program that is located in a DOE building who work in-person, and all contractors hired
        by such schools or programs to work in-person in a DOE building, must provide proof to
        their employer, or if self-employed to the contracting school or program, no later than
        September 27, 2021 or prior to beginning such work that:
            a. they have been fully vaccinated; or
            b. they have received a single dose vaccine, even if two weeks have not passed since
               they received the vaccine; or
            c. they have received the first dose of a two-dose vaccine, and they must additionally
               provide proof that they have received the second dose of that vaccine within 45
               days after receipt of the first dose.

     5. For the purposes of this Order:

        a.      “DOE staff’ means (i) full or part-time employees of the DOE, and (ii) DOE interns
                (including student teachers) and volunteers.

        b.      “Fully vaccinated" means at least two weeks have passed after a person received a
                single dose of a one-dose series, or the second dose of a two-dose series, of a
                COVID-19 vaccine approved or authorized for use by the Food and Drug
                Administration or World Health Organization.

        c.      “DOE school setting” includes any indoor location, including but not limited to
                DOE buildings, where instruction is provided to DOE students in public school
                kindergarten through grade 12, including residences of pupils receiving home
                instruction and places where care for children is provided through DOE’s LYFE
                program.



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            d.        “Staff of contractors of DOE and the City” means a full or part-time employee,
                      intern or volunteer of a contractor of DOE or another City agency who works in-
                      person in a DOE school setting or other DOE building, and includes individuals
                      working as independent contractors.

            e.        “Works in-person” means an individual spends any portion of their work time
                      physically present in a DOE school setting or other DOE building. It does not
                      include individuals who enter a DOE school setting or other DOE location only to
                      deliver or pickup items, unless the individual is otherwise subject to this Order. It
                      also does not include individuals present in DOE school settings or DOE buildings
                      to make repairs at times when students are not present in the building, unless the
                      individual is otherwise subject to this Order.

      6. This Order shall be effective immediately and remain in effect until rescinded, subject to
         the authority of the Board of Health to continue, rescind, alter or modify this Order pursuant
         to Section 3.01(d) ofthe Health Code.




   Dated:        August 24th. 2021
                                                            Dave A. Chokshi, M.D., MSc
                                                            Commissioner




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                 Case 23-655, Document 73, 06/05/2023, 3525005, Page255 of 286
                                                   JA-783
Case 1:21-cv-06387-KAM -LB            Document 21-2          Filed 11/19/21    Page 2 of 2 PagelD #: 1350

                                        STATE OF NEW YORK
                               PUBLIC EMPLOYMENT RELATIONS BOARD
                                                 PO BOX 2074
                                        ESP AG ENCY BLDG 2, F L S 1 8 & 20
                                         ALBANY, NEWYORK12220-0Q74
                                              TEL: (518) 457-2690
                                              (518) 457-6433 (fax)
  JOHN F. WIRENIUS                              www .perb.ny.gov                       WILLIAM M. CONLEY
    CHAIRPERSON                                                                        ACTING DIRECTOR
                                                                                    O FFICE OF CONCILIATION

                                                                                      September 3, 2021

  MEISHA PORTER                                       MICHAEL MULGREW
  CHANCELLOR                                          PRESIDENT
  NYC BOARD OF EDUCATION                              UNITED FEDERATION OF TEACHERS
  52 CHAMBERS STREET                                  52 BROADWAY
  NEWYORK, NY 10007                                   NEWYORK, NY 10004
  212-374-6000                                        212-598-9215




                                          APPOINTMENT OF MEDIATOR



         Re:       CASENO.M2021-064
                   NYC BD OF EDUCATION & UNITED FEDERATION OF TEACHERS


               The mediator appointed forthe above-referenced case is:

                           MARTIN F. SCHEINMAN
                           322 MAIN STREET
                           POINT WASHINGTON, NY 11050
                           516-944-1700


             The mediator has been instructed to contact you directly to make arrangements for mediation
 meetings.

          Upon receipt of this letter, please mail Martin Scheinman a copy ofyour party’s bargaining proposals and
 a copy ofthe parties’ most recent collective bargaining agreement. If the impasse involves interest arbitration
 eligible employees and the parties have received an interest arbitration award since their last negotiated collective
 bargaining agreement, include a copy ofthe interest arbitration award.

         May we remind you that the Mediator is limited to THREE days unless additional time is expressly
 approved by the Director of Conciliation. Because ofthese limits, we suggest that you concentrate on those
 issues of high priority which can be handled in a limited manner.

                                                                                    WILLIAM M. CONLEY
                                                                                    Acting Director of Conciliation


 cc:     Martin F. Scheinman
                   Case 23-655, Document 73, 06/05/2023, 3525005, Page256 of 286
                                                                       JA-784

C ase 1:21-cv-06387-KAM-LB                             Document 21-3         Filed 11/19/21   Page 2 of 2 PagelD #: 1352



   F ro m :            K lin q er, A la n M.
   To:                 w c o n le v ® D e rb .n y .g o v
   C c:                S te v e B an ks fO L R I: B eth A. N o rto n
   S u b je c t:       U F T / D O E Im p a s se U p d a te
   D a te :            M o n d a y , S e p t e m b e r 6 , 2021 2:08:10 PM




  We write to advise you that PERB-appointed mediator Martin Scheinman held
  (virtual) mediation sessions with the parties on each of September 2, 3, 4 and 5, with
  some days having multiple sessions. While progress was made, with the start of the
  school year imminent along with the vaccine-related mandates scheduled to
  commence on Sept. 13th and Sept. 27th, respectively, the parties have agreed to move
  to an expedited arbitration due to the exigencies of these circumstances and fairness
  to the affected workforce. Arbitration sessions are being held on Sept. 6th. We will
  keep PERB apprised as to status.



  Alan M. Klinger
   Co-Managing Partner
   (he | him | his)

   STROOCK
   180 Maiden Lane, NewYork, NY 10038
   D: 212.806.5818
   M: 646.468.7793

   aklinger@stroock.com | vCard | www.stroock.com
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       Case 1:21-cv-06387-KAM-LB Document 21-6                   Filed 11/19/21 Page 2 of 17 PagelD #: 1390




                                                                    September 15,2021

           Via E-Mail Only
           Renee Campion, Commissioner
           Steven H. Banks, Esq.
           New York City Office of Labor Relations
           The Office of Labor Relations
           22 Cortlandt Street, 14th Floor
           New York, NY 10007

           Susan Davis, Esq.
           Cohen, Weiss and Simon, L.L.P.
           900 Third Avenue, Suite 2100
           New York NY 10022

           Re:          Board of Education of the City School District of the City of New York
                        and
                        International Brotherhood of Teamsters, Local 237
                        (Impact Bargaining)

           Dear Counsel:

                        Enclosed please find my Award in the above referenced matter.

                        Thank you.




          MFS/sk
          BO&Local 237Tmpact Bargaining, trans




322 Main Street ♦         Port Washington. MY 11050 ♦   516.944.1700 ♦   fax: 516.944.1771 ♦   www.ScheinmanNeutrals.com
            Case 23-655, Document 73, 06/05/2023, 3525005, Page258 of 286
                                      JA-786

Case l:21-cv-06387-K A M -LB   Document 21-6   Filed 11/19/21   Page 3 of 17 PagelD #: 1391


                                                    X
   In the Matter of the Arbitration
                                                    X
                 between
                                                    X
   BOARD OF EDUCATION OF THE CITY                               Re:   Impact Bargaining
   SCHOOL DISTRICT OF THE CITY OF                   X
   NEW YORK
                                                    X
                         "Department"
                                                    X
                 -and-
                                                    X
   INTERNATIONAL BROTHERHOOD OF
   TEAMSTERS, LOCAL 237                             X

                         "Union"                    X

                                                    X


  APPEARANCES


         For the Department
           Renee Campion, Commissioner of Labor Relations
           Steven H. Banks, Esq., First Deputy Commissioner
           and General Counsel of Labor Relations




         For the Union
         COHEN, WEISS AND SIMON,        L .L .P .
           Susan Davis, Esq.




  BEFORE:    Martin F. Scheinman,       Esq., Arbitrator
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                                           JA-787

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                                      BACKGROUND


          The Union       ("Union" or "Local 237") protests the Department of

   Education's       ("Department" or "DOE")           failure to reach agreement on

   the    impact     of   its   decision    mandating         all    employees      working    in

   Department        buildings      show    proof          they     started     the     Covid-19

  vaccination protocols by September 27, 2021.                       The Union contends the

   Department      failed to adequately provide,                  among   other    things,    for

  those     instances      where   employees        have    proof    of a     serious medical

  condition making the vaccine a danger to their health,                              as well as

  for employees who have a legitimate religious objection to vaccines.

          The basic facts are not in dispute.

          A mediation session was held with the parties on September 14,

  2021.     Thereafter, an arbitration hearing was before me on September

  15, 2021.        During the course of the arbitration hearing, both sides

  were given full opportunity to introduce evidence and argument in

  support of their          respective positions.            They did so.         Both parties

  made strenuous and impassioned arguments reflecting their viewpoints

  on this entire issue.

          On September       10,   2021,   I issued an Award resolving the same

  issues    for the       Department and the United Federation of Teachers.

  ("UFT Award") .         I am hereby adopting the findings and application of

  the UFT Award to the issues before me in this proceeding.

          However,    because the Collective Bargaining Agreement                        ("CBA")

  between the Department and Local 237 contains different terms and

  conditions than UFT employee,            I have modified this Award in two (2)
                                                2
               Case 23-655, Document 73, 06/05/2023, 3525005, Page260 of 286
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   aspects.           In order to give Local 237 members ample to file a request

   for an exemption or accommodation, the time to do so will be extended

   by one       (1) day, until the close of business Tuesday,                       September 21,

   2021.        In addition,         I have modified the Maternity/Parental                      Leave

   provision set forth in Section II, E, to comply with the terms of

   the parties'             CBA.    In all other respects,              this Award and the UFT

  Award are identical.

  Opinion

           After       having      carefully     considered       the    record    evidence,      and

  after     having          the parties    respond        to   countless     inquiries.     I have

  requested to permit me to make                    a final determination,               I make the

  rulings set forth below. While some of the language has been drafted,

  initially, by the parties in response to my rulings, in the

  end the language set forth,                   herein,    is mine alone and I issue the

  following Award:

  I.      Exemption and Accommodation Requests & Appeal Process

          As     an    alternative       to any     statutory      reasonable      accommodation

  process, the City of New York                   (the "City"), the Board of Education

  of the City School District for the City of New York                               (the "DOE") ,

  and Local 237, International Brotherhood of Teamsters ("Local 237"),

  (collectively             the    "Parties")     shall    be    subject      to   the    following

  Expedited Review Process to be implemented immediately for full-time

  staff Employed by the DOE and School Safety Agents employed by the

  New York City Police Department                    ("NYPD"). This process shall only

  apply     to        (a)    religious    and    medical        exemption     requests      to    the

                                                    3
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   mandatory vaccination policy, and (b) medical accommodation requests

   where an employee is unable to mount an immune response to COVID-19

   due to preexisting immune conditions. This process shall be in place

   for the 2021-2022 school year and shall only be extended by mutual

  agreement of the Parties.

        Any requests to be considered as part of this process must be

  submitted via the SOLAS system for DOE employees or on a form created

  by NYPD to the Office of the Deputy Commissioner, Equity & Inclusion

  for NYPD employees,        no later than 5:00 p.m.           on Tuesday,       September

  21 , 2021 .

        A. Full Medical Exemptions to the vaccine mandate shall only be

           considered        where     an        individual       has    a      documented

           contraindication such that an individual cannot receive any

           of    the   3 authorized     vaccines      (Pfizer,     Moderna,     J&J)— with

           contraindications delineated in CDC clinical considerations

           for    COVID-19     vaccination.         Note   that    a    prior   immediate

           allergic reaction to one type of vaccine will be a precaution

           for the other type of vaccine, and may require consultation

           with an allergist.

        B. Temporary Medical         Exemptions     to the vaccine mandate          shall

           only be based on the following valid reasons to defer or

           delay COVID-19 vaccination for some period:

           o Within the isolation period after a COVID-19 infection;

           o Within ninety       (90) days of monoclonal antibody treatment

                of COVID-19;

                                             4
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            o   Treatments for        conditions as delineated in CDC clinical

                considerations,       with     understanding          CDC     guidance      can    be

                updated to include new considerations over time,                             and/or

                determined by a treating physician with a valid medical

                license     responsible      for       the   immunosuppressive             therapy,

                including     full    and    appropriate           documentation       that       may

                warrant   temporary medical             exemption       for    some period         of

                time because of active therapy or treatment                          {e.g.,    stem

                cell    transplant,         CAR        T-cell       therapy)      that        would

                temporarily     interfere          with      the    patient's        ability      to

                respond adequately to vaccination;

           o    Pericarditis or myocarditis not associated with COVID-19

                vaccination or pericarditis or myocarditis associated with

                COVID-19 vaccination.              '

        Length of delay for these conditions may vary, and the employee

  must get vaccinated after that period unless satisfying the criteria

  for a Full Medical Exemption described, above.



        C. Religious      exemptions for an employee to not adhere to the

           mandatory vaccination policy must be documented in writing

           by a religious official             (e.g.,        clergy).    Requests      shall be

           denied where the leader of the religious                          organization has

           spoken      publicly      in     favor      of     the    vaccine,        where     the

           documentation      is     readily       available        (e.g.,    from    an    online

           source), or where the objection is personal,                         political,        or

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            philosophical       in     nature.           Exemption      requests          shall    be

            considered       for     recognized            and      established           religious

            organizations      (e.g., Christian Scientists).

         D. There are cases in which, despite an individual having sought

           and received the full course of the vaccination,                               he or she

           is unable to mount           an immune          response to COVID-19              due to

           preexisting immune conditions.                  In these circumstances, each

           individual        case       shall        be      reviewed         for         potential

           accommodation.            Medical       accdmmodation           requests        must    be

           documented in writing by a medical doctor.

        E. The initial determination of eligibility for an exemption or

           accommodation shall be made by staff in the Division of Human

           Capital in the Office of Medical,                     Leaves and Benefits;             the

           Office    of     Equal     Opportunity;           and      Office        of     Employee

           Relations. These determinations shall be made in writing no

           later than       Thursday,    September          23,    2021,     and,    if denied,

           shall include a reason for the denial.

        F. If the employee wishes to appeal a determination under the

           identified criteria,         such appeal shall be made in SOLAS to

           the DOE    for DOE employees              and to the NYPD Office of the

           Deputy Commissioner,         Equity & Inclusion for NYPD employees

           within one school day of the agency's issuance of the initial

           eligibility determination.                The     request      for appeal         should

           include   the     reason      for       the     appeal     and    any         additional

           documentation.      Following           the    filing     of     the     appeal,       any

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            supplemental documentation may be submitted by the employee

            to the Scheinman Arbitration and Mediation Services ("SAMS")

            within 48 hours after the filing of the appeal. If the stated

            reason for denial of a medical                exemption or accommodation

            request    is   insufficient         documentation,         the   employee    may

           request from the arbitrator and, upon good cause shown, the

           arbitrator may grant an extension beyond 48 hours and permit

           the use of sick and/or annual leave after September 27 for

           the employee to gather the appropriate medical documentation

           before the appeal is deemed submitted for determination.

        G. A panel of arbitrators identified by SAMS shall hear these

           appeals,    and may request           that    the employee or the         agency

           submit additional documentation. The assigned arbitrator may

           also request information from City and/or DOE doctors as part

           of the     review of the        appeal    documentation.           The assigned

           arbitrator,      at   his/her     discretion,        will     either   issue       a

           decision on the appeal based on the documents submitted or

           hold an expedited        (virtual)       factual hearing.          If the panel

           requests a factual hearing, the employee may elect to have a

           union    representative     present          but   neither    party    shall    be

           required to be represented by an attorney at the hearing.

           The     expedited     hearing     shall       consist    of    brief    opening

           statements, questions from the arbitrator, and brief closing

           statements.      Cross   examination         shall not be permitted.           Any

          documentation submitted at the Arbitrator's request must be

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            provided to the agency at least one business day before the

            hearing       or   the      issuance         of    the    written             decision      without

            hearing.      Appeal        decisions        shall be issued to the employee

            and the DOE no later than Saturday September 25, 2021. Appeal

            decisions shall be expedited without full Opinion, and final

            and binding.

         H. Appeal    decisions          shall be issued to the employee                                and the

            agency no later than Saturday September 25th Appeal decisions

            shall    be     expedited         without          full       Opinion,          and    final      and

            binding. The DOE and/or the City shall cover all arbitration

            costs    from      SAMS      under       this      process.              To    the    extent      the

            arbitrator         requests        additional            medical              documentation        or

            information from the DOE,                    or consultation with City and/or

            DOE   Doctors,        arranging         and paying             for       such    documentation

            and/or consultation shall be the responsibility of the DOE.

         I. While an appeal is pending,                       the exemption shall be assumed

           granted and the individual shall remain on payroll consistent

           with     Section        K    below.       However,             if     a    larger      number      of

           employees        than       anticipated            has     a    pending           appeal      as   of

           September 27, as determined by SAMS, SAMS may award different

           interim relief consistent with the parties'                                       intent.      Those

           employees        who        are   vaccinated             and        have       applied       for   an

           accommodation          will       have    the      ability           to    use        sick   and/or

           annual leave while their application and appeal are pending,

           should     the      appeal        be     granted,         these           employees       will     be

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            reimbursed any sick and/or annual leave used retroactive to

            the date of their initial application.

         J. The employing agency shall cover all arbitration costs from

            SAMS under this process.              To the extent that the arbitrator

            requests      additional    medical       documentation      or    information

            from    the     agency,   or     consultation      with    City    and/or     DOE

            doctors, arranging and paying for such documentation and/or

            consultation shall be the responsibility of the agency.

         K. An employee who is granted a medical or religious exemption

            or a medical accommodation under this process and within the

            specific      criteria    identified above         shall be permitted the

            opportunity to remain on payroll while the exemption and/or

            accommodation is in place, but in no event required/permitted

            to enter a school building while unvaccinated,                     as long as

            the    vaccine    mandate   is    in    effect.    In   order     to   keep   the

            employee on payroll, the agency may, in its discretion:

            I.       Assign the employee to work outside of a school

           building       (e.g., at DOE administrative offices for DOE

           employees, or at other NYPD locations for NYPD employees)

           to perform functions as determined by the agency.

           II.       Assign the employee to work on alternative shifts,

           with no payment of any shift differentials.

           III.      Temporarily detail the employee to perform work for

           another City agency which is not subject to a vaccination

           mandate.


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         L. For       those    with      underlying      medical       issues       granted    an

              accommodation under Section I{D), the agency will make best
         .                        t
              efforts to ensure that the alternate work setting is

              appropriate      for the employee's medical needs.                     The agency

              shall make best efforts to make these assignments within the

              same borough as the employee's current school, to the extent

             such      assignment        exists.       DOE    employees         assigned      to

             alternative assignments shall be required to submit to COVID

             testing twice per week for the duration of the assignment.

             NYPD employees so assigned shall be required to comply with

             the NYPD's testing policy for unvaccinated employees.

         M. The process set forth herein shall constitute the exclusive

             and    complete       administrative       process       for    the    review    and

             determination         of     requests      for       religious        and   medical

             exemptions       to      the    mandatory        vaccination          policy     and

             accommodation requests where the requested accommodation is

             that the employee not appear at school.                        The process shall

             be deemed complete and final upon the issuance of an appeal

             decision.    Should        either   party have        reason     to believe      the

             process    set forth herein is not being implemented in good

             faith,    it may bring a claim directly to SAMS for expedited

             resolution.




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   II.     Leave


      A. Any unvaccinated           employee who has not requested an exemption

           pursuant to Section 1, or who has requested an exemption which

           has been denied, may be placed by the agency on leave without

           pay effective September 28,               2021,     or upon denial        of appeal,

           whichever is later, through November 30, 2021.                      Such leave may

           be unilaterally imposed by the agency and may be extended at

           the request        of the employee        consistent       with Section       III( B ) ,

           below.

      B.   .Except as otherwise noted herein, this leave shall be treated

           consistent        with   other   unpaid    leaves     at   the     agency    for    all

           purposes.

      C. During such leave without pay, employees shall continue to be

           eligible     for    health   insurance.        As   with   other    agency     leaves

           without pay, employees are prohibited from engaging in gainful

           employment during the leave period.

      D.   Employees who become vaccinated while on such leave without pay

           and provide appropriate documentation to the agency prior to

           November 30, 2021 shall have a right of return to employment as

           soon    as   is    practicable    but     in   no   case   more    than     one    week

           following notice and submission of documentation to the agency.

     E.    Pregnancy/Parental Leave

           i.     Any soon-to-be birth mother who starts the third trimester

                  of pregnancy on or before September 27, 2021                   (e.g. has a

                  due date no later than December 27,                  2021) , may utilize
                                                11
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                  sick leave,      annual leave, and/or compensatory time prior

                  to the child's birth date, but not before September 27,

                  2021.     Upon giving birth,           they may be eligible for paid

                  family leave in accordance with existing law and rules,

         ii.     No documentation shall be necessary for this use of accrued

                 leave,   other than a doctor's written assertion that the

                 employee    is in her third trimester as of September 27,

                 2021.

       n r .     Eligible    the    event   that     an    eligible        employee       exhausts

                 accrued leave prior to giving birth,                     that employee shall

                 be placed on a leave without pay, but with medical benefits

                 at least until the birth of the child.                          As applicable,

                 unvaccinated      employees       may    be    placed      in    the   leave   as

                 delineated in Section II(A).

        IV.      Eligible    employees      who    have    a    pregnancy        disability     or

                 maternity    disability      outside          of   the    regular      maternity

                 period   may,     in   accordance       with       existing     rules,    borrow

                 CAR/sick days and use a Grace Period.                    This eligibility to

                 borrow CAR/sick days does not apply to employees during

                 the regular maternity recovery period if they have opted

                 to use Parental Leave.

         V.     All other eligibility and use rules regarding use of sick

                 leave, annual leave, compensatory time, paid family leave,

                 and FMLA remain in effect.




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   I II. Separation

      A.    During the period of September,                  28,    2021 through October 29,

            2021 any employee who is on leave without pay due to vaccination

            status may opt to separate from the agency. In order to separate

           under this Section and receive the commensurate benefits,                             an

           employee must file a form created by the agency which includes

           a waiver of the employee's rights to challenge the employee's

           involuntary resignation, including, but not limited to, through

           a contractual or statutory disciplinary process. If an employee

           opts to separate        consistent with this                Section,     the employee

           shall be eligible to be reimbursed for unused sick leave on a

           one-for-one basis,       up to 100 days,                 to be paid following the

           employee's separation with documentation including the general

           waiver and release.          Employees who elect this option shall be

           deemed to have     resigned      involuntarily effective                  on the date

           contained in the general waiver as determined by the agency,

           for non-disciplinary reasons.               An employee who separates under

           this Section shall continue to be eligible for health insurance

           through September 5, 2022,            unless they have health insurance

           available   from another        source          (e.g.,    a spouse's      coverage    or

           another job) . During the period of November                       1,    2021' through

           November 30, 2021, any employee who is on leave without pay due

           to vaccination status may alternately opt to extend the leave

           through    September    5,    2022.        In    order     to   extend    this     leave

           pursuant    to   this    Section,          and      continue      to     receive     the

                                                 13
           Case 23-655, Document 73, 06/05/2023, 3525005, Page271 of 286
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         commensurate benefits, an employee must file a form created by

         the DOE which includes          a waiver of the employee's rights to

         challenge the employee's voluntary resignation, including, but

         not limited to, through a contractual or statutory disciplinary

         process. Employees who select this option shall continue to be

         eligible     for    health   insurance      through      September     5,   2022.

         Employees    who    comply with the health           order and who      seek to

         return from this leave, and so inform the DOE before September

         5, 2022,    shall have a right to return to the same school as

         soon as is practicable but in no case more than two                    (2) weeks

         following notice to the DOE.             Existing rules regarding notice

         of leave intention and rights to apply for other leaves still

         apply.   Employees who have not returned by September 5, 2022,

         shall be deemed to have voluntarily resigned.

      B. During the period of November 1st through November 30,                      2021,

        any employee who        is on leave without pay due to vaccination

        status may alternately opt to extend the leave through September

        5, 2022. In order to extend this leave pursuant to this Section

        and continue to receive the commensurate benefits, an employee

        must file a form created by the agency which includes a waiver

        of the employee's rights to challenge the employee's voluntary

        resignation,        including,    but     not    limited      to,    through     a

        contractual    or statutory disciplinary process.                Employees who

        select this    option     shall continue        to be eligible       for health

        insurance through September 5, 2022. Employees who comply with

                                             14
                   Case 23-655, Document 73, 06/05/2023, 3525005, Page272 of 286
                                                    JA-800
Case l:21-cv-06387-KAM-LB              Document 21-6   Filed 11/19/21    Page 17 of 17 PagelD #: 1405

                the health order and who seek to return from this leave, and so

                inform the agency before September 5, 2022, shall have a right

                to return to the agency as soon as practicable but in no case

                more than two weeks following notice to the agency.                         Existing

                rules regarding notice of leave intention and rights to apply

                for other leaves still apply. Employees who have not returned

                by       September     5,    2022   will    be   deemed     to   have   voluntarily

                resigned.

         C. Beginning December 1, 2021, the agency will seek to unilaterally

                separate          employees who have not         opted    into   separation under

               Sections III(A)             and III(B). Except for the express provisions

               contained herein,             all parties retain all legal rights at all

               times relevant herein.



   September,           If.       2021 .




   STATE OF NEW YORK
                                                    ss .:
   COUNTY OF NASSAU


              I, MARTIN F. SCHEINMAN, ESQ., do hereby affirm upon my oath




  DOE.OFT.Impact Bargaining.awd


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 Case 23-655, Document 73, 06/05/2023, 3525005, Page273 of 286
                                        JA-801




                                                       9th day o f September, 2021

pr e s e n HON. LAURENCE L. LOVE
                            J.O.W.
NEW YORK SUPREME COURT
COUNTY OF NEW YORK

In the Matter o f the Application of:              :     Index No.   /■ S Y S fc ? /^

THE NEW YORK CITY MUNICIPAL LABOR
COMMITTEE; HARRY NESPOLI as President of                 ORDER TO SHOW CAUSE
UNIFORMED SANIT ATIONMEN ’S                              FOR A TEMPORARY
ASSOCIATION, LOCAL 83 i , 1ST; HENRY                     RESTRAINING ORDER AND
GARRIDO, as Executive Director o f DISTRICT              PRELIMINARY INJUNCTION
COUNCIL 37, AFSCME; MICHAEL MULGREW, as
President o f UNITED FEDERATION OF
TEACHERS; MARK CANNIZZARO as President of
                                                             f\
COUNCIL OF SCHOOL SUPERVISORS AND
ADMINISTRATORS; GREGORY FLOYD as
President o f INTERNATIONAL BROTHERHOOD
OF TEAMSTERS, LOCAL 237; JOSEPH MANNION
as President o f SANITATION OFFICERS’
ASSOCIATION, LOCAL 444; JOSEPH
COLANGELO as President o f SERVICE
EMPLOYEES INTERNATIONAL UNION, LOCAL
246; MARTIN LYDON as Civil Service Director o f
DISTRICT COUNCIL OF CARPENTERS; CHRIS
MONAHAN as President o f CAPTAINS
ENDOWMENT ASSOCIATION; LOUIS TURCO as
President o f LIEUTENANTS BENEVOLENT
ASSOCIATION; WILLIAM LYNN as Business
Manager o f INTERNATIONAL UNION OF
OPERATING ENGINEERS, LOCAL 30; DALVANIE
POWELL as President o f UNITED PROBATION
OFFICERS ASSOCIATION; JAMES MCCARTHY as
President o f UNIFORMED FIRE OFFICERS
ASSOCIATION, LOCAL 8 5 4 ,1.A.F.F.; IGNAZfO
AZZARA as President o f UNIFORMED
SANITATION CHIEFS ASSOCIATION; and
JOSEPH AZZOPARDI as Business Manager and
Secretary Treasurer o f DISTRICT COUNCIL NO. 9




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                                                         JA-802
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             PAINTERS & ALLIED TRADES,

                                               Petitioners,

             For a Judgment Pursuant to Article 78 o f the New York
             Civil Practice Law and Rules,

                       -against-


             THE CITY OF NEW YORK; NEW YORK CITY
             DEPARTMENT OF HEALTH AND MENTAL
             HYGIENE; THE BOARD OF EDUCATION OF THE
             CITY SCHOOL DISTRICT OF THE CITY OF NEW
             YORK,

             Respondents.


                       Upon review o f the annexed Verified Petition, verified on the 8th and 9th days of

             September 2021, and the exhibits annexed thereto, the Affirmation o f Emergency and in Support

             of Application for Temporary Restraining Order and Preliminary Injunction, dated September 9,

            2021, and the accompanying Memorandum o f Law, dated September 9, 2021, and for good

             cause shown, it is hereby:
                                                                                                                              &            ,
                                                                                                                         ti       U '.l * '1
                       ORDERED that Respondents show cause before this Court either virtually, or at the

             Supreme Court Courthouse in the County of New York, 60 Centre Street, New York, NY, in IAS
                 /     i                                                                 C_    j     ■               y
             PartC©_ as assigned by the Court and per the Court’s instmctinns^on              Sr    X 2 -. 2021 at
            u^                                                                     r \

                            or as soon thereafter as counsel may be heard, why an Order should not be made

             herein:

                       1.               Vacating as arbitrary, capricious and contrary to law the August 24, 2021 Order

             of the Commissioner o f Respondent New York City Department oftlealth and Mental Hygiene




                                                              2 of 3
             Case 23-655, Document 73, 06/05/2023, 3525005, Page275 of 286
                                                           JA-803
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            (the “Order")1;

                    2.        Enjoining Respondents from implementing the Order; and

                    3.     Granting such other and further relief as the Court may deem appropriate.
                                                                                ‘i l ' i l l l ' 1
                    IT IS FURTHER ORDERED that pending the hearingitpon the aforementioned

            Petition, Respondents are temporarily restrained from implementing the Order.
 <§•                SUFFICENT CAUSE APPEARING THEREFORE, IT IS ORDERED that leave is

            hereby granted to Petitioners to submit upon the return day o f this Order to Show Cause, and any

            subsequent day as shall be determined by the Court on said return day, such additional evidence,

            exhibits, legal memoranda and other proof as may be necessary.

                    IT IS FURTHER ORDERED, that service o f a copy of this Order together with the
                          ■                                                                    A-J
            papers upon which it is granted be made upon all Respondents by email or"personal service on or

            before the____ day o f                         . 2021; and that such method o f service shall be deemed

            good and sufficient service thereof.

                    IT IS FURTHER ORDERED that papers in response to the relief requested herein, if

            any, shall be filed on the NYSCEF system and e-mailed to Alan M. Klinger at

            aklinger@stroock.com and Dina Kolker at dkolker@stroock.com, on or before the ^ ^ day of

                               ,2021.                                                                     ■



            Signed this            day o f               , 2021, at New York, New York.


                         rv, M U             ..
                          '           . . A J,
                                                                             ENTER:
                                    v—


            1The Order is attached to the Verified Petition as Exhibit A

                                                                           H G N ..LA U R E N C tl Ll ^




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              Case 23-655, Document 73, 06/05/2023, 3525005, Page276 of 286
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
                                                          X
  BROECKER et al.,

                                  Plaintiffs,

          -against-
                                                                     IndexNo. 21-cv-6387

  NEW YORK CITY DEPARTMENT OF
  EDUCATION, et al.,

                                   Defendants.            :
                                   ..............         X


      DECLARATION OF BETH NORTON IN OPPOSITION TO PLAINTIFFS’
   APPLICATION FOR A TEMPORARY RESTRAINING ORDER AND PERMANENT
                            INJUNCTION


         Beth Norton, pursuant to 28 U.S.C. § 1746, declares the following to be true under

 penalty of perjury:

         1.       Ia m a n attorney duly admitted to practice in the State ofN ew York and not a

 party to the above-captioned action.

         2.       I am General Counsel of Defendant United Federation ofTeachers, Local 2, AFL-

 CIO (the “UFT”) in this matter.

         3.       I submit this declaration in opposition to Plaintiffs’ application for a temporary

 restraining order and permanent injunction.

         4.       I have personal knowledge of the matters set forth in this declaration, except for

 such matters as are based on my review of court files or other relevant documents, and I believe

 such matters to be true. If called as a witness, I would testify competently to the matters set forth

 in this declaration.
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         5.       On August 24, 2021, DOHMH imposed the first version of the DOE Vaccination

 Mandate, which requires all DOE staff, City employees, and contractors who “work in-person in

 a DOE school setting or DOE building” and others in City schools to - no later than September

 27, 2021 - provide proof that they have at least received the first dose of a vaccine.1

         6.      The UFT immediately moved on two parallel tracks: first, together with other

 City unions, bringing a challenge to the Mandate itself and the omission of medical and religious

 objections in New York State court on constitutional due process and other grounds; and, second,

 proceeding to expedited negotiations regarding the Mandate’s implementation.

         7.       On September 10, 2021, after expedited mediation and then arbitration between

 the UFT, the City and DOE, Arbitrator Martin F. Scheinman issued the decision (the “Award”)

 concerning the impact and implementation of the August 23, 2021 DOE Vaccination Mandate.

         8.      The Award is attached as Exhibit D to the Klinger Declaration.

         9.      The Award provides that, although the Mandate prevents unvaccinated employees

 form being in school buildings, no one would be summarily dismissed. Rather, the Award

 provides, inter alia, forthe following benefits:

              a. A procedure for applying for both medical and religious accommodations (see

                 Award at 7);

              b. A procedure for appealing the denial of said accommodations to a panel of

                 impartial arbitrators (see Award at 10);

              c. The ability to remain on payroll and continue to receive medical coverage while

                  such applications and appeals are pending (see Award at 11-12);




 1 Order of the Commissioner ofHealth and Mental Hygiene to Require COVID-19 Vaccination For Department of
 Education Employees. Contractors. Visitors, and Others. New York City Department ofHealth and Mental Hygiene
 (Aug. 24, 2021), https://wwwl.nyc.gov/assets/doh/downloads/pdf/covid/covid-19-vaccination-requirement-doe.pdf

                                                       2
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               d. For those not awaiting accommodation review, who declined to vaccinate, the

                  ability to elect non-disciplinary leave without pay that allows them to continue to

                  receive health benefits, and from which they could resume their position upon

                  vaccination (see Award at 13-14);

               e. The option to, within a specified window, elect to separate from the DOE, receive

                  an incentive payment, and have health benefits continue through September 5,

                  2022 (see Award at 16); and

               f. A prohibition on the DOE seeking to terminate any employee for noncompliance

                  until after December 1, 2021 (see Award at 17-18)

         10.      The DOE’s ability to seek termination is limited to those employees who, after

 December 1, 2021, have chosen to remain unvaccinated, and have not elected one of the options

 provided for in the Award.

         11.      The Award does not provide the DOE a unilateral right to summarily terminate

 employees. Rather, it recognizes that, after December 1, 2021, the DOE may choose to use

 available procedures to seek termination.

         12.      Following issuance of the Mandate, some UFT members reached out to the UFT

 to request that the union file grievances on their behalf.

         13.      Initially, the UFT considered the requests; however, given the binding protocols

 and procedures in the Award (the terms of which are incorporated into the UFT’s CBA) it was

 apparent that any grievances would lack merit.

         14.      Accordingly, the UFT advised inquiring members that procedures regarding

 unvaccinated employees were governed by the binding Award, which was circulated to members

 along with plain-language guidance of the Award’s terms. See Arbitrator rules in union’s favor



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 on medical accommodations. UFT (Sept. 10, 2021), https://www.uft.org/news/news-

 stories/arbitrator-rules-unions-favor-on-medical-accommodations

        15.     Moreover, the UFT informed its members that they were still able to file step 1

 grievances on their own.

        16.     Indeed, on November 11, 2021, prior to filing this Complaint, Plaintiff Jeannine

 Lam emailed the UFT requesting that it file grievances on her behalf for “stopping my pay

 without any ‘right to due process’ at all”; and for “8 unauthorized absences, so far, which have

 been put into the system under my name[.]” A true and correct copy ofPlaintiffLam ’s email

 chain with the UFT is attached hereto as Exhibit A.

        17.     In response, I replied:

                the DOE’s procedure for unvaccinated employees is governed by
                the September 10, 2021 interest arbitration award issued by
                Arbitrator Martin Scheinman (the “Award”). Under the Award,
                unvaccinated DOE employees have until November 30, 2021 to
                elect to either (1) separate from service or (2) remain on an unpaid
                leave through September 5, 2022. If an unvaccinated DOE
                employee does not select either of these options by the November
                30, 2021 deadline, the Award provides that as of December 1,
                2021, “the DOE shall seek to unilaterally separate employees who
                have not opted” to either separate from service or remain on an
                unpaid leave.

                At this time, the DOE has not announced the procedure it will seek
                to implement to “unilaterally separate” employees that do not elect
                to separate from service or extend their leave through September 5,
                2022 by the November 30, 2021 deadline. When the
                announcement is made, we will send a communication to all
                affected members explaining the next steps.

 See Ex. A.




                                                 4
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 C on clu sion

         18.            The UFT has been transparent with members regarding (a) their rights under the

 Award (which is incorporated by reference into the UFT’s CBA); and (b) UFT’s position that it

 will not file grievances that lack merit under the Award. Indeed, UFT has provided members not

 only with copies of the Award, but also with plain language explanations of same. Plaintiffs, and

 other employees, are still free to initiate step 1 grievances of their own accord.



  Dated: November 19, 2021                         Respectfully submitted,


                                                          /s/ BETH A. NORTON, ESQ.
                                                   UNITED FEDERATION OF TEACHERS
                                                   Beth A. Norton, Esq.
                                                   52 Broadway
                                                   New York, NY 10004
                                                   bnorton@uft.org

                                                   Counsel fo r Defendant UFT




                                                   5
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 From: Jeannine Lam <jlam682@yahoo.com>
 Sent: Friday, November 12, 2021 9:27 AM
 To: Beth A. Norton
 Subject: Re: Response to inquiry

 What do you mean by governed? Is the NYCDOE and the UFT required to enforce it?
 Sent from my iPhone

  On Nov 12, 2021, at 9:06 AM, Beth A. Norton <BNorton@uft.org> wrote:

 Ms. Lam,

 Thank you for reaching out. As you likely know, the DOE’s procedure for unvaccinated
 employees is governed by the September 10, 2021 interest arbitration award issued by Arbitrator
 Martin Scheinman (the “Award”). Under the Award, unvaccinated DOE employees have until
 November 30, 2021 to elect to either (1) separate from service or (2) remain on an unpaid leave
 through September 5, 2022. If an unvaccinated DOE employee does not select either of these
 options by the November 30, 2021 deadline, the Award provides that as ofDecember 1, 2021,
 “the DOE shall seek to unilaterally separate employees who have not opted” to either separate
 from service or remain on an unpaid leave.

 At this time, the DOE has not announced the procedure it will seek to implement to “unilaterally
 separate” employees that do not elect to separate from service or extend their leave through
 September 5, 2022 by the November 30, 2021 deadline. When the announcement is made, we
 will send a communication to all affected members explaining the next steps.

 Beth A. Norton
 General Counsel
 United Federation of Teachers

 From: Jeannine Lam <jlam682@yahoo.com>
 Sent: Thursday, November 11, 2021 6:28 PM
 To: Michael Sill <MSill@uft.org>
 Subject: Grievances

  To Michael Sill of the UFT:

 I would like to follow up about my concerns to see how to proceed. I have reached out to my
 building rep, Eric (MS 137) and someone at the district office in the salary department named
 Tamika (via number provided by Eric). I am still seeking further support for my complaints
 which I would prefer to officially grieve.

 The first grievance I am seeking is against the NYCDOE for stopping my pay without any "right
 to due process" at all. The fact that my pay has been stopped is a clear punishment prior to any
 due process or procedure that the NYCDOE is clearly planning against anyone who does not
 comply as ofDecember 1, 2021, at which time they say that they will unilaterally seek
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 separation. As far as this looks, it is more clearly aggressive than when any teacher has been
 brought up on 3020a-Charges for abuse of a child, for instance, and put into the "Rubber Room"
 because those individuals are still being paid and have not lost their rights to their pay during
 their entirety of their investigations and due process proceedings, until the Arbitrator's decisions,
 yet the teachers who are not complying right now to a mandate that only of the NYCDOE, yet no
 other district throughout New York State. Being automatically punished by placement at home
 without pay has been tremendously triggering to me as each day passes. Meanwhile, it seems
 thatNYCDOE's intention is to "unilaterally separate" those who do not comply, which is also an
 intent when the DOE files 3020a-charges, but, in the case of all of those not being paid since
 October 4, 2021, they have not informed us of the procedure which will follow and they are
 leaving us in limbo, with an unfair unconstitutional arbitration hovering over our futures. This
 action of withdrawing my pay feels like a coercive action on the part of the NYCDOE, as well as
 a punishment for not following the "mandate", even though no other districts have even close to
 such a mandate, all prior to due process/ 3020a-charges being served. The only intention seems
 to be to punish those who have not complied, either because they were denied religious and/or
 medical exemptions, and/or to set up those employees who do not comply, in the end, with
 NYCDOE's hard-handed rules, to be fired. The NYCDOE is doing anything in their power to
 then be able to fire non-compliant employees, as effectively as possible. This is retaliation and
 harassment and it is making me more uncomfortable as the days pass. That's where unauthorized
 absences come in.

 With that being said, comes the second grievance of 8 unauthorized absences, so far, which have
 been put into the system under my name, which, according to the Chancellor's Regulations,
 could be used as a sole basis for the NYCDOE to file 3020a Charges against me. It is quite
 timely that this Chancellor's Regulation C-601 was newly revised this year on June 17, 2021
 after not being revised since the year 2000. I'm concerned that these days will be used against
 me. The CBA does not have "unauthorized absences" in it, and this new term may set me up "on
 that cause alone" for the NYCDOE to attempt to fire me from my position and take my license,
 for standing up for my religious beliefs. The addition of this Chancellor's Regulation seems only
 added with the intention of firing teachers who didn't sign away their rights by choosing choice
 A o r B i n the Arbitration agreement between the NYCDOE and the UFT. The NYCDOE
 alongside the UFT, by following and agreeing to this Arbitration brought against its members,
 have set its members up for getting fired through 3020a-Charges rather than protect the teachers
 who fall into the category of denied religious exemptions or medical exemptions, not to mention
 the lack of ability to get the medical accommodations previously approved by the NYCDOE at
 the start of the "pandemic". The revised change of the Chancellor's Regulations C-601 was
 clearly done as a way to work around the contract as a plan to coerce NYCDOE employees,
 move to have 3020a Charges against teachers who stand by their beliefs and get rid of those who
 are not responding to coercion.

 Please let me know how I could feel reassured that these actions are not going to happen and let
 me know how to formally put in a complaint.
 Sincerely,
 Jeannine Lam
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  *
 The views, opinions, andjudgments expressed in this message are solely those ofthe author. The
 message contents have not been reviewed or approved by the UFT.

  *
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                                                  T he Scher L aw F i r m , LLP
                                                    ONE   OLD   COUNTRY          ROAD,          SUITE   38 5
                                                            CARLE     P LACE.       NY     11 5 14


 MARTIN           H     SCHER*
                                                                TEL     516-746-5040
 JONATHAN               L    SCHER*

                                                                FAX     51 6- 7 4 6 - 5 0 4 3

 A U S T I N R. G R A F F *




 ' Also AtimMietf in D isuid of C oiutnU t

’ Also A d m fflrt In Now Jersey
                                                                        November 24, 2021
 BY ECF
 Honorable Kiyo A. Matsumoto, U.S.D.J.
 Eastern District o f New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

                                    Re:      Broecker, et al. v. New York City Department o f Education, et al.
                                             Docket No. 21-CV-06387-KAM-LB

 Dear Judge Matsumoto:

This law firm represents all o f the Plaintiffs, in the above-referenced Action.

After meeting with the Plaintiffs last night, there was concern that the Court may have had a
misperception regarding the November 30, 2021 deadline from yesterday’s oral argument.

If the Plaintiffs select to continue go on an unpaid leave status through September 5, 2022 in return for
their health insurance as was addressed by the Defendants yesterday, they are also required to
electronically sign the attached waiver, which also bars the Plaintiffs “from engaging in gainful
employment while...on an unpaid leave at the DOE.” This means they cannot work or even collect
unemployment insurance benefits.

In addition, the waiver includes a release o f all claims, liabilities or causes o f action that the Plaintiffs
have against the DOE and any o f its present or former employees and agents, The Plaintiffs intend to
challenge this release as coerced, under duress, and unenforceable, but it is included in what the Plaintiffs
must sign to obtain health insurance through September 5, 2022.

The Plaintiffs felt that this information was not communicated to the Court at yesterday’s conference so
we seek to supplement the record with this letter and the attachment.

Thank you for your time and consideration.

                                                                      Respectfully submitted,
                                                                      THE SCHErJLa W FIRM, LLP




ARG:mc
cc:  Counsel o f Record (by ECF)

                                                                      Page 1 of 1
          Case 23-655, Document 73, 06/05/2023, 3525005, Page285 of 286
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                                                  T he C ity o f N ew Y ork
GEORGIA M. PEST ANA                              L AW DEPARTMENT                                                Andrea O’Connor
Corporation Counsel                                  100 CHU RCH STREET                               Assistant Corporaiion Counsel
                                                     NEW Y O RK, NY 10007                                    I'honr: (212) 356-4015
                                                                                                  E-mail: aocomioii'aila^.nyc.govr



                                                                            Novem ber 24, 2021

          Bv ECF
         Honorable K.iyo A . Matsumoto
         United States District Judge
         Eastern District o f N ew York
         225 Cadman Plaza East, Room S905
         Brooklyn, N ew York 11201

                                    Re: Broecker. et al. v. N ew York City Department o f Education, et al..
                                        Docket No. 21 Civ 6387

         Dear Judge Matsumoto:

                        I                 am an Assistant Corporation Counsel in the office o f Georgia M. Pestana,
         Corporation Counsel o f the City o f N ew York, attorney for defendants N ew York City
         Department o f Education and Meisha Porta (collectively, “DOE Defendants”) in the above-
         captioned matter. 1 write today on behalf o f DOE Defendants and defendant United Federation
         o f Teachers, Local 2, AFL-CIO ’s (“UFT Defendant”) in response to plaintiffs’ Novem ber 24,
         2021 letter.

                         Plaintiffs are correct that if a DOE em ployee covered by the Impact Arbitration
         Decision opts to extend their leave without pay through September 5, 2022 they must file a fonn
         which includes a w aiver o f the em p loyee’s rights to challenge the em ployee’s voluntary
         resignation, including, but not limited to, through a contractual or statutory disciplinary process.
         See O ’Connor D eck, Ex. A, Impact Arbitration D ecision at III(B). In consideration for this
         waiver, the em ployee shall continue to be eligible for health insurance coverage through
         September 5, 2022 a n d , w hile on leave without pay, shall have the right to return to their
         assigned school within two w eeks o f notifying the DOE that they have com e into compliance
         with the DOE Vaccination Mandate, lck A s with other DOE leaves, DOE em ployees are
         prohibited from engaging in other employment during the leave period. Id. at 11(C).

                             Defendants DOE and UFT thank the Court for its attention to this matter.

                                                                            Respectfully submitted,
                                                                                   Is!
                                                                            Andrea O ’Connor
         cc:          All Counsel (via ECF)
